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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


   MARC A. STEPHENS,                                    Civil Action No.: 2:22-cv-01940-MCA-JBC

                  Plaintiff,


   v.

   EQUIFAX, INC., EQUIFAX INFORMATION
   SERVICES, LLC, EQUIFAX CONSUMER
   SERVICES, LLC, EXPERIAN
   INFORMATION SOLUTIONS, INC,
   SYNCHRONY FINANCIAL, PAYPAL, INC.,
   and PAYPAL HOLDINGS, INC.
                                                              CERTIFICATION OF JILL POTTER
                  Defendants.



         I, Jill Potter, being of full age, hereby certify:

         1.      I am an employee of PayPal, Inc. (“PayPal”), one of the defendants in the above-

  captioned matter. PayPal Holdings, Inc., is the parent company of PayPal, Inc., and improperly

  named as a defendant in this matter. I submit this Certification in support of PayPal’s Motion to

  Compel Arbitration. Except where my knowledge is based on my review of PayPal’s records and

  documents regularly maintained in the ordinary course of business, I have personal knowledge of

  the facts in this certification and could competently testify to them if called as a witness.

         2.      I have worked at PayPal since December 1, 2003. I am currently employed by

  PayPal as a Legal Analyst. During my tenure, my job responsibilities included, among other

  things, accessing and analyzing PayPal account records to confirm information regarding PayPal

  users’ account activity and managing information regarding updates to the PayPal User Agreement

  (“User Agreement”).
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         3.      PayPal provides digital payment services that allow its users to buy, sell, and send

  money securely worldwide.

         4.      In the ordinary course of its regularly conducted business, PayPal maintains

  electronic records related to each PayPal customer’s account. These records are made at or near

  the time of the events reflected in each electronic record. Among other things, these records enable

  PayPal to determine the terms of a customer’s agreements with PayPal and other activity on the

  customer’s account. PayPal relies on these electronic records in the ordinary course of its business.

  I am familiar with these records and how they are maintained, and I believe these records to be

  accurate and reliable. All of the exhibits to this Certification are true and correct copies of business

  records created and maintained in the course of regularly conducted business activity and as part

  of PayPal’s regular practice of maintaining such records.

         5.      I have personally reviewed the user records and transaction history for Plaintiff

  Marc A. Stephens’ (“Mr. Stephens”) PayPal account and the related business records. I am

  familiar with the process that prospective PayPal users go through to register to use PayPal’s

  service, both currently and during the time period when Mr. Stephens registered his PayPal account

  in 2017.

         6.      To create a PayPal account, the individual or business creating the account must

  complete a registration process. Each potential user must accept the terms of the User Agreement,

  which provides the terms and conditions governing the use of PayPal’s services and the

  relationship between PayPal and its users.

         7.      No user may register for a PayPal account without agreeing to the terms and

  conditions of the User Agreement that is in operation at the time the user signs up.




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         8.      At the time Mr. Stephens created and registered his PayPal account, PayPal

  required potential users to accept the User Agreement by checking a box confirming they have

  read and agreed to the User Agreement, and further clicking a button stating “Agree and Create

  Account” on the online registration form. Before accepting the User Agreement, potential users

  review the terms of the User Agreement through a hyperlink contained within the acceptance

  prompt, which would take the potential user to a separate, public webpage hosted by PayPal, and

  containing the User Agreement in full.

         9.      Figure 1, below, shows the prompt that potential users were shown during the

  online registration process, including in 2017 when Mr. Stephens created and registered his PayPal

  account. The phrase “User Agreement” in bold blue font represents a hyperlink that — when

  clicked — will direct users to the complete terms and conditions of the current PayPal User

  Agreement, which is always publicly available on PayPal’s website.




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          10.     PayPal’s records indicate that Mr. Stephens created and registered a PayPal

  business account with an account number ending in 7715 and consented to the User Agreement on

  October 25, 2017. PayPal’s records do not indicate that Mr. Stephens had a PayPal account prior

  to that date.

          11.     A true and correct copy of a screen shot of the administrative tools page for Mr.

  Stephens’ account maintained by PayPal and showing the date the PayPal Account was created

  with the “User Agreement Status” is attached hereto as Exhibit A.

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         12.     The attached screen shot demonstrates that Mr. Stephens’ account was created on

  October 25, 2017 and that Plaintiff accepted User Agreement version 3.2 on the same day. See

  Exhibit A.

         13.     A true and correct copy of the PayPal User Agreement version 3.2 that was in effect

  at the time Mr. Stephens created his PayPal account is attached hereto as Exhibit B.

         14.     In accordance with the process described above, Mr. Stephens confirmed he had

  read and agreed to the User Agreement in effect at the time he created his PayPal account on

  October 25, 2017 (the “2017 User Agreement”). See Exhibit B.

         15.     The 2017 User Agreement confirmed that it is “a contract between you and PayPal,

  Inc. that governs your use of your PayPal account and the PayPal services … [and] [b]y opening

  and using a PayPal account, you agree to comply with all of the terms and conditions in this user

  agreement, so please read all of the terms and conditions carefully.” See Exhibit B, pg. 1.

         16.     The 2017 User Agreement further permitted PayPal to “amend this user agreement

  at any time by posting a revised version on our website. The revised version will be effective at

  the time we post it.” If a change reduces a user’s rights or increases his or her responsibilities,

  PayPal “will provide you with 30 days’ prior notice by posting notice on the Policy Updates page

  of our website.” Id.

         17.     The 2017 User Agreement also contained an arbitration agreement that provided

  “any claim or dispute at law or equity that has arisen or may arise between us will be resolved in

  accordance with the Agreement to Arbitrate” set forth therein (the “Arbitration Provision”). See

  Exhibit B, pg. 35, Agreement to Arbitrate.

         18.     The Arbitration Provision explained that this provision “[a]ffects your rights and

  will impact how claims you and we have against each other are resolved” and further required Mr.



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  Stephens “to follow the Opt-Out Procedure to opt-out of the Agreement to Arbitrate by mailing us

  a written notice and the opt-out notice must be postmarked no later than 30 days after the date you

  accept this user agreement for the first time.” See Exhibit B, pg. 36, Agreement to Arbitrate.

         19.     PayPal maintains records of all users who have opted out of the Agreement to

  Arbitrate. Based on my review of these records, I have confirmed that Mr. Stephens never

  provided any written notice to PayPal that he would opt-out of the Agreement to Arbitrate.

         20.     The Arbitration Provision further provides, among other things, that:

         You and PayPal each agree that any and all disputes or claims that have arisen or
         may arise between you and PayPal, including without limitation federal and state
         statutory claims, common law claims, and those based in contract, tort, fraud,
         misrepresentation or any other legal theory, shall be resolved exclusively through
         final and binding arbitration, rather than in court, except that you may assert claims
         in small claims court, if your claims qualify and so long as the matter remains in
         such court and advances only on an individual (non-class, non-representative)
         basis. This Agreement to Arbitrate is intended to be broadly interpreted. The
         Federal Arbitration Act governs the interpretation and enforcement of this
         Agreement to Arbitrate.


         See Exhibit B, pgs. 35, Agreement to Arbitrate.

         21.     A true and correct copy of the current User Agreement is attached hereto as Exhibit

  C.

         22.     PayPal’s records show that Mr. Stephens consistently utilized his PayPal account

  to send and receive funds from 2017 until 2021.




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         I hereby certify under penalty of perjury that the foregoing is true and correct to the best

  of my knowledge, information, and belief.




                                                                       JILL POTTER

  Dated: August 29, 2022




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                 Exhibit A
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                  Exhibit B
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PAYPAL USER AGREEMENT
ABOUT YOUR ACCOUNT

This user agreement will be effective as to all users on July 27, 2017.

Welcome to PayPal!

This user agreement is a contract between you and PayPal, Inc. that governs your use of your PayPal account
and the PayPal services. It applies to U.S. PayPal accounts only. For an individual to open a U.S. PayPal account
and use the PayPal services, you must be a resident of the United States or one of its territories and at least 18
years old, or the age of majority in your state of residence. For a business to open a U.S. PayPal account and
use the PayPal services, the business must be organized in, operating in, or resident of, the United States or
one of its territories.

By opening and using a PayPal account, you agree to comply with all of the terms and conditions in this user
agreement, so please read all of the terms and conditions carefully. You also agree to comply with the
following additional policies and each of the other agreements on the Legal Agreements page that apply to
you:

•   Privacy Policy
•   PayPal Acceptable Use Policy
•   Electronic Communications Delivery Policy (E-Sign Disclosure and Consent)

Please read carefully all of the terms of these policies and each of the other agreements that apply to you.

We may amend this user agreement at any time by posting a revised version on our website. The revised
version will be effective at the time we post it. If we change the user agreement in a way that reduces your
rights or increases your responsibilities, we will provide you with 30 days’ prior notice by posting notice on the
Policy Updates page of our website.

Opening an Account

We know people use PayPal for different reasons. Some people use it to send or receive money from friends
and family. Other people use it to buy and sell things online or in stores. Still others run full-time online
businesses using a PayPal account to accept payments. We offer two types of accounts: personal accounts and
business accounts.
All PayPal accounts let you do things like:

•   Send and receive money.
•   Buy things online, using mobile devices or in stores.
•   Pay using your debit card, credit card, bank account, PayPal balance or other payment methods.
•   Accept debit card, credit card, bank account, PayPal balance or other payment methods.

You are responsible for maintaining adequate security and control of any and all IDs, passwords, personal
identification numbers (PINs), or any other codes that you use to access your PayPal account and the PayPal
services. You are responsible for keeping your mailing address, email address and other contact information
up-to-date in your PayPal account profile.

Personal accounts

If you primarily need to make purchases and send money to family and friends, a personal account is probably


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right for you. With a personal account you can do things like:

•   Send and request money from friends and family.
•   Buy goods and services.

You can also use a personal account to receive money for the sale of goods and services, but if you plan to use
your PayPal account primarily to sell things, you should consider a business account. You can upgrade a
personal account to a business account should circumstances change.

Business accounts

We recommend business accounts for people and organizations that primarily use PayPal to sell goods or
services or accept donations, even if your business is not incorporated. With a business account, you can do
things like:

•   Use a company or business name as the name on your PayPal account.
•   Allow up to 200 employees access to some of the features of your PayPal account.
•   Sign up for PayPal products that meet your business needs.

By opening up a business account or upgrading a personal account to a business account, you certify to us
that you are using it primarily for a business or commercial purpose. You also consent to PayPal obtaining
your personal and/or business credit report from a credit reporting agency at account opening and
whenever we reasonably believe there may be an increased level of risk associated with your business
account.

In addition, when the activity through your business account reaches certain thresholds or involves certain
business segments or activities, you are required by the card networks to agree to a Commercial Entity
Agreement to allow you to continue accepting Visa and MasterCard payments. In this case, these Commercial
Entity Agreements will apply to any payment processed by PayPal on your behalf and will form part of this user
agreement.

Closing Your PayPal Account

When you close your PayPal account, we will cancel any scheduled or incomplete transactions. You must
withdraw any PayPal balance from your PayPal account prior to closing it. You cannot withdraw PayPal balances
associated with digital gift certificates/cards that are purchased through PayPal Digital Gifts and linked to your
account as payment methods. However, even without your PayPal account, you can still use the codes you
received by email when you purchased the gift certificates/cards to make purchases.

You will remain liable for all obligations related to your PayPal account even after the PayPal account is closed.
In certain cases, you may not close your PayPal account, including:

•   To evade an investigation.
•   If you have an open PayPal Credit account linked to your PayPal account; however, your PayPal account can
    be restricted at your request so it is only open to enable you to service your PayPal Credit account.
•   If you have a pending PayPal Pay After Delivery transaction, we will not close your PayPal account until that
    transaction has been completed, but we may limit your ability to make additional transactions using your
    PayPal account.
•   If you have a pending transaction or an open dispute or claim.
•   If your PayPal account has a negative balance.
•   If your PayPal account is subject to a hold, limitation or reserve.


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Link or Unlink a Payment Method

You can link or unlink a debit card, credit card, a U.S. bank account or PayPal Credit to your PayPal account as a
payment method. Please keep your payment method information current (i.e. credit card number and
expiration date). If this information changes, we may update it as directed by your bank or card issuer without
any action on your part. You may choose to confirm your card, so that we can verify that the card is valid and
that you are the card owner. To do this, we will charge $1.95 to the card. After the card is confirmed, we will
immediately refund this amount to the card.

Holding a PayPal Balance

Money that you receive from other PayPal account holders is held as a balance in your PayPal account. Any
PayPal balance you hold represents an unsecured claim against PayPal and is not insured by the Federal
Deposit Insurance Corporation (FDIC). PayPal combines your PayPal balance with the PayPal balances of other
PayPal customers and invests those funds in liquid investments in accordance with state money transmitter
laws. PayPal owns the interest or other earnings on these investments. These pooled amounts are held
separate from PayPal’s corporate funds, and PayPal will neither use these funds for its operating expenses or
any other corporate purposes nor will it voluntarily make these funds available to its creditors in the event of
bankruptcy.

Adding or Withdrawing Money

Adding money

You may transfer money to your PayPal balance from any bank account linked to your PayPal account by
requesting an electronic transfer from your bank account. You don't need a PayPal balance to send money or
buy something using your PayPal account. You may use the payment methods linked to your PayPal account
to fund transactions you make using your PayPal account.

Withdrawing money

If you have a PayPal balance, you may withdraw it by:

•   Transferring it to a bank account linked to your PayPal account,
•   Transferring it to an eligible debit card linked to your PayPal account (subject to a $0.25 fee, which will be
    deducted from the amount of the withdrawal),
•   Withdrawing it from an ATM (automated teller machine) using your PayPal-branded debit card (fees may
    apply), or
•   Requesting a check from us (subject to a non-refundable fee of $1.50, which will be deducted from the
    amount of the withdrawal).

We may delay a withdrawal, in certain situations, including if we need to confirm that the withdrawal has been
authorized by you or if other payments to your PayPal account have been reversed (for example, as a result of a
chargeback, bank reversal or dispute by a buyer). Additionally, if we place a limitation on your PayPal account
while a withdrawal from your PayPal account is pending, you will have to reinitiate the withdrawal once the
limitation has been lifted.

We may set limits on your withdrawals, and you can view your withdrawal limit, if any, by logging into your
PayPal account. Completing two out of three of the following steps can help us verify your PayPal account,
which may allow us to remove any withdrawal cap:



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•   Verifying your bank account.
•   Linking and confirming your credit or debit card information.
•   Providing your social security number.

We don’t charge a fee to make a transfer to your bank. If your debit card is eligible to receive withdrawals from
your PayPal account, you will be provided the option to use it when you transfer money out of your PayPal
balance (subject to a $0.25, which will be deducted from each withdrawal).

When you withdraw funds from an ATM using a PayPal-branded debit card, you may be charged a fee by the
owner of the ATM and an additional fee by us per the terms of your Cardholder Agreement that can be found
on the Legal Agreements page. Other withdrawal limits also apply to the use of your PayPal-branded debit
card. Please refer to the applicable Cardholder Agreement for details that can be found on the Legal
Agreements page.

If you request a paper check from us, you must cash it within 180 days of the date of issuance, or we will return
the funds to your PayPal balance and retain the non-refundable fee of $1.50. We will not send a check to a
post office box, and we will only send a check to an address once we have confirmed that it belongs to you.

Managing Your Money in Multiple Currencies

Holding a PayPal balance in a currency other than U.S. dollars

Your PayPal balance may be held in any of the currencies supported by PayPal, and you may hold a PayPal
balance in more than one of these currencies at the same time. You are responsible for all risks associated with
maintaining a PayPal balance in multiple currencies. You may not manage multiple currencies for speculative
trading purposes.

Currency conversion

Some uses of your PayPal account require a currency conversion. Some examples of situations where a
currency conversion is required include:

•   Purchasing goods from a seller who accepts payments only in a specific currency which you do not hold in
    your PayPal account.
•   Sending money to a friend or family member in a currency that you do not hold at the time of the
    transaction.
•   Sending money using PayPal’s Payouts or MassPay products in a currency that you do not hold at the time
    of the transaction.
•   Receiving money either from a buyer or from a friend of family member in a currency that your PayPal
    account is not configured to accept.
•   Converting your PayPal balance from one currency to another, not in connection with any transaction.
•   Withdrawing funds from your PayPal balance held in a currency other than U.S. dollars to the bank account
    linked to your PayPal account.
•   If you sold something and the transaction must be refunded or reversed, and you do not have the correct
    currency available in your PayPal balance at the time of the refund or reversal.

If PayPal converts the currency, we will use a wholesale exchange rate (adjusted from time to time based on
market conditions) to perform the conversion.

For the purchasing and send money transactions described above in the first three bullets that involve a
currency conversion, you’ll be charged an additional 3.0% of the amount of the transaction, on top of the


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wholesale exchange rate, as a currency conversion “spread”. For all other transactions involving a currency
conversion, you’ll be charged an additional 2.5% of the amount of the transaction, on top of the wholesale
exchange rate, as a currency conversion “spread”.

When you purchase goods from a merchant who accepts payment only in a specific currency that you do not
hold in your PayPal balance, the currency conversion will occur at the time your transaction is processed and
the wholesale exchange rate in effect at the time of the transaction will be used for this currency conversion.

When your payment is funded by a debit or credit card and requires a currency conversion, you consent to and
authorize PayPal to convert the currency in place of your debit or credit card issuer. You have the right to have
your card issuer perform the currency conversion and can choose this option during checkout on your
transaction review page before you complete the transaction. If your card issuer converts the currency, you’ll
be charged a rate set by them (shown on your statement), and you’ll be subject to any fees and terms set by
them related to the conversion.

PayPal will always perform the conversion for transactions where your PayPal balance or linked bank account is
the payment method.

Account Statements and Requesting Account Records in Writing

You have the right to receive an account statement showing your PayPal account activity. You may view your
PayPal account statement by logging into your PayPal account.

In the event you request that we send you written records related to your PayPal account, we may charge you a
fee of $10.00 per item requested. We will not charge you for records requested in connection with your good-
faith assertion of an error in your PayPal account.

SENDING MONEY AND BUYING

Sending Money to or Receiving Money From a Friend or Family Member

Sending money

You can send money to a friend or family member using the send money feature in your PayPal account
(sometimes called “personal payments” or “peer-to-peer/P2P payments”). You can send money to a friend or
family member even if they don’t have a PayPal account at the time you send them money, using their email
address or mobile number in any currency that PayPal supports, and you can choose which payment method
you want to use. If the person to whom you are sending money does not have a PayPal account, they can claim
it by creating an account, or it will be refunded to you. Receiving money from a friend or family member is
described under Receiving Money.

We may, at our discretion, impose limits on the amount of money you can send, including money you send for
purchases. You can view your sending limit, if any, by logging into your PayPal account. Completing the same
steps to verify your information as is required for the removal of withdrawal limits, may allow us to increase your
sending limits.

When you send money to a friend or family member, one of three things may happen: they may accept,
decline or fail to claim the money. If they either decline to accept the money or don’t claim it within 30 days of
the date it is sent, the money (including any fees you were charged for sending the money) will be refunded to:




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•   The original payment method you used for the transaction, if you used a credit card, debit card or PayPal
    Credit as the payment method, or
•   Your PayPal balance, if you used your PayPal balance as the payment method or a bank account as the
    payment method, once the money clears the bank.

Receiving money

If a friend or family member sends money to you, the money will appear in your PayPal balance. If someone
sends you money in a currency you do not currently hold, you may decline it and return it to the sender.
Alternatively, you can accept it as-is and create a PayPal balance in that currency or accept it and convert it to
the primary currency you have selected for your PayPal account. If you choose to convert the funds, you will be
charged a currency conversion spread included in the foreign exchange conversion rate.

Fees for Sending Money to Friends and Family

The fees applicable to sending money can be found on the Fees for Sending Money to Friends and Family page
(see Exhibit A to this pdf copy of the User Agreement) page and will be disclosed to you in advance each time
you initiate a transaction to send money to a friend or family member. If you convert money in your PayPal
balance from one currency to another before sending money, you also will pay a currency conversion spread for
that conversion. And, if you use your credit card as the payment method when sending money, you may be
charged a cash-advance fee by your card issuer.

If you send money to a friend or family member from a third party (non-PayPal) website or by using a third
party’s product or service, then the third party will determine if the sender or recipient pays the fee. This will be
disclosed to you by the third party before the payment is initiated.

You can also use the send money feature in your PayPal account to pay for good or services. You will not be
charged for sending money to purchase goods or services as long as you choose the “send money to pay for
goods and services” feature in your PayPal account. In that case, the seller selling the goods or services pays
the fees. You may not use the “send money to a friend or family member” feature in your PayPal account when
you are paying for goods and services.

Buying Something From, or Returning Something to, a Seller Who Accepts PayPal

How to buy something

You can buy something from a seller who accepts PayPal, in any currency that the seller accepts and that PayPal
supports, using the funds in your PayPal balance, or using any payment method linked to your PayPal account.
This includes, for example:

•   Buying something at an online retailer’s website and selecting PayPal as your payment method at
    checkout.
•   Sending money to a seller for good or services.
•   Using your PayPal account to buying something at a seller’s store location.

If the seller you are buying from sells goods and services on a third party website or application and that seller
does not already have a PayPal account, they can claim your payment by creating a PayPal account. If they
don’t open a PayPal account within 30 days, your purchase will be refunded.




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In order to manage risk, PayPal may limit the payment methods available for a transaction when you buy
something. In addition, payment methods may be limited for certain sellers or if you make a PayPal payment
through certain third party websites or applications.

When you authorize a payment to a seller who accepts PayPal, some sellers may take up to 30 days to complete
the transaction. In these instances, your payment may appear as a pending order in your PayPal account. In
that case, your authorization of the payment will remain valid until the seller completes the transaction (but no
longer than 30 days). If you used a debit or credit card as the payment method, your debit or credit card issuer
also may show a pending authorization for a period of time until they release the hold or receive a completed
transaction.

Fees

When you buy something from a seller who accepts PayPal you don’t pay a fee to PayPal unless your purchase
requires a currency conversion. In that case, you will be charged a currency conversion spread. Your debit or
credit card issuer may also charge you a separate fee for non-U.S. transactions.

In addition you may be required to pay a fee to PayPal if you are making a purchase using PayPal Business
Payments and the seller discloses to you that you, as the buyer, must pay the fee.
Payment review

When PayPal identifies a potentially high-risk transaction, we review the transaction more closely before
allowing it to proceed. When this happens, PayPal will place a hold on the transaction and notify the seller to
delay shipping of the item. As a buyer, this may delay your receipt of the item you purchased. If we clear the
transaction, we will notify the seller and direct them to ship the item. If we don’t clear the transaction, we will
cancel it and return the funds to you.

Preapproved payments

You can agree with a seller who accepts PayPal to use PayPal as the payment method for future purchases with
that seller. This agreement is between you and the seller and allows the seller to take funds from your PayPal
account with your authorization either on a one-time, regular or sporadic basis. Preapproved payments of this
type are sometimes called a “billing agreement,” "subscription," "recurring payment,” “reference transaction,”
"preauthorized transfer" or "automatic payment."

You may cancel a preapproved payment up to 3 Business Days before the date of the next scheduled payment
by contacting us through your PayPal account profile or by calling PayPal at (888) 221-1161. Once you contact
PayPal to cancel a preapproved payment, all future preapproved payments under your agreement with that
seller will be stopped. If you cancel a preapproved payment, you may still owe the seller money for the
purchase or have additional obligations to the seller for any goods or services that you receive but have not
paid for.

If a preapproved payment will vary in amount, you have the right to advance notice of the amount and date of
the transfer from the seller at least 10 days before the transfer is made. If the seller provides the option, you
may choose to receive this advance notice only when the amount of your preapproved payment will fall outside
a range established between you and the seller.

Refunds

When you buy something from a seller online using PayPal and the transaction is ultimately refunded, the
money will be refunded to the original payment method you used for the transaction if you used a debit card,
credit card, or PayPal Credit. If you used a bank account or your PayPal balance as the payment method for the


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transaction, the money will be refunded to your PayPal balance once the initial payment clears the bank. For
purchases you make in a seller’s store location that you paid for using your PayPal account and the transaction
is ultimately refunded, the money will be refunded to your PayPal balance.

When you buy something from a seller using PayPal that required a currency conversion which PayPal
performed, and a refund is issued:

•   Within 60 days of the date of the original payment, the exchange rate used at the time of the original
    payment is used.
•   Beyond 60 days of the date of the original payment, the exchange rate on the date of the refund is used.

Payment Method Used for My Transaction

Selecting a preferred payment method

You can choose any of the payment methods in your PayPal account as your preferred payment method. You
can select a preferred payment method in your account preferences on www.paypal.com or in the PayPal app.

You can set separate preferred payment methods for online transactions, in-store transactions and pre-
approved payments with a seller.

If you have chosen an online preferred payment method, it will be shown as the primary method of payment
when making a purchase or sending money via goods and services.

If you have chosen a preferred payment method for in-store transactions or for pre-approved payments with a
seller and you do not have any money in your PayPal balance, your preferred payment method will be used for
your purchase. If you do have a PayPal balance, your PayPal balance will be used first and your preferred
payment method will be used for any remaining amount due.

There may be times when your preferred payment method cannot be used, for example, if you select a credit
card that has expired. Also, the availability of certain payment methods may be limited based on that particular
seller or the third party website you are using to complete the transaction.

If no preferred payment method, it’s still your choice

If you have not selected a preferred payment method, or your preferred payment method is unavailable, we will
show you multiple available payment methods, including the payment method you used most often or most
recently, at the time of transaction. You can also click on the “Manage” link to see all of your available payment
methods, or add a new one, and select the one of your choosing during the transaction.

Sending money to friends and family

When you send money to friends and family using your PayPal balance or your bank account, we waive all fees,
so we always show you these payment options first, if available, even if you have a set preferred payment
method for your online purchases. Remember, you always have the choice to select any payment method in
your account by clicking the “Change” link on the Send Money page. We will always show you if there is a fee
and how much the fee is before you send money.

Pre-approved payments

Some sellers allow you to store PayPal as the payment method to use whenever making purchases on their site,


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so you can check out faster. Often, this entails creating an agreement with the seller, where you give the seller
permission to pay using your PayPal account every time you make a purchase.

You can select a payment method for future purchases with a particular seller either at the time of creating the
agreement or in your account settings on www.paypal.com. For example, you can instruct your monthly movie
subscription service to always charge your credit card for the monthly cost.

If your chosen payment method is unavailable (i.e. credit card expired), a particular agreement with a seller
does not provide for the ability to specify a payment method, or if you have not designated a payment method
for future transactions with a seller, the payment method used will be in the following order, if applicable: 1.
balance; 2. bank account (instant transfer); 3. PayPal Credit; 4. PayPal co-branded debit card; 5. PayPal co-
branded credit card; 6. debit card; 7. credit card; and 8. E-check.

Bank account transfers

When you use your bank account as a payment method, you are allowing PayPal to initiate a transfer from your
bank account to the recipient. For these transactions, PayPal will make electronic transfers via ACH from your
bank account in the amount you specify. You authorize PayPal to try this transfer again if the initial transfer is
rejected by your bank for any reason.

E-check

E-check is a payment method where you use your bank account as your payment method, and the payment is
not received by the recipient until the transaction is processed from the bank. This process usually takes 3-5
Business Days, but this amount of time will increase if the payment is sent from a bank account located outside
the United States.

Debit card processing

PayPal will process your debit or prepaid card funded transactions through either the ATM debit network or the
Visa, MasterCard or Discover network. If we process your debit or prepaid card through an ATM debit network,
we may provide you with the opportunity to switch to a Visa, MasterCard or Discover network by changing your
preferences for that debit or prepaid card through your PayPal account profile. If you use your PayPal-branded
debit card for a payment that is not in U.S. dollars, your transaction will be funded with your U.S. dollar PayPal
balance, even if you have a PayPal balance in another currency. Any required currency conversion will be
performed by Visa, MasterCard, Discover or a similar third party and may be subject to a fee by that third party.

Loyalty Cards

If you use the PayPal application on your mobile phone, you may store loyalty card numbers or bar codes,
where applicable, for certain sellers in your PayPal account. When you store your loyalty card numbers or bar
codes in your PayPal account, you will earn any rewards, subject to the seller’s loyalty card terms and conditions,
at the time you make your payment to the merchant by presenting the stored loyalty card number or bar code
to the seller at the point of sale. It is your responsibility to make sure you have entered your loyalty card
information correctly and that you update it as necessary. It is also your responsibility to ensure that you are
receiving the rewards to which you are entitled. PayPal is not responsible for managing your loyalty card
account by offering this service and any questions about your loyalty card or associated rewards program
should be directed to the seller who offers the card.

PayPal’s Purchase Protection Program



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What’s covered

When you buy something from a seller who accepts PayPal, you may be covered by PayPal’s Purchase
Protection program. When applicable, PayPal’s Purchase Protection program entitles you to reimbursement for
the full purchase price of the item plus the original shipping costs you paid, if any. When you dispute a
transaction, PayPal determines, in its sole discretion, whether your claim qualifies for the Purchase Protection
program. PayPal’s original determination is considered final, but you may be able to file an appeal of the
decision with PayPal if you have new or compelling information not available at the time of the original
determination or you believe there was an error in the decision-making process.

Important: You may be required to return the item to the seller or other party specified by PayPal as part of the
settlement of your claim. PayPal’s Purchase Protection program does not entitle you to reimbursement for the
return shipping costs that you may incur.

PayPal’s Purchase Protection program may apply when you encounter these specific problems with a
transaction:

•   You didn’t receive your item from a seller (referred to as an “Item Not Received” claim), or
•   You received an item, but the item isn’t what you ordered (referred to as a “Significantly Not as Described”
    claim).

If you believe that a transaction made through your PayPal account was not authorized by you, this type of
claim is different from the Purchase Protection program, and is described below under Liability for
Unauthorized Transactions and Other Errors.

Item Not Received claims

Your claim will not qualify for a refund under PayPal’s Purchase Protection program for an Item Not Received
claim, if:

•   You collect the item in person, or arrange for it to be collected on your behalf, including if you use PayPal in
    a seller’s store location, or
•   PayPal has adequate proof from the seller indicating that the item was delivered or order was fulfilled.

If the seller presents evidence that they delivered the goods to your address, PayPal may find in favor of the
seller for an Item Not Received claim even if you did not receive the goods.

Significantly Not as Described claims

To qualify for Purchase Protection as a Significantly Not as Described claim, the item must be materially
different from the seller’s description of the item.

The following claims will qualify as a Significantly Not as Described claim:

•   You received a completely different item. For example, you purchased a book and received a DVD or an
    empty box.
•   The condition of the item was misrepresented. For example, the item was described as “new” but the item
    was used.
•   The item was advertised as authentic but is not authentic (i.e. counterfeit).
•   The item is missing major parts or features and those facts were not disclosed in the description of the item
    when you bought it.



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•   You purchased a set of three items but only received two.
•   The item was damaged during shipment.

The following claims will not qualify as a Significantly Not as Described claim:

•   The defect in the item was correctly described by the seller in its description of the item.
•   The item was properly described but you didn't want it after you received it.
•   The item was properly described but did not meet your expectations.
•   The item has minor scratches and was described as “used.”

Ineligible items and transactions under PayPal’s Purchase Protection program

Payments for the following are not eligible for reimbursement under PayPal Purchase Protection:

•   Real estate, including residential property.
•   Financial products or investments of any kind.
•   Businesses (when you buy or invest in a business).
•   Vehicles, including, but not limited to, motor vehicles, motorcycles, caravans, aircraft and boats.
•   Significantly Not As Described claims for custom-made items.
•   Donations including payments on crowdfunding platforms.
•   Items prohibited by the PayPal Acceptable Use Policy.
•   For Item Not Received claims, items which you collect in person or arrange to be collected on your behalf,
    including items bought in a seller’s store location.
•   Industrial machinery used in manufacturing.
•   Anything purchased from, or an amount paid to, a government agency.
•   Stored value items such as gift cards and pre-paid cards.
•   Gambling, gaming and/or any other activity with an entry fee and a prize.
•   Payments sent using PayPal’s friends and family functionality.
•   Payments made using PayPal Payouts and Mass Pay or guest checkout transactions (i.e. not sent using
    your PayPal account).

Transaction eligibility for PayPal’s Purchase Protection program

To be eligible for PayPal Purchase Protection you must meet all of the following requirements:

•   Have a PayPal account in good standing.
•   Pay for the eligible item from your PayPal account.
•   You must respond to PayPal's request for documentation and other information in a timely manner. If you
    do not respond to PayPal’s request for documentation and other information in the time requested, your
    PayPal Purchase Protection claim may be decided against you.
•   You must open a dispute within 180 days of the date you sent the payment, then follow the online dispute
    resolution process. For Pay After Delivery transactions you must open your dispute within 180 days of the
    date of your transaction.
•   You have not received a recovery related to such purchase from another source.

Our online dispute resolution process

If you’re unable to resolve a transaction-related issue directly with a seller, you must follow our online dispute
resolution process through the Resolution Center to pursue a claim under our Purchase Protection program.
You may also file a claim (Step 2 below) by calling us and speaking to an agent. The steps you must follow are
described below, and if you do not follow these steps your claim may be denied:


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Step 1: Open a dispute within 180 days of the date you made the payment. This might allow you to start a
direct conversation with the seller regarding your issue with the transaction that may help resolve the dispute.
If you are unable to resolve the dispute directly with the seller, proceed to Step 2. We will place a hold on all
funds related to the transaction in the seller's account until the dispute is resolved or closed.

Step 2: Escalate the dispute to a claim for reimbursement within 20 days after opening the dispute, if you and
the seller are unable to come to an agreement, or we will automatically close the dispute. You can escalate the
dispute to a claim for reimbursement through the Resolution Center. The seller or PayPal may also escalate the
dispute to a claim at this point. If you are making an Item Not Received claim, PayPal may ask you to wait at
least 7 days from the transaction date to escalate the dispute.

Step 3: Respond to PayPal’s requests for documentation or other information, after you, the seller or PayPal
escalates your dispute to a claim for reimbursement. PayPal may require you to provide receipts, third party
evaluations, police reports or other documents that PayPal specifies. You must respond to these requests in a
timely manner as requested in our correspondence with you.

Step 4: Comply with PayPal’s shipping requests in a timely manner, if you’re filing a Significantly Not as
Described claim. PayPal may require you, at your expense, to ship the item back to the seller, to PayPal or to a
third party (which will be specified by PayPal) and to provide proof of delivery.

Proof of delivery means:

•    For transactions that total less than $750 U.S. dollars (or the foreign currency threshold in the table below),
     confirmation that can be viewed online and includes the delivery address showing at least city/state or zip
     code, delivery date, and the identity of the shipping company you used.
•    For transactions that total $750 U.S. dollar (or the foreign currency threshold in the table below) or more,
     you must provide signature confirmation of delivery.

    Signature confirmation foreign currency thresholds
    Currency                     Transaction value     Currency                          Transaction value
    Australian Dollar:           850 AUD               New Zealand Dollar:               950 NZD
    Brazilian Real:                1,750 BRL                  Norwegian Krone:           4,600 NOK
    Canadian Dollar:               850 CAD                    Philippine Peso:           34,000 PHP
    Czech Koruna:                  15,000 CZK                 Polish Zlotych:            2,300 PLN
    Danish Krone:                  4,100 DKK                  Russian Ruble:             48,000 RUB
    Euro:                          550 EUR                    Singapore Dollar:          950 SGD
    Hong Kong Dollar:              6,000 HKD                  Swedish Krona:             4,950 SEK
    Hungarian Forint:              170,000 HUF                Swiss Franc:               700 CHF
    Israeli Shekel:                2,700 ILS                  Taiwan New Dollar:         23,000 TWD
    Japanese Yen:                  77,000 JPY                 Thai Baht:                 24,500 THB
    Malaysian Ringgit:             3,100 MYR                  U.K. Pounds Sterling:      450 GBP
    Mexican Peso:                  10,000 MXN                 U.S. Dollar:               750 USD

Step 5: PayPal will make a final decision on your claim, in its sole discretion, based on the coverage and
eligibility requirements set forth above, any additional information provided during the online dispute
resolution process or any other information PayPal deems relevant and appropriate under the circumstances.




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Note that when you are making Digital Goods Micropayments Purchases, there are special rules that apply and
that include pre-determined thresholds where we may, at our discretion, reverse the transaction without
requiring you to take further action. We may limit the number of automatic reversals that you benefit from,
but, even if that is the case, you will still be able to follow PayPal's standard dispute resolution processes
described above.

Dispute with us or your card issuer

If you used a debit or credit card as the payment method for a transaction through your PayPal account and
you are dissatisfied with the transaction, you may be entitled to dispute the transaction with your card issuer.
Your rights with your card issuer, if they apply, may be broader than those available to you under PayPal’s
Purchase Protection program. For example, if you dispute a transaction with your card issuer, you may be able
to recover amounts you paid for unsatisfactory items even if they don’t qualify for protection under a
Significantly Not as Described claim with us.

You must choose whether to pursue a dispute with PayPal under our Purchase Protection program, or to
pursue the dispute with your card issuer. You can’t do both at the same time or recover your money from both
PayPal and your card issuer. If you pursue a dispute/claim with us and you also pursue a dispute for the same
transaction with your card issuer, we’ll close your dispute/claim with us. This won’t affect the dispute process
with your card issuer. In addition, if you pursue a dispute with your card issuer, you cannot pursue a
dispute/claim with us later.

If you choose to dispute a transaction with PayPal and we decide against you, you can seek to pursue the
dispute with your card issuer later. If PayPal does not make a final decision on your claim until after your card
issuer's deadline for filing a dispute, and because of our delay you recover less than the full amount you would
have been entitled to recover from the card issuer, we will reimburse you for the remainder of your loss (minus
any amount you have already recovered from the seller or your card issuer).

Before contacting your card issuer or filing a dispute with PayPal, you should contact the seller to attempt to
resolve your issue in accordance with the seller’s return policy.

SELLING AND ACCEPTING PAYMENTS

Accepting Payments From Buyers for Goods and Services

Receiving personal payments

If you use your PayPal account to receive payments for the sale of goods and services or accept donations, you
must not ask your buyer to send you money using the “send money to a friend or family member.” If you do so,
PayPal may remove your PayPal account’s ability to accept payments from friends or family members.

No surcharges

You agree that you will not impose a surcharge or any other fee for accepting PayPal as a payment method.
You may charge a handling fee in connection with the sale of goods or services as long as the handling fee
does not operate as a surcharge and is not higher than the handling fee you charge for non-PayPal
transactions.

Non discouragement




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In representations to your customers or in public communications, you agree not to mischaracterize PayPal as a
payment method. At all of your points of sale (in whatever form), you agree not to try to dissuade or inhibit
your customers from using PayPal; and, if you enable your customers to pay you with PayPal, you agree to treat
PayPal’s payment mark at least at par with other payment methods offered.


Taxes and information reporting

Our fees do not include any taxes, levies, duties or similar governmental assessments of any nature, including,
for example, value-added, sales, use or withholding taxes, assessable by any jurisdiction (collectively, “taxes”).
It is your responsibility to determine what, if any, taxes apply to the payments you make or receive, and it is
solely your responsibility to assess, collect, report and remit the correct taxes to the appropriate authority.
PayPal is not responsible for determining whether any taxes apply to your transaction, or for calculating,
collecting, reporting or remitting taxes arising from any transaction.

You acknowledge that we may make certain reports to tax authorities regarding transactions that we process.
For example, PayPal is required to report to the Internal Revenue Service the total amount of payments for
goods and services you receive each calendar year into all of your PayPal accounts associated with the same tax
identification number if you receive more than $20,000 in payments for good and services and process more
than 200 transactions involving goods or services through those PayPal accounts in the same calendar year.

Receiving payments from student accounts

PayPal may block your ability to receive payments from student accounts if you sell goods or services that may
be illegal for minors to purchase under any applicable laws or regulations. This includes, but is not limited to,
alcohol, tobacco or adult-oriented materials.

Your refund policy and privacy policy

You must publish a return policy and a privacy policy on your website and, if you accept PayPal transactions in-
store, at your store location.

Payment review

PayPal reviews certain potentially high-risk transactions. If PayPal determines, in its sole discretion, that a
transaction is high-risk, we place a hold on the payment and provide notice to you to delay shipping of the
item. PayPal will conduct a review and either clear or cancel the payment. If the payment is cleared, PayPal will
provide notice to you to ship the item. Otherwise, PayPal will cancel the payment and the funds will be
returned to the buyer, unless we are legally required to take other action. All payments that clear this payment
review will be eligible for PayPal Seller Protection coverage if they meet the PayPal Seller Protection
requirements. PayPal will provide notices to you by email and through your PayPal account.

In-store payments

If you accept payments through your PayPal account in your store location, you must communicate the amount
of the transaction to the customer before the transaction takes place. You may charge your customer’s PayPal
account only for transactions that they have authorized. You must also provide customers with a physical
receipt if they request one. You agree that any transaction that you make shall have an accurate and true
description of the goods and services being purchased.

Marketplace sellers



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If you’re a seller on a marketplace or through a third party application where PayPal is offered, obey any rules
that apply to the marketplace’s or the third party application’s buyer protection program for sales you make
through that forum. Any such protections may require you to take certain actions and may impact how claims
are processed.


Card not present transactions

Whenever a buyer uses a debit or credit card as the payment method for a transaction using their PayPal or
Venmo account to buy something from you as a seller, the transaction will be processed as a “card not present”
transaction, even if the buyer is at your store location.

Accepting preauthorized payments

As a seller, you can accept payments from a buyer’s PayPal or Venmo account through preauthorized transfers
either on a one-time, regular or sporadic basis. This type of transaction is sometimes called a “billing
agreement,” "subscription," "recurring payment,” “reference transaction,” "pre-approved payment " or
"automatic payment."

                           If you receive preauthorized payments from buyers:
                       You must:                                        You must not:

  Get each buyer’s prior authorization for the amount,       Restart future payments without the buyer’s
  frequency, and duration of any such payment.               written authorization, if a buyer has stopped or
                                                             canceled a preauthorized payment.
  Provide a simple and easily accessible online
  cancellation procedure, if buyers sign up for
  preauthorized payments online.

  Provide buyers the ability to stop any such payment
  up to 3 Business Days before the date scheduled for
  payment.

  Notify the buyer at least 10 days in advance of the
  amount and date of each preauthorized payment if
  the preauthorized payment will vary from the
  preauthorized amount or (at the buyer’s option)
  any payment that is in an amount that falls outside
  of the pre-determined range.

Transaction Fees for Online and In-Store Payments

Your PayPal transaction fees depend on the country where the buyer has a PayPal account and whether or not
you are registered as a charitable organization and have active 501(c)(3) status. Your 501(c)(3) status must be
documented with PayPal to receive the rates applicable to charitable organizations, and those rates will apply
only after you document your status with us.

Standard transactions fees




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The fees you pay when you sell goods or services online and in your store location and the buyer pays using
his/her PayPal or Venmo account can be found on the Standard Transaction Fees table (See Exhibit B to this
PDF copy of the User Agreement). Please note that:

•   We may adjust the fees applicable to future transactions that you process using PayPal, but before we do
    that you will have at least 30 days’ advance notice of any such change.
•   If you refund a transaction to a buyer or a donation to a donor, PayPal retains the fixed fee portion of the
    fees you paid.
•   If you accept payments using a PayPal product (like PayPal Here or PayPal Payments Pro), the fees
    applicable to those products will apply to your transactions.

Micropayments fees

You may qualify to receive micropayments pricing for the sale of goods and services through your PayPal
account, if your transactions typically average less than $10. In order to qualify, you must have a PayPal
account that is in good standing (for example, no limitations or negative PayPal balance), you may not be
processing payments using PayPal Payments Pro and you must submit an application and have it approved by
us.

If your PayPal account is approved to accept micropayments, then micropayments pricing will apply to all
transactions for the sale of goods and services processed through your PayPal account, not the pricing
described above under standard transaction fees. If you have multiple PayPal accounts, you must correctly
route your transactions to the appropriate account because, once a transaction is processed, PayPal will not re-
route the transaction through a different account.

The fees you pay when you receive micropayments pricing for the sale of goods and services through your
PayPal account can be found on the Micropayment Fees table (See Exhibit C to this pdf copy of the User
Agreement).

PayPal Payouts and Mass Pay fees

PayPal’s Payouts and Mass Pay services let you send multiple payments in one batch to send commissions,
rebates, rewards, and general payments. In order to use these services, you must have a PayPal account that is
a business account and you must apply for and receive permission from PayPal to use these services. These
services are only available to U.S. business accounts in good standing with no withdrawal limits. PayPal may
eliminate a business account’s ability to use Payouts or Mass Pay at any time. The amount you will pay for using
the Payouts or Mass Pay services depends on which service you use (traditional Mass Pay or the newer Payouts
API), how you send the payments, and the currency of the payment and such amounts can be found on the
PayPal Payouts and Mass Pay Fees table (see Exhibit D to this pdf copy of the User Agreement).

Refunds, Reversals and Chargebacks

General information

If you receive a payment for selling goods or services that is later refunded or invalidated for any reason, you
are responsible for the full amount of the payment sent to you plus any fees (including any applicable
chargeback fee described below). Whenever a transaction is refunded or otherwise reversed, PayPal will refund
or reverse the transaction from your PayPal account in the same currency as the original transaction. If your
PayPal balance for a particular currency is insufficient to cover the amount of a refund or reversal, PayPal will
perform a currency conversion in order to refund or reverse the transaction, and you will be charged for the
currency conversion.


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If you refund a payment for good or services, we will retain the fixed fee portion of the fees you paid as the
seller. The buyer’s PayPal account will be credited with the full payment amount and the fixed fee portion of
the fees you paid as the seller will be deducted from your PayPal account in addition to the amount of the
refunded payment.




Payments that are invalidated and reversed

Payments to you may be invalidated and reversed by PayPal if:

•   You lose a PayPal Purchase Protection claim submitted to us by a buyer, including as a result of your failure
    to respond in a timely manner.
•   You lose a Venmo Authorized Merchant Payment Protection claim.
•   Your buyer pursues a chargeback related to a card-funded transaction and the transaction is not eligible
    for PayPal Seller Protection. The card issuer, not PayPal, determines whether a buyer is successful when
    he/she pursues a chargeback related to a card-funded transaction.
•   You do not fulfill the transaction as promised or you cannot provide proof of shipment or proof of delivery
    when required.
•   eBay decides against you under its money back guarantee program (and you haven’t opted out).
•   Our investigation of a bank reversal (sometimes known as an ACH return) made by a buyer or the buyer’s
    bank finds that the transaction was fraudulent.
•   PayPal sent the payment to you in error.
•   The payment was unauthorized (i.e., a credit card-funded payment was made by someone with a credit
    card that did not belong to them).
•   You received the payment for activities that violated this user agreement or any other agreement between
    you and PayPal.

When you receive a payment, you are liable to PayPal for the full amount of the payment sent to you plus any
fees if the payment is later invalidated for any reason. If your PayPal balance is insufficient to cover your liability
for the payment amount plus the fees, then this will result in a negative PayPal balance. Any negative PayPal
balance represents an amount that you owe to us, and, in this situation, you must immediately add funds to
your PayPal balance to eliminate the negative PayPal balance. If you do not do so, PayPal may engage in
collection efforts to recover such amounts from you or take other action as outlined under Amounts owed to
PayPal. PayPal may also place a limitation or take other action on your PayPal account as outlined under
Restricted Activities and Holds.

Chargeback fees

If you receive a debit or credit card-funded payment through your PayPal account and the buyer pursues a
chargeback for the transaction with his/her card issuer, then PayPal will not assess you with a chargeback fee if
the transaction is eligible for PayPal Seller Protection. However, if the transaction is ineligible for PayPal Seller
Protection, PayPal will assess you with a chargeback fee (for facilitating the chargeback process) regardless of
whether the buyer is successful in pursuing the chargeback with the card issuer.

The applicable chargeback fee will be deducted from your PayPal account. The chargeback fee is $20 for
transactions in U.S. Dollars, or the amount specified on the Chargeback Fees table (see Exhibit E to this pdf
copy of the User Agreement) in the currency of the original transaction if the transaction is not in U.S. Dollars.

Impact of various purchase protection processes on sellers



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You should read and understand PayPal’s Purchase Protection program, Venmo’s Authorized Merchant
Payment Protection program, and if you sell goods and services to buyers with PayPal accounts in countries
other than the U.S., you also should be familiar with the purchase protection available to buyers in each of
those countries. Buyers’ rights under these programs are important for you to understand as a seller. You can
find this information for PayPal’s programs on the Legal Agreements page by selecting your buyer’s location at
the top of the page and referring to the applicable user agreement for that geography. You can find
information on Venmo’s Authorized Merchant Payment Protection program in Venmo’s user agreement.

If you lose a claim under PayPal’s Purchase Protection program in the U.S. a similar program in another country,
or under Venmo’s Authorized Merchant Payment Protection program:

•   For claims by the buyer that an item received isn’t what was ordered, you generally will be required to
    accept the item back.
•   For all claims by the buyer, you must forfeit the full purchase price of the item plus the original shipping
    cost (and in some cases you may not receive the item back).
•   For all claims by the buyer, you will not receive a refund of the PayPal fees that you paid in connection with
    the sale.
•   For a “Significantly Not as Described” claim related to an item you sold that is counterfeit, you will be
    required to provide a full refund to the buyer and you may not receive the item back (it will be destroyed).

If you accept PayPal payments from buyers for goods or services you sell through eBay, then you need to read
and understand the eBay Money Back Guarantee program. Unless you opt out by calling eBay, PayPal will treat
eBay’s decisions in favor of your buyers under that program as a basis for reversing a PayPal payment made to
you. If your PayPal balance is insufficient to cover the amount of such a claim, we may:

    •   Place a hold on your PayPal account until sufficient funds become available in your PayPal account to
        cover such claim; or
    •   Create a negative balance in your PayPal account.

PayPal’s Seller Protection Program

What’s covered

If you sell something to a buyer and the transaction is later disputed or reversed under Reversals, Claims or
Chargebacks, you may be covered by PayPal’s Seller Protection program. When it applies, PayPal’s Seller
Protection program entitles you to retain the full purchase amount and we will waive any related chargeback
fees paid (for debit and credit card-funded transactions). There is no limit on the number of payments for
which you can receive coverage. By accessing the transaction details page in your PayPal account you can
determine whether or not your transaction is eligible for coverage under this program.

PayPal’s Seller Protection program may apply when a buyer claims that:

•   The buyer did not authorize, or benefit from, funds sent from his or her PayPal account (referred to as an
    “Unauthorized Transaction” claim); or
•   The buyer didn’t receive the item from you (referred to as an “Item Not Received” claim).

PayPal’s Seller Protection program may also apply when a transaction is reversed because of a successful
chargeback by a buyer or when a bank funded payment is reversed by the buyer’s bank.




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This section describes PayPal’s Seller Protection program as it applies to you, but you should be familiar with
PayPal’s Purchase Protection programs applicable to each country where your buyers are located because
those programs give buyers rights that may impact you as a seller and Venmo’s Authorized Merchant Payment
Protection program that applies to buyers with a U.S. Venmo account.

Basic requirements

To be eligible for PayPal’s Seller Protection, you must meet all of the following requirements

•   The primary address for your PayPal account must be in the United States.
•   The item must be a physical, tangible good that can be shipped.
•   You must ship the item to the shipping address on the transaction details page in your PayPal account for
    the transaction. If you originally ship the item to the recipient's shipping address on the transaction details
    page but the item is later redirected to a different address, you will not be eligible for PayPal Seller
    Protection. We therefore recommend not using a shipping service that is arranged by the buyer, so that
    you will be able to provide valid proof of shipping and delivery.
•   You must respond to PayPal's requests for documentation and other information in a timely manner as
    requested in our email correspondence with you or in our correspondence with you through the Resolution
    Center. If you do not respond to PayPal’s request for documentation and other information in the time
    requested, you may not be eligible for Seller Protection.
•   If the sale involves pre-ordered or made-to-order goods, you must ship within the timeframe you specified
    in the listing. Otherwise, it is recommended that you ship all items within 7 days after receipt of payment.

Item Not Received additional requirements

To be covered by PayPal’s Seller Protection program for a buyer’s Item Not Received claim, you must meet both
the basic requirements listed above and the additional requirements listed below:

•   Where a buyer files a chargeback with the issuer for a card-funded transaction, the payment must be
    marked “eligible” for PayPal’s Seller Protection on the Transaction Details page.
•   You must provide proof of delivery as described below.

Unauthorized Transactions additional requirements
To be covered by PayPal’s Seller Protection program for a buyer’s Unauthorized Transaction claim, you must
meet both the basic requirements listed above and the additional requirements listed below:

•   The payment must be marked “eligible” or “partially eligible” for PayPal’s Seller Protection on the
    Transaction Details page.
•   You must provide proof of shipment or proof of delivery as described below.




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Establishing proof of delivery or proof of shipment

    The following is required as:
                 Proof of shipment                                                   Proof of delivery

    Online or physical documentation from a               Online or physical documentation from a shipping company
    shipping company that includes:                       that includes:

    •     Date of shipment                                •    Date of delivery and ‘delivered’ status
    •     An address for the recipient that matches       •    An address for the recipient that matches the shipping
          the shipping address on the Transaction              address on the Transaction Details page
          Details page                                    •    An address for the recipient showing at least the city/state,
    •     An address for the recipient showing at              city/country, or zip/postal code (or international
          least the city/state, city/country, or               equivalent).
          zip/postal code (or international               •    Signature confirmation, if the full amount of the payment
          equivalent).                                         including shipping and taxes exceeds a fixed amount
                                                               (based on the currency of the payment) from the signature
                                                               confirmation threshold table below. Signature confirmation
                                                               is online documentation, viewable at the shipping
                                                               company’s website, indicating that the item was signed for.

                                                          IMPORTANT: Your choice of carrier and shipment options with
                                                          that carrier can have a big impact on your ability to meet the
                                                          proof of delivery requirements. Please ensure, especially when
                                                          shipping goods internationally, that your carrier can provide
                                                          ‘delivered’ status at the correct address, or your Seller
                                                          Protection claim may be denied.

    Signature confirmation foreign currency thresholds
    Currency                 Transaction value                     Currency                     Transaction value
    Australian Dollar:       850 AUD                               New Zealand Dollar:          950 NZD
    Brazilian Real:          1,750 BRL                             Norwegian Krone:             4,600 NOK
    Canadian Dollar:         850 CAD                               Philippine Peso              34,000 PHP
    Czech Koruna:            15,000 CZK                            Polish Zlotych:              2,300 PLN
    Danish Krone:            4,100 DKK                             Russian Ruble:               48,000 RUB
    Euro:                    550 EUR                               Singapore Dollar:            950 SGD
    Hong Kong Dollar:        6,000 HKD                             Swedish Krona:               4,950 SEK
    Hungarian Forint:        170,000 HUF                           Swiss Franc:                 700 CHF
    Israeli Shekel:          2,700 ILS                             Taiwan New Dollar:           23,000 TWD
    Japanese Yen:            77,000 JPY                            Thai Baht:                   24,500 THB
    Malaysian Ringgit:       3,100 MYR                             U.K. Pounds Sterling:        450 GBP
    Mexican Peso:            10,000 MXN                            U.S. Dollar:                 750 USD

Ineligible items and transactions

Your sale is not eligible for coverage under PayPal’s Seller Protection program if:

•       It involves intangible, non-physical, items, including digital goods, and services. Digital goods are delivered
        and used in an electronic format, like a song delivered online or through a mobile application.


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•    The buyer claims (either with us or their card issuer) that the item you sent isn’t what was ordered (referred
     to as a “Significantly Not as Described” claim).
•    It involves an item that PayPal determines, in its sole discretion, is a counterfeit item.
•    It involves an item that you deliver in person, including in connection with a payment made in your store
     location.
•    It involves sales that are not processed either through a buyer’s PayPal account or a guest checkout
     transaction. For example, if the sale was made using the PayPal Payments Pro/VT product, PayPal business
     payments or using PayPal Here, then it is not eligible for coverage.
•    It involves items equivalent to cash including gift cards.
•    It involves a donation.
•    It relates to the purchase of a financial product or investment of any kind.
•    It involves a payment sent using PayPal’s friends and family functionality.
•    It involves a payment made using PayPal Payouts and Mass Pay.

PayPal Advertising Program

The PayPal Advertising Program enables you to promote PayPal services, including PayPal Credit, through
PayPal-hosted banners and buttons on your websites or in your customer emails. PayPal may change the
content provided through this program at any time for any reason, and PayPal may choose to discontinue the
PayPal Advertising Program at any time.

                                           If you participate in this program:
                         You must:                                                  You must not:

    Comply with all integration requirements provided            Modify any PayPal content or its presentation in any
    by PayPal or each authorized third party, including          way.
    those with respect to accurate presentation of all
    PayPal related information.

    Only use the HTML code for PayPal content as                 Copy PayPal content from other websites.
    provided by PayPal.

    Use the PayPal content in its entirety with all the          Create, display or host your own PayPal content,
    links and language provided by PayPal and without            unless authorized by PayPal in writing.
    modification by you.

    Immediately remove all PayPal content from your              Post PayPal content on social media networks or
    sites and customer communications and/or                     platforms or anywhere else, unless authorized by
    cooperate with PayPal or your third party provider to        PayPal in writing.
    do so, if you stop using a qualifying PayPal
    payments solution.


    Keep all PayPal content current and up to date,              Display any non-current PayPal content
    including by cooperating with PayPal to manually
    update the PayPal content as its appears on your
    sites or in your communications and repair or
    reinstall the HTML code to facilitate future updates.




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    Comply with applicable advertising laws, regulations
    and standards issued by governmental authorities
    or advertising self-regulatory bodies including but
    not limited to the digital advertising standards
    issued by the Network Advertising Initiative.

If you promote the use of PayPal Credit on your sites and customer communications through the PayPal
Advertising Program, there are additional requirements that apply. If you receive customer inquiries relating to
PayPal Credit, you must direct the customer to PayPal Credit Customer Support at (866) 528-3733. If a
customer is unable to process a transaction using PayPal Credit, you are prohibited from communicating any
reason for the decline to the customer on PayPal Credit’s behalf. You are also prohibited from representing or
holding yourself out to represent PayPal Credit in any way.

You are responsible for any damages suffered by PayPal or any third parties resulting from your failure to follow
the rules of the PayPal Advertising Program, and if you violate these rules, PayPal may modify or remove the
PayPal content you are presenting or require you to remove or modify it immediately. If you fail to follow these
rules, we may limit or close your PayPal account.

RESTRICTED ACTIVITIES AND HOLDS

Restricted Activities

In connection with your use of our websites, your PayPal account, the PayPal services, or in the course of your
interactions with PayPal, other PayPal customers, or third parties, you will not:

•    Breach this user agreement, the PayPal Acceptable Use Policy, the Commercial Entity Agreements (if they
     apply to you), any other agreement between you and PayPal, or violate any PayPal policy.
•    Violate any law, statute, ordinance, or regulation (for example, those governing financial services,
     consumer protections, unfair competition, anti-discrimination or false advertising).
•    Infringe PayPal's or any third party's copyright, patent, trademark, trade secret or other intellectual property
     rights, or rights of publicity or privacy.
•    Sell counterfeit goods.
•    Act in a manner that is defamatory, trade libelous, threatening or harassing.
•    Provide false, inaccurate or misleading information.
•    Send or receive what we reasonably believe to be potentially fraudulent funds.
•    Refuse to cooperate in an investigation or provide confirmation of your identity or any information you
     provide to us.
•    Attempt to double dip during the course of a dispute by receiving or attempting to receive funds from
     both PayPal and the seller, bank or card issuer for the same transaction.
•    Control an account that is linked to another account that has engaged in any of these restricted activities.
•    Conduct your business or use the PayPal services in a manner that results in or may result in
              § complaints;
              § requests by buyers (either filed with us or card issuers) to invalidate payments made to you;
              § fees, fines, penalties or other liability or losses to PayPal, other PayPal customers, third parties
                   or you.
•    Use your PayPal account or the PayPal services in a manner that PayPal, Visa, MasterCard, American Express,
     Discover or any other electronic funds transfer network reasonably believes to be an abuse of the card
     system or a violation of card association or network rules.
•    Allow your PayPal account to have a negative PayPal balance.
•    Provide yourself a cash advance from your credit card (or help others to do so).
•    Access the PayPal services from a country that is not included on PayPal's permitted countries list.


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•   Take any action that imposes an unreasonable or disproportionately large load on our websites, software,
    systems (including any networks and servers used to provide any of the PayPal services) operated by us or
    on our behalf or the PayPal services; facilitate any viruses, trojan horses, malware, worms or other computer
    programming routines that attempts to or may damage, disrupt, corrupt, misuse, detrimentally interfere
    with, surreptitiously intercept or expropriate, or gain unauthorized access to any system, data, information
    or PayPal services; use an anonymizing proxy; use any robot, spider, other automatic device, or manual
    process to monitor or copy our websites without our prior written permission; or use any device, software or
    routine to bypass our robot exclusion headers; or interfere or disrupt or attempt to interfere with or disrupt
    our websites, software, systems (including any networks and servers used to provide any of the PayPal
    services) operated by us or on our behalf, any of the PayPal services or other users’ use of any of the PayPal
    services.
•   Take any action that may cause us to lose any of the services from our Internet service providers, payment
    processors, or other suppliers or service providers.
•   Use the PayPal services to test credit card behaviors.
•   Circumvent any PayPal policy or determinations about your PayPal account such as temporary or indefinite
    suspensions or other account holds, limitations or restrictions, including, but not limited to, engaging in
    the following actions: attempting to create new or additional PayPal account(s) when an account has a
    negative PayPal balance or has been restricted, suspended or otherwise limited; creating new or additional
    PayPal accounts using information that is not your own (e.g. name, address, email address, etc.); or using
    someone else’s PayPal account.
•   Harass and/or threaten our employees, agents, or other users.

Actions We May Take if You Engage in Any Restricted Activities

If we believe that you’ve engaged in any of these activities, we may take a number of actions to protect PayPal,
its customers and others at any time in our sole discretion. The actions we make take include, but are not
limited to, the following:

•   Terminate this user agreement and/or close or suspend your PayPal account, and we may refuse to provide
    the PayPal services to you in the future.
•   Limit your access to our websites, software, systems (including any networks and servers used to provide
    any of the PayPal services) operated by us or on our behalf, your PayPal account or any of the PayPal
    services, including limiting your ability to pay or send money with any of the payment methods linked to
    your PayPal account, restricting your ability to send money or make withdrawals.
•   Hold your PayPal balance for up to 180 days if reasonably needed to protect against the risk of liability or if
    you have violated our Acceptable Use Policy.
•   Suspend your eligibility for PayPal’s Purchase Protection program and/or PayPal’s Seller Protection
    program.
•   Contact buyers who have purchased goods or services from you using PayPal, your bank or credit card
    issuer, other impacted third parties or law enforcement about your actions.
•   Update inaccurate information you provided us.
•   Take legal action against you.
•   If you’ve violated our Acceptable Use Policy, then you’re also responsible for damages to PayPal caused by
    your violation of this policy.
•   If you are a seller and you violate the Acceptable Use Policy, then in addition to being subject to the above
    actions you will be liable to PayPal for the amount of PayPal's damages caused by your violation of the
    Acceptable Use Policy. You acknowledge and agree that $2,500.00 U.S. dollars per violation of the
    Acceptable Use Policy is presently a reasonable minimum estimate of PayPal's actual damages considering
    all currently existing circumstances, including the relationship of the sum to the range of harm to PayPal
    that reasonably could be anticipated because, due to the nature of the violations of the Acceptable Use




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    Policy, actual damages would be impractical or extremely difficult to calculate. PayPal may deduct such
    damages directly from any existing PayPal balance in any PayPal account you control.

If we close your PayPal account or terminate your use of the PayPal services for any reason, we’ll provide you
with notice of our actions and make any unrestricted funds held in your PayPal account available for withdrawal.

You are responsible for all reversals, chargebacks, claims, fees, fines, penalties and other liability incurred by
PayPal, any PayPal customer, or a third party caused by or arising out of your breach of this agreement, and/or
your use of the PayPal services. You agree to reimburse PayPal, any PayPal customer, or a third party for any and
all such liability.

Holds, Limitations, and Reserves

What are holds, limitations and reserves

Under certain circumstances, in order to protect PayPal and the security and integrity of the network of buyers
and sellers that use the PayPal services, PayPal may take account-level or transaction-level actions. Unless
otherwise noted, if we take any of the actions described here, we’ll provide you with notice of our actions, but
we retain the sole discretion to take these actions. To request information in connection with an account
limitation, hold or reserve, you should visit the Resolution Center or follow the instructions in our email notice
with respect to the limitation, hold or reserve.

Our decision about holds, limitations and reserves may be based on confidential criteria that are essential to
our management of risk and the protection of PayPal, our customers and/or service providers. We may use
proprietary fraud and risk modeling when assessing the risk associated with your PayPal account. In addition,
we may be restricted by regulation or a governmental authority from disclosing certain information to you
about such decisions. We have no obligation to disclose the details of our risk management or security
procedures to you.

Holds

A hold is an action that PayPal may take under certain circumstances either at the transaction level or the
account level. When PayPal places a temporary hold on a payment, the money is not available to either the
sender or the recipient. PayPal reviews many factors before placing a hold on a payment, including: account
tenure, transaction activity, business type, past customer disputes, and overall customer satisfaction. Some
common situations where PayPal will hold payments include:

•   New sellers or sellers who have limited selling activity.
•   Payments for higher-risk categories like electronics or tickets.
•   Sellers who have performance issues, or a high rate of buyer dissatisfaction or disputes.

Holds based on PayPal’s risk decisions

We may place a hold on payments sent to your PayPal account if, in our sole discretion, we believe that there
may be a high level of risk associated with you, your PayPal account, or your transactions or that placing such a
hold is necessary to comply with state or federal regulatory requirements. We make decisions about whether to
place a payment hold based on a number of factors, including information available to us from both internal
sources and third parties. When we place a hold on a payment, the funds will appear in your PayPal account
with an indication that they are unavailable or pending. We’ll notify you, either through your PayPal account or
directly by phone or email, whenever we place a hold.




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Risk-based holds generally remain in place for up to 21 days from the date the payment was received into your
PayPal account. We may release the hold earlier under certain circumstances (for example, if you’ve uploaded
shipment tracking information related to the transaction), but any earlier release is at our sole discretion. The
hold may last longer than 21 days if the payment is challenged as a payment that should be invalidated and
reversed based on a disputed transaction as discussed in the following paragraph below. In this case, we’ll hold
the payment in your PayPal account until the matter is resolved (but no longer than 180 days).

Holds based on disputed transactions

If a payment sent to you as a seller is challenged as a payment that should be invalidated and reversed, we may
place a temporary hold on the funds in your PayPal account to cover the amount that could be reversed. Any of
the situations described under Refunds, Reversals and Chargebacks are situations that could result in us
placing a hold on a payment. If we determine the transaction should not be reversed, we’ll lift the temporary
hold. If we determine the transaction should be reversed, we’ll remove the funds from your PayPal account.

Limitations

Limitations prevent you from completing certain actions with your PayPal account, such as withdrawing,
sending or receiving money. These limitations are implemented to help protect PayPal, buyers and sellers
when we notice restricted activities or activity that appears to us as unusual or suspicious. Limitations also help
us collect information necessary for keeping your PayPal account open.

There are a number of reasons why your PayPal account could be limited. For instance,

•   If we suspect someone could be using your PayPal account without your knowledge, we’ll limit it for your
    protection and look into the fraudulent activity.
•   If your debit or credit card issuer alerts us that someone has used your card without your permission.
    Similarly, if your bank lets us know that there have been unauthorized transfers between your PayPal
    account and your bank account.
•   In order to comply with regulatory requirements. For example, requesting certain products, like a debit
    card, can trigger federal and state laws, and we may limit your PayPal account while we work together to
    satisfy those requirements.
•   Due to PayPal policies we have in place to ensure we’re in compliance with law.
•   If we reasonably believe you have violated the Acceptable Use Policy.
•   Seller performance indicating your PayPal account is high risk. For example, receiving an unusually high
    number of claims and chargebacks from your buyers is an indication of poor seller performance. If you
    start selling an entirely new type of product, such as a higher-cost item like jewelry, or if your typical sales
    volume increases rapidly, your PayPal account may be limited.

To remove the limitation and restore your PayPal account, you will need to resolve any issues with the account,
often by providing information to us, although there may be certain situations where there is no specific action
that you can take to help remove the limitation (for example, the limitation is put in place due to policies we
have to ensure we’re in compliance with laws). If you find that your PayPal account has been limited, you
should either review the email you receive from us informing you that your PayPal account is limited, or log in to
your PayPal account for additional details about the limitation on your PayPal account.

Reserves

We may place a reserve on your PayPal account if we believe there may be a high level of risk associated with
you, your PayPal account, your business model, or your transactions. When we place a reserve on your PayPal
account, it means that all or some portion of the money in your PayPal account is reserved as unavailable for



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withdrawal in order to protect against the risk of transactions made by you being reversed or invalidated or any
other risk related to your PayPal account or use of the PayPal services. Reserves may be placed on your PayPal
account at the time you open a PayPal account or at any time during the life of your PayPal account. We make
decisions about whether to place a reserve based on a number of factors, including information available to us
from both internal sources and from third parties. When we place a reserve on your PayPal account, the funds
will appear in your PayPal account as a “Pending Balance,” and we’ll notify you of the terms of the reserve. If we
change the terms of the reserve, we’ll notify you of the new terms.

PayPal considers a list of non-exclusive factors and whether and how these factors have changed over time,
including:

•   How long you have been in business.
•   Whether your industry has a higher likelihood of chargebacks.
•   Your payment processing history with PayPal and other providers.
•   Your business and/or personal credit history.
•   Your delivery time frames.
•   Whether you have higher than average number of returns, chargebacks, claims or disputes.

There are two types of reserves that may be placed on your PayPal account, and one or both may be applied at
the same time:

•   A Rolling reserve is a reserve where a percentage of each transaction you receive each day is held and then
    released later on a scheduled basis. For example, your reserve could be set at 10% and held for a 90-day
    rolling period – meaning 10% of the money you receive on day 1 is held and then released on day 91, 10%
    of the money you receive on day 2 is held until day 92, etc. Rolling reserves are the most common type of
    reserve.
•   A Minimum reserve is a specific minimum amount of money that you’re required to keep available in your
    PayPal balance at all times. The minimum reserve is either taken as an upfront amount deposited all at
    once or is established on a rolling basis from percentages of sales until the minimum reserve is achieved,
    much like a rolling reserve.

Court Orders, Regulatory Requirements or Other Legal Process

If we are notified of a court order or other legal process (including garnishment or any equivalent process)
affecting you, or if we otherwise believe we are required to do so in order to comply with applicable law or
regulatory requirements, we may be required to take certain actions, including holding payments to/from your
PayPal account, placing a reserve or limitation on your PayPal account, or releasing your funds. We will decide,
in our sole discretion, which action is required of us. Unless the court order, applicable law, regulatory
requirement or other legal process requires otherwise, we will notify you of these actions. We do not have an
obligation to contest or appeal any court order or legal process involving you or your PayPal account. When we
implement a hold, reserve or limitation as a result of a court order, applicable law, regulatory requirement or
other legal process, the hold, reserve or limitation may remain in place longer than 180 days.

LIABILITY FOR UNAUTHORIZED TRANSACTIONS AND OTHER ERRORS

Protection from Unauthorized Transactions

To protect yourself from unauthorized activity in your PayPal account, you should regularly log into your PayPal
account and review your PayPal account statement. PayPal will notify you of each transaction by sending an
email to your primary email address on file. You should review these transaction notifications to ensure that
each transaction was authorized and accurately completed.


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PayPal will protect you from unauthorized activity in your PayPal account. When this protection applies, PayPal
will cover you for the full amount of the unauthorized activity as long as you cooperate with us and follow the
procedures described below.

What is an Unauthorized Transaction

An “Unauthorized Transaction” occurs when money is sent from your PayPal account that you did not authorize
and that did not benefit you. For example, if someone steals your password, uses the password to access your
PayPal account, and sends a payment from your PayPal account, an Unauthorized Transaction has occurred.

What is not considered an Unauthorized Transaction

The following are NOT considered Unauthorized Transactions:

•   If you give someone access to your PayPal account (by giving them your login information) and they use
    your PayPal account without your knowledge or permission. You are responsible for transactions made in
    this situation.
•   Invalidation and reversal of a payment as a result of the actions described under Refunds, Reversals and
    Chargebacks.

Reporting an Unauthorized Transaction

If you believe your PayPal login information has been lost or stolen, call: (888) 221-1161 or write: PayPal, Attn:
Error Resolution Department, P.O. Box 45950, Omaha, NE 68145-0950.

Tell us AT ONCE if you believe your PayPal login information has been lost or stolen, or if you believe that an
electronic fund transfer has been made without your permission using your login information. You could lose
all the money in your PayPal account. If you tell us within 60 days after we provide you your PayPal account
statement showing transfers you did not make, you will be eligible for 100% protection for Unauthorized
Transactions.

Also, if your PayPal account statement shows transfers that you did not make, including those made with your
PayPal login information or by other means, tell us at once. If you do not tell us within 60 days after we provided
the statement to you, you may not get back any money you lost after the 60 days if we can prove that we could
have stopped someone from taking the money if you had told us in time. If a good reason (such as a long trip
or a hospital stay) kept you from telling us, we will extend the time periods.

Error Resolution

What is an Error

An “Error” means the following:

•   When money is either incorrectly taken from your PayPal account or incorrectly placed into your PayPal
    account, or when a transaction is incorrectly recorded in your PayPal account.
•   You send a payment and the incorrect amount is debited from your PayPal account.
•   An incorrect amount is credited to your PayPal account.
•   A transaction is missing from or not properly identified in your PayPal account statement.
•   We make a computational or mathematical error related to your PayPal account.
•   You request receipt or periodic statement documents that PayPal is required to provide to you.


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•   You request information concerning preauthorized (recurring) transfers to your PayPal account that PayPal
    is required to provide to you.
•   You request additional information or clarification concerning a transfer to or from your PayPal account,
    including a request you make to determine whether an error has occurred.
•   You inquire about the status of a pending transfer to or from your PayPal account.
•   You request documentation or other information, unless the request is for a duplicate copy for tax or other
    record-keeping purposes.

What is not considered an Error

The following are NOT considered Errors:

•   If you give someone access to your PayPal account (by giving them your login information) and they use
    your PayPal account without your knowledge or permission. You are responsible for transactions made in
    this situation.
•   Invalidation and reversal of a payment as a result of the actions described under Refunds, Reversals and
    Chargebacks.
•   Routine inquiries about your PayPal balance.
•   Requests for duplicate documentation or other information for tax or other recordkeeping purposes.

In case of Errors or questions about your electronic transfers

Telephone us at (888) 221-1161, contact us through the PayPal Resolution Center; or write us at PayPal, Attn:
Error Resolution Department, P.O. Box 45950, Omaha, NE 68145-0950.

Notify us as soon as you can, if you think your statement or receipt is wrong or if you need more information
about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent
the FIRST statement on which the problem or error appeared.

•   Tell us your name and account number (if any).
•   Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it
    is an error or why you need more information.
•   Tell us the dollar amount of the suspected error.

If you tell us orally, we may require that you send us your complaint or question in writing within 10 Business
Days.

We will determine whether an error occurred within 10 Business Days after we hear from you and will correct
any error promptly. If we need more time, however, we may take up to 45 days to investigate your complaint or
question. If we decide to do this, we will credit your account within 10 Business Days for the amount you think is
in error, so that you will have the use of the money during the time it takes us to complete our investigation. If
we ask you to put your complaint or question in writing and we do not receive it within 10 Business Days, we
may not credit your account.

For errors involving new accounts, point-of-sale transactions, or foreign-initiated transactions, we may take up
to 90 days to investigate your complaint or question. For new accounts, we may take up to 20 Business Days to
credit your account for the amount you think is in error.

We will tell you the results within 3 Business Days after completing our investigation. If we decide that there was
no error, we will send you a written explanation. You may ask for copies of the documents that we used in our
investigation.



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Processing Errors

We will rectify any processing error that we discover. If the error results in:

•   You receiving less than the correct amount to which you were entitled, then we will credit your PayPal
    account for the difference between what you should have received and what you actually received.
•   You receiving more than the correct amount to which you were entitled, then we will debit your PayPal
    account for the difference between what you actually received and what you should have received.
•   Our not completing a transaction on time or in the correct amount, then we will be responsible to you for
    your losses or damages directly caused by this failure, unless:
            § through no fault of ours, you did not have enough available funds to complete the transaction;
            § our system was not working properly and you knew about the breakdown when you started the
                transaction; or
            § the error was due to extraordinary circumstances outside our control (such as fire, flood or loss
                of Internet connection), despite our reasonable precautions.

Processing errors are not:

•   Delays that result from PayPal applying holds, limitations or reserves.
•   Delays based on a payment review.
•   Delays described under How to buy something related to the time it may take for a purchase transaction to
    be completed in some situations.
•   Your errors in making a transaction (for example, mistyping an amount of money that you are sending).

Remittance Transfer Errors

What is a Remittance Transfer

You may be protected for certain errors when you send money using a PayPal account outside of the U.S. A
“Remittance Transfer” is a transaction that meets the following criteria:

•   The payment is sent from a personal PayPal account that is used primarily for personal, family or household
    purposes,
•   The payment is made for personal, family or household purposes,
•   The payment is made using the send money feature through your PayPal account,
•   The payment amount equals or exceeds $15 USD (excluding fees charged to you) or the foreign currency
    equivalent calculated using exchange rates in effect at the time of the transaction, and
•   The recipient of the payment has a PayPal account in a country outside the U.S.

Payments that you make at a merchant website or location by selecting PayPal as a payment option are not
“Remittance Transfers.”

What qualifies as a Remittance Transfer Error

A “Remittance Transfer Error” occurs if:

•   You paid an incorrect amount to send the Remittance Transfer. For example, you were charged more than
    the total shown on the remittance transfer receipt you received (unless the total shown on the receipt was
    an estimate, and the difference results from application of the actual exchange rate, fees, and taxes).



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•   PayPal made a computational or bookkeeping error, such as a miscalculation of the amount the recipient
    received.
•   The amount stated in the remittance transfer receipt was not made available to the recipient, unless:
            § we stated in the remittance transfer receipt that we used estimates and the difference in the
                amount received and the amount stated in the remittance transfer receipt results from
                application of the actual exchange rate, fees, and taxes, or
            § the problem was caused by extraordinary circumstances outside our control.
•   Funds were available to the recipient later than the date of availability that was disclosed to you on the
    remittance transfer receipt or were not delivered, unless:
            § extraordinary circumstances outside our control caused the delay, and we could not reasonably
                anticipate those circumstances,
            § delays resulted from fraud screenings, or were caused by requirements of the Office of Foreign
                Assets Controls or similar requirements, or
            § you (or someone assisting you) made the transfer with fraudulent intent.
•   You request documentation or information concerning the Remittance Transfer, such as information
    required to determine if a Remittance Transfer Error occurred.

What is not considered a Remittance Transfer Error

The following are NOT considered Remittance Transfer Errors:

•   An inquiry about the status of a Remittance Transfer, except where the funds from the transfer were not
    made available to a designated recipient by the disclosed date of availability,
•   A request for information for tax or other recordkeeping purposes,
•   A change requested by the designated recipient, or
•   A change in the amount or type of currency received by the designated recipient from the amount or type
    of currency stated in the disclosure provided you, if we relied on information provided by you in making the
    disclosure.

What to do if you think there has been a Remittance Transfer Error or problem

If you think there has been a Remittance Transfer Error or problem with your Remittance Transfer:

•   Call us at: (888) 221-1161.
•   Write us at: PayPal, Attn: Error Resolution Department, P.O. Box 45950, Omaha, NE 68145-0950.
•   Log in to your account at paypal.com and go to the Resolution Center and dispute a transaction.

You must contact us within 180 days of the date we promised to you that funds would be made available to the
recipient. When you do, please tell us:

•   Your name, address and telephone number,
•   The error or problem with the transfer, and why you believe it is an error or problem,
•   The name of the person receiving the funds, and if you know it, his or her telephone number or address,
•   The dollar amount of the transfer, and
•   The confirmation code or number of the transaction.

We will determine whether an error occurred within 90 days after you contact us and we will correct any error
promptly. We will tell you the results within 3 Business Days after completing our investigation. If we decide
that there was no error, we will send you a written explanation. You may ask for copies of any documents we
used in our investigation.




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OTHER LEGAL TERMS

Communications Between You and Us

If you provide us your mobile phone number, you agree that PayPal and its affiliates may contact you at that
number using autodialed or prerecorded calls or text messages to: (i) service your PayPal-branded accounts,
(ii) investigate or prevent fraud, or (iii) collect a debt. We will not use autodialed or prerecorded calls or texts to
contact you for marketing purposes unless we receive your prior express written consent. We may share your
mobile phone number with service providers with whom we contract to assist us with the activities listed above,
but we will not share your mobile phone number with third parties for their own purposes without your
consent. You do not have to agree to receive autodialed or prerecorded calls or texts to your mobile phone
number in order to use and enjoy the products and services offered by PayPal. You can decline to receive
autodialed or prerecorded calls or texts to your mobile phone number in several ways, including in your PayPal
account settings at www.paypal.com, by contacting customer support or by calling us at 1-844-629-
9108. Standard telephone minute and text charges may apply.

PayPal may communicate with you about your PayPal account and the PayPal services electronically as
described in our Electronic Communications Delivery Policy. You will be considered to have received a
communication from us, if it’s delivered electronically, 24 hours after the time we post it to our website or email
it to you. You will be considered to have received a communication from us, if it’s delivered by mail, 3 Business
Days after we send it.

Unless you’re communicating with us about a matter where we’ve specified another notice address (for
example, our Liability for Unauthorized Transactions and Other Errors process), written notices to PayPal must
be sent by postal mail to: PayPal, Inc., Attention: Legal Department, 2211 North First Street, San Jose, California
95131.

You understand and agree that, to the extent permitted by law, PayPal may, without further notice or warning,
monitor or record telephone conversations you or anyone acting on your behalf has with PayPal or its agents
for quality control and training purposes or for our own protection. You acknowledge and understand that
while your communications with PayPal may be overheard, monitored, or recorded not all telephone lines or
calls may be recorded by PayPal, and PayPal does not guarantee that recordings of any particular telephone
calls will be retained or retrievable.

PayPal’s Rights

PayPal suspension and termination rights

PayPal, in its sole discretion, reserves the right to suspend or terminate this user agreement, access to or use of
its websites, software, systems (including any networks and servers used to provide any of the PayPal services)
operated by us or on our behalf or some or all of the PayPal services for any reason and at any time upon notice
to you and, upon termination of this user agreement, the payment to you of any unrestricted funds held in
your PayPal balance.

Security interest

As security for the performance of your obligations under this user agreement, you grant to PayPal a lien on,
and security interest in and to, your PayPal balance in the possession of PayPal.




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Amounts owed to PayPal

If your PayPal balance becomes negative for any reason, that negative PayPal balance represents an amount
that you owe to PayPal. PayPal may deduct these amounts from funds that are added to your PayPal account
later, either by you or from payments you receive. If you have more than one PayPal account, we may set off a
negative PayPal balance in one PayPal account against a PayPal balance in your other PayPal account(s). If you
continue using your PayPal account when it has a negative balance, you authorize PayPal to combine the
negative balance with any debit or transaction sent from your account when that combination is disclosed to
you in advance of initiating the debit or transaction.

If you manage your PayPal balance in multiple currencies, and the PayPal balance for one of the currencies
becomes negative for any reason, PayPal may set off the negative PayPal balance by using funds you maintain
in a different currency. If you have a negative PayPal balance in non-U.S. dollars for a period of 21 days or
longer, PayPal will convert this negative PayPal balance to U.S. dollars. In either case, a currency conversion may
be required, and you will be required to pay a currency conversion spread.

In addition to the above, if you have a past due amount owed to us, our affiliates, or eBay Inc., PayPal may debit
your PayPal account to pay any amounts that are past due. This includes amounts owed by using our various
products such as Venmo, Xoom and/or Braintree.

Insolvency proceedings

If any proceeding by or against you is commenced under any provision of the United States Bankruptcy Code,
as amended, or under any other bankruptcy or insolvency law, we’ll be entitled to recover all reasonable costs
or expenses (including reasonable attorneys' fees and expenses) incurred in connection with the enforcement
of this user agreement.

Assumption of rights

If PayPal invalidates and reverses a payment that you made to a recipient (either at your initiative or otherwise),
you agree that PayPal assumes your rights against the recipient and third parties related to the payment, and
may pursue those rights directly or on your behalf, in PayPal's discretion.

No waiver

Our failure to act with respect to a breach of any of your obligations under this user agreement by you or others
does not waive our right to act with respect to subsequent or similar breaches.

Indemnification and Limitation of Liability

In this section, we use the term “PayPal” to refer to PayPal, Inc., our parent PayPal Holdings, Inc., and our
affiliates, and each of their respective directors, officers, employees, agents, joint venturers, service providers
and suppliers. Our affiliates include each entity that we control, we are controlled by or we are under common
control with.

Indemnification

You must indemnify PayPal for actions related to your PayPal account and your use of the PayPal services.
You agree to defend, indemnify and hold PayPal harmless from any claim or demand (including attorneys’ fees)
made or incurred by any third party due to or arising out of your breach of this user agreement, your improper
use of the PayPal services, your violation of any law or the rights of a third party and/or the actions or inactions


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of any third party to whom you grant permissions to use your PayPal account or access our websites, software,
systems (including any networks and servers used to provide any of the PayPal services) operated by us or on
our behalf, or any of the PayPal services on your behalf.

Limitation of liability

PayPal’s liability is limited with respect to your PayPal account and your use of the PayPal services. In no
event shall PayPal be liable for lost profits or any special, incidental or consequential damages (including
without limitation damages for loss of data or loss of business) arising out of or in connection with our
websites, software, systems (including any networks and servers used to provide any of the PayPal services)
operated by us or on our behalf, any of the PayPal services, or this user agreement (however arising, including
negligence), unless and to the extent prohibited by law.

Our liability to you or any third parties in any circumstance is limited to the actual amount of direct damages.
In addition, to the extent permitted by applicable law, PayPal is not liable, and you agree not to hold PayPal
responsible, for any damages or losses (including, but not limited to, loss of money, goodwill, or reputation,
profits, or other intangible losses or any special, indirect, or consequential damages) resulting directly or
indirectly from: (1) your use of, or your inability to use, our websites, software, systems (including any networks
and servers used to provide any of the PayPal services) operated by us or on our behalf, or any of the PayPal
services; (2) delays or disruptions in our websites, software, systems (including any networks and servers used
to provide any of the PayPal services) operated by us or on our behalf and any of the PayPal services; (3) viruses
or other malicious software obtained by accessing our websites, software, systems (including any networks and
servers used to provide any of the PayPal services) operated by us or on our behalf or any of the PayPal services
or any website or service linked to our websites, software or any of the PayPal services; (4) glitches, bugs,
errors, or inaccuracies of any kind in our websites, software, systems (including any networks and servers used
to provide any of the PayPal services) operated by us or on our behalf or any of the PayPal services or in the
information and graphics obtained from them; (5) the content, actions, or inactions of third parties; (6) a
suspension or other action taken with respect to your PayPal account; or (7) your need to modify your practices,
content, or behavior, or your loss of or inability to do business, as a result of changes to this user agreement or
PayPal’s policies.

Disclaimer of Warranty and Release

No warranty

The PayPal services are provided “as-is” and without any representation or warranty, whether express,
implied or statutory. PayPal specifically disclaims any implied warranties of title, merchantability, fitness
for a particular purpose and non-infringement.

PayPal does not have any control over the products or services provided by sellers who accept PayPal as a
payment method, and PayPal cannot ensure that a buyer or a seller you are dealing with will actually complete
the transaction or is authorized to do so. PayPal does not guarantee continuous, uninterrupted or secure access
to any part of the PayPal services, and operation of our websites, software, or systems (including any networks
and servers used to provide any of the PayPal services) operated by us or on our behalf may be interfered with
by numerous factors outside of our control. PayPal will make reasonable efforts to ensure that requests for
electronic debits and credits involving bank accounts, debit cards, credit cards, and check issuances are
processed in a timely manner but PayPal makes no representations or warranties regarding the amount of time
needed to complete processing because the PayPal services are dependent upon many factors outside of our
control, such as delays in the banking system or the U.S. or international mail service. Some states do not allow
the disclaimer of implied warranties, so the foregoing disclaimers may not apply to you.




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Release of PayPal

If you have a dispute with any other PayPal account holder, you release PayPal from any and all claims,
demands and damages (actual and consequential) of every kind and nature, known and unknown, arising out
of or in any way connected with such disputes. In entering into this release you expressly waive any protections
(whether statutory or otherwise, for example, California Civil Code § 1542) that would otherwise limit the
coverage of this release to include only those claims which you may know or suspect to exist in your favor at the
time of agreeing to this release.

Agreement to Arbitrate

You and PayPal agree that any claim or dispute at law or equity that has arisen or may arise between us will be
resolved in accordance with the Agreement to Arbitrate provisions set forth below. Please read this information
carefully. Among other things it:

•   Affects your rights and will impact how claims you and we have against each other are resolved.
•   Includes a Prohibition of Class and Representative Actions and Non-Individualized Relief pursuant to which
    you agree to waive your right to participate in a class action lawsuit against us.
•   Requires you to follow the Opt-Out Procedure to opt-out of the Agreement to Arbitrate by mailing us a
    written notice and the opt-out notice must be postmarked no later than 30 days after the date you accept
    this user agreement for the first time.

If a dispute arises between you and PayPal, our goal is to learn about and address your concerns and, if we are
unable to do so to your satisfaction, to provide you with a neutral and cost effective means of resolving the
dispute quickly. Disputes between you and PayPal regarding the PayPal services may be reported to customer
service online through the PayPal Help Center at any time, or by calling (888) 221-1161 from Mon-Fri 5:00 AM
to 10:00 PM PT and Sat-Sun 6:00 AM to 8:00 PM PT.




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 Agreement to Arbitrate
 Our Agreement          You and PayPal each agree that any and all disputes or claims that have arisen or
                        may arise between you and PayPal, including without limitation federal and state
                        statutory claims, common law claims, and those based in contract, tort, fraud,
                        misrepresentation or any other legal theory, shall be resolved exclusively through
                        final and binding arbitration, rather than in court, except that you may assert claims
                        in small claims court, if your claims qualify and so long as the matter remains in
                        such court and advances only on an individual (non-class, non-representative)
                        basis. This Agreement to Arbitrate is intended to be broadly interpreted. The
                        Federal Arbitration Act governs the interpretation and enforcement of this
                        Agreement to Arbitrate.

 Prohibition of Class      You and PayPal agree that each of us may bring claims against the other only on an
 and Representative        individual basis and not as a plaintiff or class member in any purported class or
 Actions and Non-          representative action or proceeding. Unless both you and PayPal agree otherwise,
 Individualized Relief     the arbitrator(s) may not consolidate or join more than one person’s or party’s
                           claims and may not otherwise preside over any form of a consolidated,
                           representative or class proceeding. Also, the arbitrator(s) may award relief
                           (including monetary, injunctive and declaratory relief) only in favor of the individual
                           party seeking relief and only to the extent necessary to provide relief necessitated
                           by that party’s individual claim(s). Any relief awarded cannot affect other PayPal
                           customers.

 Arbitration               Arbitration is more informal than a lawsuit in court. Arbitration uses a neutral
 Procedures                arbitrator or arbitrators instead of a judge or jury, and court review of an arbitration
                           award is very limited. However, the arbitrator(s) can award the same damages and
                           relief on an individual basis that a court can award to an individual. The
                           arbitrator(s) also must follow the terms of this user agreement as a court would. All
                           issues are for the arbitrator(s) to decide, except that issues relating to arbitrability,
                           the scope or enforceability of this Agreement to Arbitrate, or the interpretation of
                           the Prohibition of Class and Representative Actions and Non-Individualized Relief
                           section above, shall be for a court of competent jurisdiction to decide.

                           The arbitration will be conducted by the American Arbitration Association (referred
                           to as the "AAA") under its rules and procedures, including the AAA's Consumer
                           Arbitration Rules (as applicable), as modified by this Agreement to Arbitrate. The
                           AAA's rules are available at www.adr.org. A party who intends to seek arbitration
                           must first send the other party, by certified mail, a completed form Notice of
                           Dispute. You should send this notice to PayPal at: PayPal, Inc., Attn: Litigation
                           Department, Re: Notice of Dispute, 2211 North First Street, San Jose, CA 95131.
                           PayPal will send any notice to you to the address we have on file associated with
                           your PayPal account; it is your responsibility to keep your address up to date. All
                           information called for in the notice must be provided including a description of the
                           nature and basis of the claims the party is asserting and the relief sought.

                           If you and PayPal are unable to resolve the claims described in the notice within 30
                           days after the notice is sent, you or PayPal may initiate arbitration proceedings. A
                           form for initiating arbitration proceedings is available on the AAA's website at
                           www.adr.org.




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                        The arbitration shall be held in the county in which you reside or at another
                        mutually agreed location. If the value of the relief sought is $10,000 or less, you or
                        PayPal may elect to have the arbitration conducted by telephone or based solely on
                        written submissions, which election shall be binding on you and PayPal subject to
                        the discretion of the arbitrator(s) to require an in-person hearing, if the
                        circumstances warrant. In cases where an in-person hearing is held, you and/or
                        PayPal may attend by telephone, unless the arbitrator(s) require otherwise. Any
                        settlement offer made by you or PayPal shall not be disclosed to the arbitrator(s).

                        The arbitrator(s) will decide the substance of all claims in accordance with
                        applicable law, including recognized principles of equity, and will honor all claims of
                        privilege recognized by law. The arbitrator(s) shall not be bound by rulings in prior
                        arbitrations involving different PayPal customers, but is/are bound by rulings in
                        prior arbitrations involving the same PayPal customer to the extent required by
                        applicable law. The award of the arbitrator(s) shall be final and binding, and
                        judgment on the award rendered by the arbitrator(s) may be entered in any court
                        having jurisdiction thereof.

 Costs of Arbitration   Payment of all filing, administration, and arbitrator fees will be governed by the
                        AAA's rules, unless otherwise stated in this Agreement to Arbitrate. If the value of
                        the relief sought is $10,000 or less, at your request, PayPal will pay all filing,
                        administration, and arbitrator fees associated with the arbitration. Any request for
                        payment of fees by PayPal should be submitted by mail to the AAA along with your
                        Demand for Arbitration and PayPal will make arrangements to pay all necessary
                        fees directly to the AAA. If the value of the relief sought is more than $10,000 and
                        you are able to demonstrate that the costs of accessing arbitration will be
                        prohibitive as compared to the costs of accessing a court for purposes of pursuing
                        litigation on an individual basis, PayPal will pay as much of the filing,
                        administration, and arbitrator fees as the arbitrator(s) deem necessary to prevent
                        the cost of accessing the arbitration from being prohibitive. In the event the
                        arbitrator(s) determine the claim(s) you assert in the arbitration to be frivolous, you
                        agree to reimburse PayPal for all fees associated with the arbitration paid by PayPal
                        on your behalf that you otherwise would be obligated to pay under the AAA's rules.

 Severability           With the exception of any of the provisions in the Prohibition of Class and
                        Representative Actions and Non-Individualized Relief section above, if a court
                        decides that any part of this Agreement to Arbitrate is invalid or unenforceable, the
                        other parts of this Agreement to Arbitrate shall still apply. If a court decides that
                        any of the provisions in the Prohibition of Class and Representative Actions and
                        Non-Individualized Relief section above is invalid or unenforceable, then the
                        entirety of this Agreement to Arbitrate shall be null and void, but the remainder of
                        this user agreement will continue to apply.

 Opt-Out Procedure      If you are a new PayPal customer, you can choose to reject this Agreement to
                        Arbitrate by mailing us a written opt-out notice. The opt-out notice must be
                        postmarked no later than 30 days after the date you accept this user agreement for
                        the first time. You must mail the opt-out notice to PayPal, Inc., Attn: Litigation
                        Department, 2211 North First Street, San Jose, CA 95131.

                        For your convenience, we are providing an opt-out notice form you must complete
                        and mail to opt out of this Agreement to Arbitrate. You must complete this form



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                             by providing all the information it calls for, including your name, address, phone
                             number, and the email address(es) used to log in to the PayPal account(s) to which
                             the opt-out applies. You must sign the opt-out notice for it to be effective. This
                             procedure is the only way you can opt out of the agreement to arbitrate. If you opt
                             out of this Agreement to Arbitrate, all other parts of the user agreement will
                             continue to apply. Opting out of this Agreement to Arbitrate has no effect on any
                             previous, other, or future arbitration agreements that you may have with us.

  Future Amendments          Notwithstanding any provision in the user agreement to the contrary, you and we
  to this Agreement to       agree that if we make any amendment to this Agreement to Arbitrate (other than
  Arbitrate                  an amendment to any notice address or website link provided herein) in the future,
                             that amendment shall not apply to any claim that was filed in a legal proceeding
                             against PayPal prior to the effective date of the amendment. The amendment shall
                             apply to all other disputes or claims governed by this Agreement to Arbitrate that
                             have arisen or may arise between you and PayPal. We will notify you of
                             amendments to this Agreement to Arbitrate by posting the amended terms on
                             www.paypal.com at least 30 days before the effective date of the amendments and
                             by providing notice through email. If you do not agree to these amended terms,
                             you may close your PayPal account within the 30-day period and you will not be
                             bound by the amended terms.

Intellectual Property

PayPal’s trademarks

"PayPal.com," "PayPal," and all logos related to the PayPal services are either trademarks or registered
trademarks of PayPal or PayPal's licensors. You may not copy, imitate, modify or use them without PayPal's
prior written consent. In addition, all page headers, custom graphics, button icons, and scripts are service
marks, trademarks, and/or trade dress of PayPal. You may not copy, imitate, modify or use them without our
prior written consent. You may use HTML logos provided by PayPal for the purpose of directing web traffic to
the PayPal services. You may not alter, modify or change these HTML logos in any way, use them in a manner
that mischaracterizes PayPal or the PayPal services or display them in any manner that implies PayPal's
sponsorship or endorsement. All right, title and interest in and to the PayPal websites, any content thereon,
the PayPal services, the technology related to the PayPal services, and any and all technology and any content
created or derived from any of the foregoing is the exclusive property of PayPal and its licensors.

License grants, generally

If you are using PayPal software such as an API, developer's toolkit or other software application, which may
include software provided by or integrated with software, systems or services of our service providers, that you
have downloaded or otherwise accessed through a web or mobile platform, then PayPal grants you a revocable,
non-exclusive, non-sublicensable, non-transferable, royalty-free limited license to access and/or use PayPal's
software in accordance with the documentation accompanying such software. This license grant applies to the
software and all updates, upgrades, new versions and replacement software. You may not rent, lease or
otherwise transfer your rights in the software to a third party. You must comply with the implementation,
access and use requirements contained in all documentation accompanying the PayPal services. If you do not
comply with implementation, access and use requirements you will be liable for all resulting damages suffered
by you, PayPal and third parties. PayPal may update or discontinue any software upon notice to you. While
PayPal may have (1) integrated certain third party materials and technology into any web or other application,
including its software, and/or (2) accessed and used certain third party materials and technology to facilitate
providing you with the PayPal Services, you have not been granted and do not otherwise retain any rights in or


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to any such third party materials. You agree not to modify, alter, tamper with, repair, copy, reproduce, adapt,
distribute, display, publish, reverse engineer, translate, disassemble, decompile or otherwise attempt to create
any source code that is derived from the software or any third party materials or technology, or otherwise
create any derivative works from any of the software or third party materials or technology. You acknowledge
that all rights, title and interest to PayPal’s software are owned by PayPal and any third party materials
integrated therein are owned by PayPal’s third party service providers. Any other third party software
application you use on the PayPal websites is subject to the license you agreed to with the third party that
provides you with this software. You acknowledge that PayPal does not own, control nor have any responsibility
or liability for any such third party software application you elect to use on any of our websites, software and/or
in connection with the PayPal services.

License grant from you to PayPal; intellectual property warranties

PayPal does not claim ownership of the content that you provide, upload, submit or send to PayPal. Nor does
PayPal claim ownership of the content you host on third-party websites or applications that use PayPal services
to provide payments services related to your content. Subject to the next paragraph, when you provide
content to PayPal or post content using PayPal services, you grant PayPal (and parties that we work with) a non-
exclusive, irrevocable, royalty-free, transferable, and worldwide license to use your content and associated
intellectual property and publicity rights to help us improve, operate and promote our current services and
develop new ones. PayPal will not compensate you for any of your content. You acknowledge that PayPal’s use
of your content will not infringe any intellectual property or publicity rights. Further, you acknowledge and
warrant that you own or otherwise control all of the rights of the content you provide, and you agree to waive
your moral rights and promise not to assert such rights against PayPal.

License grant from sellers to PayPal

Notwithstanding the provisions of the prior paragraph, if you are a seller using the PayPal services to accept
payments for goods and services, you hereby grant PayPal and its affiliates a worldwide, non-exclusive,
transferable, sublicensable (through multiple tiers), and royalty-free, fully paid-up, right to use and display
publicly, during the term of this user agreement, your trademark(s) (including but not limited to registered and
unregistered trademarks, trade names, service marks, logos, domain names and other designations owned,
licensed to or used by you) for the purpose of (1) identifying you as a merchant that accepts a PayPal service as
a payment form, and (2) any other use to which you specifically consent.

Miscellaneous

Assignment

You may not transfer or assign any rights or obligations you have under this user agreement without PayPal's
prior written consent. PayPal may transfer or assign this user agreement or any right or obligation under this
user agreement at any time.

Business Days

References in this user agreement to “Business Day(s)” mean(s) Monday through Friday, excluding holidays
when PayPal’s offices are not considered open for business in the U.S. Holidays include New Year's Day
(January 1), Martin Luther King, Jr.’s Birthday (the third Monday in January), George Washington's Birthday (the
third Monday in February), Memorial Day (the last Monday in May), Independence Day (July 4), Labor Day (the
first Monday in September), Columbus Day (the second Monday in October), Veterans Day (November 11),
Thanksgiving Day (the fourth Thursday in November) and Christmas Day (December 25). If a holiday falls on a




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Saturday, PayPal observes the holiday on the prior Friday. If the holiday falls on a Sunday, PayPal observes the
holiday on the following Monday.

Consumer fraud warning

We’re always looking for ways to help keep you even more secure. So stay on the lookout for some of these
common scams:

•   Spoofing: a scammer sends forged or faked electronic documents or emails falsely claiming to be PayPal or
    coming from PayPal but asks you to send money outside your PayPal account.
•   Relative in Need: a scammer impersonates a family member (commonly grandchildren) and claims there is
    an emergency requiring you to send money.
•   Lottery or Prize: a scammer informs you that you’ve won a lottery or prize and must send money in order to
    claim it.
•   Debt Collection: a scammer impersonates a debt collector and induces you to send money using threats or
    intimidation.
•   Employment Related: a scammer instructs you to send money in connection with a fraudulent offer of
    employment.

Always use common sense when sending money. If something sounds too good to be true, it probably is. Only
send money for yourself and not for others. Remember that if you don’t send the payment through your
PayPal account, you’re not covered by PayPal Purchase Protection. Please let us know immediately if you
believe someone is trying to scam or defraud you by contacting us at 1-888-221-1161, or 1-402-935-2050 if
calling outside the U.S.

Escheatment of dormant accounts

If you do not log in to your PayPal account for two or more years, PayPal may close your PayPal account and
send the PayPal balance to your primary address or, if required, escheat (send) your PayPal balance to your
state of residency. PayPal will determine your state of residency based on the state listed in the primary
address for your PayPal account. If your address is unknown or registered in a foreign country, your PayPal
balance will be escheated to the State of Delaware. Where required, PayPal will send you a notice prior to
escheating any funds in your PayPal account. If you fail to respond to this notice, your PayPal balance will be
escheated to the applicable state. If you would like to claim any escheated PayPal balance from the applicable
state, please contact the applicable state’s unclaimed property administrator.

Governing law

You agree that, except to the extent inconsistent with or preempted by federal law and except as otherwise
stated in this user agreement, the laws of the State of Delaware, without regard to principles of conflict of laws,
will govern this user agreement and any claim or dispute that has arisen or may arise between you and PayPal.

Identity authentication

You authorize PayPal, directly or through third parties, to make any inquiries we consider necessary to validate
your identity. This may include asking you for further information, requiring you to provide your date of birth, a
taxpayer identification number and other information that will allow us to reasonably identify you, requiring
you to take steps to confirm ownership of your email address or financial instruments, ordering a credit report
from a credit reporting agency, or verifying your information against third party databases or through other
sources. We may also ask to see your driver’s license or other identifying documents at any time. If you use
certain PayPal services, federal law requires that PayPal verify some of your information. PayPal reserves the



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right to close, suspend, or limit access to your PayPal account and/or the PayPal services in the event we are
unable to obtain or verify this information.

PayPal is only a payment service provider

Our relationship with you under this user agreement is as a payment service provider, and PayPal is an
independent contractor for all purposes. PayPal is not your agent or trustee.

Privacy

Protecting your privacy is very important to us. Please review our Privacy Policy in order to better understand
our commitment to maintaining your privacy, as well as our use and disclosure of your information.

State disclosures

In addition to reporting complaints against PayPal directly to PayPal as described above, if you are a California
resident, you may report complaints to the California Department of Business Oversight by mail at Department
of Business Oversight, Attn: Consumer Services, 1515 K Street, Suite 200, Sacramento, CA 95814 or online
through its website at http://www.dbo.ca.gov/Consumers/consumer_services.asp. The California Department
of Business Oversight offers assistance with its complaint form by phone at 866-275-2677. If you are a
California resident, you have a right to receive communications about your PayPal account and the PayPal
services by email. To make such a request, send a letter to PayPal to: PayPal, Inc., Attention: Legal Department,
2211 North First Street, San Jose, California 95131), include your email address, and your request for that
information by email.

Florida residents may contact the Florida Department of Financial Services in writing at 200 East Gaines Street,
Tallahassee, Florida, 32399, or by telephone at 1-800-342-2762.

Translation of agreement

Any translation of this user agreement is provided solely for your convenience and is not intended to modify
the terms of this user agreement. In the event of a conflict between the English version of this user agreement
and a version in a language other than English, the English version shall control.

Unlawful internet gambling notice

Restricted transactions as defined in Federal Reserve Regulation GG are prohibited from being processed
through your PayPal account or your relationship with PayPal. Restricted transactions generally include, but are
not limited to, transactions in which credit, electronic fund transfers, checks, or drafts are knowingly accepted
by gambling businesses in connection with unlawful Internet gambling.

Your use of information

If you receive information about another PayPal customer, you must keep the information confidential and only
use it in connection with the PayPal services. You may not disclose or distribute any information about PayPal
users to a third party or use the information for marketing purposes unless you receive that user’s express
consent to do so. You may not send unsolicited emails to a PayPal customer or use the PayPal services to
collect payments for sending, or assist in sending, unsolicited emails to third parties.




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                                               Exhibit A
                             Fees for sending money to friends and family.


                                     Sending to the U.S. and Canada.

 If you are a U.S. PayPal account holder sending money to a friend or family member with a PayPal account in
                       the U.S. or Canada, you may pay a fee, depending on how you pay.

   Payment method:                                         Fees:


   Funded by your PayPal balance or a bank                 Fee is waived.
   account linked to your PayPal account.


   Funded by a credit card, debit card or PayPal           2.9% of the transaction amount funded this way, plus a
   Credit.                                                 fixed fee (from the table below) based on the currency
                                                           of the transaction.




                                        Sending to other countries.

If you are a U.S. PayPal account holder sending money to a friend or family member with a PayPal account in a
country other than the U.S. or Canada, you may pay a fee depending on how you pay and which country the
recipient’s account is in.

 Payment method:                     Country of recipient’s                 Fees:
                                     account:
 Funded by your PayPal               Australia or Poland                    1.0% of the transaction amount.
 balance or a bank account
 linked to your PayPal account.      Germany                                2.0% of the transaction amount.

                                     Japan                                  0.3% of the transaction amount.

                                     any other country                      0.5% of the transaction amount.

 Funded by a credit card, debit      Australia                              3.4% of the transaction amount
 card or PayPal Credit.                                                     funded this way, plus a fixed fee (from
                                                                            the table below) based on the
                                                                            currency.

                                     any other country                      3.9% of the transaction amount
                                                                            funded this way, plus a fixed fee (from
                                                                            the table below) based on the
                                                                            currency.




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                                 Fixed fees for sending in other currencies.

Currency                                 Fee              Currency                Fee
Australian Dollar:                       0.30 AUD         New Zealand Dollar:     0.45 NZD
Brazilian Real:                          0.60 BRL         Norwegian Krone:        2.80 NOK
Canadian Dollar:                         0.30 CAD         Philippine Peso:        15.00 PHP
Czech Koruna:                            10.00 CZK        Polish Zlotych:         1.35 PLN
Danish Krone:                            2.60 DKK         Russian Ruble:          10 RUB
Euro (recipient is in France):           0.25 EUR         Singapore Dollar:       0.50 SGD
Euro (recipient is outside of France):   0.35 EUR         Swedish Krona:          3.25 SEK
Hong Kong Dollar:                        2.35 HKD         Swiss Franc:            0.55 CHF
Hungarian Forint:                        90 HUF           Taiwan New Dollar:      10.00 TWD
Israeli Shekel:                          1.20 ILS         Thai Baht:              11.00 THB
Japanese Yen:                            40 JPY           U.K. Pounds Sterling:   0.20 GBP
Malaysian Ringgit:                       2.00 MYR         U.S. Dollar:            0.30 USD
Mexican Peso:                            4.00 MXN




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                                                Exhibit B
                                        Standard Transaction Fees


                                        Standard Transaction Fees

   These fees apply when you sell goods or services online (including using PayPal Payments Standard and
       Express Checkout) and in your store location and the buyer pays using his/her PayPal account.

   •   No startup costs, no termination fee, no monthly fees
   •   Accept PayPal payments with Express Checkout
   •   Accept PayPal payments and all major credit cards with PayPal Payments Standard

If you’re selling goods or services   And the funds you are receiving           then you pay:
and the sale occurs:                  are coming from a PayPal
                                      account:
Through an online transaction         In the U.S.                               a fee of 2.9% of the transaction
                                                                                amount plus a fixed fee based on
                                                                                the currency.
                                      Outside the U.S.                          a fee of 4.4% of the transaction
                                                                                amount plus a fixed fee based on
                                                                                the currency.
In your store location                In the U.S.                               a fee of 2.7% of the transaction
                                                                                amount
                                      Outside the U.S.                          a fee of 4.2% of the transaction
                                                                                amount



                         Standard transaction fees for charitable organizations

  Discounted credit card processing fees for registered charities with 501(c)(3) status. Learn more about our
                                            discounts for charities.

If you’re a verified charitable 501(c)(3)                     then you pay:
organization, and the funds you are receiving are
coming from a PayPal account:
In the U.S.                                                   a fee of 2.2% of the transaction amount plus a fixed
                                                              fee based on the currency.
Outside the U.S.                                              a fee of 3.7% of the transaction amount plus a fixed
                                                              fee based on the currency.


                                   Fixed fee for standard transactions

  The following fixed fees apply to standard transactions for online and in-store payments and to donations
                                      received by 501(c)(3) organizations.

          Currency                    Fee                     Currency                 Fee
          Australian Dollar:          0.30 AUD                New Zealand Dollar:      0.45 NZD



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       Brazilian Real:      0.60 BRL         Norwegian Krone:        2.80 NOK
       Canadian Dollar:     0.30 CAD         Philippine Peso:        15.00 PHP
       Czech Koruna:        10.00 CZK        Polish Zlotych:         1.35 PLN
       Danish Krone:        2.60 DKK         Russian Ruble:          10 RUB
       Euro:                0.35 EUR         Singapore Dollar:       0.50 SGD
       Hong Kong Dollar:    2.35 HKD         Swedish Krona:          3.25 SEK
       Hungarian Forint:    90 HUF           Swiss Franc:            0.55 CHF
       Israeli Shekel:      1.20 ILS         Taiwan New Dollar:      10.00 TWD
       Japanese Yen:        40 JPY           Thai Baht:              11.00 THB
       Mexican Peso:        4.00 MXN         U.K. Pounds Sterling:   0.20 GBP
       Malaysian Ringgit:   2.00 MYR         U.S. Dollar:            0.30 USD




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                                                  Exhibit C
                                             Micropayment Fees


                                             Micropayment Fees

If your transactions are less than $10, you can save money with our micropayment processing fees.

 If you qualify to receive micropayments pricing and        then you pay:
 the funds you are receiving are coming from a
 PayPal account in:
 In the U.S.                                                a fee of 5.0% of the transaction amount plus a fixed
                                                            fee based on the currency.
 Outside the U.S.                                           a fee of 6.5% of the transaction amount plus a fixed
                                                            fee based on the currency.




                                      Fixed Fees for Micropayments

    Currency                         Fee                       Currency                     Fee
    Australian Dollar:               0.05 AUD                  New Zealand Dollar:          0.08 NZD
    Brazilian Real:                  0.10 BRL                  Norwegian Krone:             0.47 NOK
    Canadian Dollar:                 0.05 CAD                  Philippine Peso:             2.5 PHP
    Czech Koruna:                    1.67 CZK                  Polish Zlotych:              0.23 PLN
    Danish Krone:                    0.43 DKK                  Russian Ruble:               2 RUB
    Euro:                            0.05 EUR                  Singapore Dollar:            0.08 SGD
    Hong Kong Dollar:                0.39 HKD                  Swedish Krona:               0.54 SEK
    Hungarian Forint:                15 HUF                    Swiss Franc:                 0.09 CHF
    Israeli Shekel:                  0.20 ILS                  Taiwan New Dollar:           2.00 TWD
    Japanese Yen:                    7 JPY                     Thai Baht:                   1.80 THB
    Mexican Peso:                    0.20 MXN                  U.K. Pounds Sterling:        0.05 GBP
    Malaysian Ringgit:               0.55 MYR                  U.S. Dollar:                 0.05 USD




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                                                     Exhibit D
                                          PayPal Payouts and Mass Pay Fees


                                          PayPal Payouts and Mass Pay Fees

                  If you are using Payouts or Mass Pay to send money to someone with a PayPal account:

Currency of the               In the U.S., using            In the U.S., using traditional   Outside of the U.S., you
payment:                      PayPal’s newer Payouts        Mass Pay services, you pay       pay 2% of each recipient’s
                              API, you pay a flat fee of:   2% of each recipient’s           payment amount as a fee
                                                            payment amount as a fee          up to a maximum amount
                                                            up to a maximum amount           per recipient of:
                                                            per recipient of:
Australian Dollar:            0.32 AUD                      1.25 AUD                         24.00 AUD
Brazilian Real:               0.50 BRL                      2.00 BRL                         40.00 BRL
Canadian Dollar:              0.32 CAD                      1.25 CAD                         24.00 CAD
Czech Koruna:                 6.00 CZK                      24.00 CZK                        400.00 CZK
Danish Krone:                 1.50 DKK                      6.00 DKK                         120.00 DKK
Euro:                         0.22 EUR                      0.85 EUR                         16.00 EUR
Hong Kong Dollar:             1.75 HKD                      7.00 HKD                         160.00 HKD
Hungarian Forint:             53 HUF                        210 HUF                          6,000 HUF
Israeli Shekel:               1.00 ILS                      4.00 ILS                         80.00 ILS
Japanese Yen:                 30 JPY                        120 JPY                          2,000 JPY
Mexican Peso:                 2.75 MXN                      11.00 MXN                        300.00 MXN
Malaysian Ringgit:            N/A                           4.00 MYR                         80.00 MYR
New Zealand Dollar:           0.38 NZD                      1.50 NZD                         30.00 NZD
Norwegian Krone:              1.70 NOK                      6.75 NOK                         120.00 NOK
Philippine Peso:              12.50 PHP                     50.00 PHP                        1,000.00 PHP
Polish Zlotych:               0.75 PLN                      3.00 PLN                         60.00 PLN
Russian Ruble:                60 RUB                        30 RUB                           600 RUB
Singapore Dollar:             0.40 SGD                      1.60 SGD                         32.00 SGD
Swedish Krona:                2.25 SEK                      9.00 SEK                         160.00 SEK
Swiss Franc:                  0.33 CHF                      1.30 CHF                         20.00 CHF
Taiwan New Dollar:            8.00 TWD                      33.00 TWD                        800.00 TWD
Thai Baht:                    9.00 THB                      36.00 THB                        800.00 THB
U.K. Pounds Sterling:         0.17 GBP                      0.65 GBP                         14.00 GBP
U.S. Dollar:                  0.25 USD                      1.00 USD                         20.00 USD




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                                            Exhibit E
                                         Chargeback Fees


                                         Chargeback Fees

   Currency             Chargeback Fee              Currency                Chargeback Fee
   Australian Dollar:   22 AUD                      New Zealand Dollar:     28 NZD
   Brazilian Real:      35 BRL                      Norwegian Krone:        125.00 NOK

   Canadian Dollar:     20.00 CAD                   Philippine Peso:        900.00 PHP
   Czech Koruna:        400.00 CZK                  Polish Zlotych:         65.00 PLN
   Danish Krone:        120.00 DKK                  Russian Ruble:          640 RUB
   Euro:                16 EUR                      Singapore Dollar:       28.00 SGD
   Hong Kong Dollar:    155.00 HKD                  Swedish Krona:          150.00 SEK
   Hungarian Forint:    4,325 HUF                   Swiss Franc:            22 CHF

   Israeli Shekel:      75.00 ILS                   Taiwan New Dollar:      625 TWD
   Japanese Yen:        1,875 JPY                   Thai Baht:              650.00 THB
   Malaysian Ringgit:   65 MYR                      U.K. Pounds Sterling:   14.00 GBP
   Mexican Peso:        250 MXN                     U.S. Dollar:            20.00 USD




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                  Exhibit C
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     PAYPAL USER AGREEMENT
     About Your Account
     This user agreement will be effective for all users as of July 28, 2022.

     Welcome to PayPal!

     This user agreement is a contract between you and PayPal, Inc. governing your use of
     your PayPal account and the PayPal services. It applies to U.S. PayPal accounts only. If
     you are an individual, you must be a resident of the United States or one of its territories
     and at least 18 years old, or the age of majority in your state of residence to open a U.S.
     PayPal account and use the PayPal services. If you are a business, the business must be
     organized in, operating in, or a resident of, the United States or one of its territories to
     open a U.S. PayPal account and use the PayPal services.

     By opening and using a PayPal account, you agree to comply with all of the terms and
     conditions of this user agreement, including the Fee pages, and any upcoming changes
     described on the Policy Updates page at the time you accept this user agreement (which
     changes will apply to you on the indicated effective dates). These terms include an
     agreement to resolve disputes by arbitration on an individual basis. You also agree to
     comply with each of the other terms or agreements on the Legal Agreements page that
     apply to you and the following additional policies:

        •   Acceptable Use Policy
        •   Electronic Communications Delivery Policy (E-Sign Disclosure and Consent)

     Please read carefully all of the terms and conditions of this user agreement, the terms of
     the above policies, and each of the other terms and agreements that apply to you.

     We may revise this agreement and any of the other terms, agreements, or policies from
     time to time. The revised version will be effective at the time we post it, unless otherwise
     noted. If our changes reduce your rights or increase your responsibilities, we will provide
     notice of such changes.

        •   For personal accounts, notice will include posting information about the changes
            on our Policy Updates page. If you accepted this user agreement prior to us
            posting notice of the changes on our Policy Updates page, then such notice will be
            provided at least 21 days before the applicable effective date.
        •   For business accounts, notice will include posting information about the changes
            on our Policy Updates page or providing information about the changes by other
            written means (which may include email). If you accepted this user agreement
            prior to us providing notice of the changes on the Policy Updates page or by other
            written means, then such notice will be provided at least 5 days before the
            applicable effective date.
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     By continuing to use our services after any changes to this user agreement or any of the
     other applicable terms, agreements, or policies, you agree to abide and be bound by those
     changes. If you do not agree with any changes to this user agreement, you may close your
     account.

     Opening a PayPal Account

     We offer two types of PayPal accounts: PayPal personal accounts (or “personal
     accounts”) and PayPal business accounts (or “business accounts”), both covered by this
     user agreement.

     All PayPal accounts let you do things like:

        •   Send and receive money.
        •   Buy things online, using mobile devices or in stores.
        •   Make payments using your credit card, debit card, bank account, or other payment
            options, including funds held as balance in a business account (if we have verified
            the required identifying information you provide to us) or funds held in a PayPal
            Balance account linked to a personal account if you choose to open a PayPal
            Balance account. The terms “PayPal Balance account” or “Balance Account” in
            this user agreement are used to refer to a PayPal Balance account and shall
            include any account currently or previously known as a PayPal Cash or a PayPal
            Cash Plus account, as applicable. More information about Balance Accounts can
            be found in the PayPal Balance Terms and Conditions.
        •   Accept credit card, debit card, bank account, Balance Account, and other payment
            methods from others.

     You are responsible for maintaining adequate security and control of any and all IDs,
     passwords, personal identification numbers, or any other codes that you use to access
     your PayPal account and the PayPal services. You must keep your mailing address, email
     address and other contact information current in your PayPal account profile.



     Personal accounts

     If you primarily need to make purchases and send personal transactions to family and
     friends, a personal account is probably right for you. With a personal account you can do
     things like:

        •   Send personal transactions to and request personal transactions from friends and
            family.
        •   Buy goods and services.

     You can also use a personal account to receive money for the sale of goods and services
     and hold that money in a linked Balance Account or transfer it to a linked bank account
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     or debit card if you do not open a Balance Account, but if you plan to use your personal
     account primarily to sell things, you should open a business account. You can also
     convert your personal account to a business account should circumstances change.



     Business accounts

     We recommend business accounts for people and organizations that primarily use PayPal
     to sell goods or services or to receive donations, even if your business is not incorporated.
     With a business account, you can do things like:

        •   Use a company or business name as the name on your business account.
        •   Allow employees access to some of the features of your business account.
        •   Sign up for PayPal products that meet your business needs.

     Business accounts may be subject to fees that differ from the fees applicable to personal
     accounts. Business accounts are not eligible to receive “personal transactions” from U.S.
     PayPal accounts, although they may send personal transactions to friends and family with
     an eligible PayPal account.

     By opening up a business account or converting a personal account to a business
     account, you certify to us that you are using it primarily for a business or
     commercial purpose. You also consent to PayPal obtaining your personal and/or
     business credit report from a credit reporting agency at account opening and
     whenever we reasonably believe there may be an increased level of risk associated
     with your business account.



     Commercial Entity Status

     If the activity through any type of PayPal account you hold reaches certain thresholds or
     involves certain business segments or activities, you are required by the card networks to
     agree to a Commercial Entity Agreement to allow you to continue accepting Visa and
     MasterCard payments. In this case, these Commercial Entity Agreements will apply to
     any payment processed by PayPal on your behalf and will form part of this user
     agreement.

     Closing Your PayPal Account

     You may close your PayPal account and terminate your relationship with us at any time
     without cost, but you will remain liable for all obligations related to your PayPal account
     even after the PayPal account is closed. When you close your PayPal account, we will
     cancel any scheduled or incomplete transactions. If you have a Balance Account linked to
     a personal account, you must withdraw or transfer any funds held in your Balance
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     Account before closing your personal account, and closing a personal account will result
     in PayPal automatically closing any linked Balance Account. If you have a business
     account, you must withdraw or transfer any balance from your business account before
     closing it, and if you have not provided the required identifying information to us, or if
     we are unable to verify the required identifying information you provide, you must
     transfer any balance in your business account to a linked bank account or debit card. You
     cannot withdraw or transfer digital gift certificates/cards that are purchased through
     PayPal Digital Gifts and linked to your personal or business account as payment methods.
     However, even without your PayPal account, you can still use the codes you received by
     email when you purchased the gift certificates/cards to make purchases.

     In certain cases, you may not close your PayPal account, including:

        •   To evade an investigation.

        •   If you have a pending transaction or an open dispute or claim.

        •   If your PayPal account has a negative balance.
        •   If your PayPal account is subject to a hold, limitation or reserve.

     Link or Unlink a Payment Method

     You can link or unlink certain payment methods such as a credit card, debit card, a U.S.
     bank account or PayPal Credit to your PayPal account. You can also link a Balance
     Account to your personal account as a payment method and unlink the Balance Account
     by withdrawing all funds and closing it. Before linking a bank account, you should
     review and understand the consumer protection rights and remedies available for
     different payment sources under the Electronic Fund Transfer Act (EFTA) and Fair
     Credit Billing Act (FCBA). Please keep your payment method information current (e.g.,
     credit card number and expiration date). If this information changes, we may update it
     using information and third-party sources available to us without any action on your part.
     If you do not want us to update your card information, you may remove your payment
     method from your PayPal account. If we update your payment method, we will keep any
     preference setting attached to such payment method. You may choose to confirm your
     card, so that we can verify that the card is valid and that you are the card owner. To do
     this, we will charge $1.95 to the card. After the card is confirmed, we will immediately
     refund this amount to the card.

     Receiving Funds, Holding a Balance or Transferring Funds

     Unless otherwise expressly stated, all references to “funds” in this user agreement mean
     money denominated in sovereign currency and not cryptocurrency or any other form of
     asset.
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     Personal accounts

     Money sent to your personal account cannot be held as a balance in your personal
     account. When you receive money to your personal account, you can:

        •   transfer the money via a standard transfer to your bank account linked to your
            personal account for free;
        •   transfer the money via an Instant Transfer to an eligible debit card or bank
            account linked to your personal account, subject to the fees applicable to such
            transfers that can be found on the Fees for Transferring Funds (for personal
            accounts) table and that will be disclosed to you in advance each time you initiate
            such a withdrawal;
        •   request PayPal to send the money to you by check (subject to a non-refundable
            fee of $1.50, which will be deducted from the amount of the withdrawal). If you
            request a paper check from us, you must cash it within 180 days of the date of
            issuance, or we will return the funds to your linked Balance Account if you have
            one or hold the funds on your behalf and retain the non-refundable fee of $1.50.
            We will not send a check to a post office box, and we will only send a check to an
            address once we have confirmed that it belongs to you;
        •   open a Balance Account to hold and use the money as a balance in your Balance
            Account for purchases or to send personal transactions to friends and family
            members. A Balance Account is separate account from your personal account. If
            you open a Balance Account, we will automatically link your Balance Account to
            your personal account. More information about Balance Accounts can be found in
            the PayPal Balance Terms and Conditions.

     You also cannot transfer money to your personal account to be held as a balance in your
     personal account. You will need to open a Balance Account to hold the money as a
     balance in your Balance Account, which can be used for purchases or to send personal
     transactions to friends and family members. More information about Balance Accounts
     can be found in the PayPal Balance Terms and Conditions.

     Except when PayPal acts your agent and custodian to place funds in one or more banks
     insured by the Federal Deposit Insurance Corporation (FDIC) that we choose in our
     discretion (“Program Banks”), as provided below, any balance in your Balance Account
     and any funds sent to you which have not yet been transferred to a linked bank account or
     debit card if you do not have a Balance Account, represent unsecured claims against
     PayPal that are not eligible for FDIC pass-through insurance.

     PayPal is not a bank and does not itself take deposits. You will not receive any interest or
     other return on the funds held with PayPal. If your Balance Account is not eligible for
     FDIC pass-through insurance, PayPal combines your PayPal funds with the PayPal funds
     of other PayPal users and invests those funds in liquid investments in accordance with
     state money transmitter laws. PayPal owns the interest or other earnings on these
     investments. However, the claim against PayPal represented by funds held in your
     Balance Account is not secured by these investments and you do not have any ownership
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     interest (either legal or beneficial) in these investments. These pooled amounts are held
     apart from PayPal’s corporate funds, and PayPal will neither use these funds for its
     operating expenses or any other corporate purposes nor will it voluntarily make these
     funds available to its creditors in the event of bankruptcy.

     If you have a PayPal Debit Mastercard® (PayPal Debit Card), have enrolled in Direct
     Deposit, or have bought or received cryptocurrency, the U.S. dollar funds held in your
     Balance Account will be placed by PayPal, as your agent and custodian, in one or more
     Program Banks where they will be eligible for FDIC pass-through insurance, as further
     detailed in the PayPal Balance Terms and Conditions. Your eligibility for FDIC pass-
     through insurance only applies to U.S. dollar funds placed by PayPal in a Program Bank
     on your behalf. It does not apply to funds held in any non-U.S. dollar currencies, nor does
     it apply to any amounts held in cryptocurrencies. You will not receive any interest or
     other return on funds placed in Program Banks, and PayPal may be compensated for
     placing your funds with a Program Bank.



     PayPal Savings

     You may also link PayPal Savings to your PayPal consumer account. PayPal Savings is a
     deposit account provided by Synchrony Bank in which you can deposit funds and
     subsequently access those funds by transferring them back to your eligible Balance
     Account. A PayPal Balance Account is required to set up and utilize PayPal Savings.

     PayPal Savings does not act as a payment method to fund transactions with merchants for
     goods and services or to send or receive personal transactions from friends and family.

     All deposits to and withdrawals from PayPal Savings are made via transfer to your
     PayPal balance. When you link PayPal Savings to your PayPal account, you authorize
     PayPal and Synchrony Bank to transfer funds between your eligible Balance Account and
     PayPal Savings in accordance with your instructions. More information about sending
     and receiving funds from PayPal Savings can be found in the PayPal Balance Terms and
     Conditions.



     Business accounts

     Money sent to a business account can be held directly as balance in the business account.
     The balance functionality in your business account will differ depending on whether we
     have been able to verify the required identifying information that you provide to us.

     The required identifying information is:
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        •   For sole proprietorships: name, physical address, date of birth and taxpayer
            identification number; or
        •   For other types of business legal entities: business name, business address,
            taxpayer identification number, and proof of business existence.

     If we have not verified the required identifying information, a balance in your business
     account can only be held in your business account and transferred to a linked bank
     account or debit card or you can request PayPal to send you the money by check (subject
     to a non-refundable fee of $1.50, which will be deducted from the amount of the
     withdrawal). Your balance may also be used to fund payments or money owed to PayPal,
     such as payments on your PayPal Working Capital account or monies owed for refunds
     or chargebacks.

     If we have verified the required identifying information, a balance can be held in your
     business account, transferred to a linked bank account or debit card, used to make
     purchases or send money to others.

     If you have a business account and we have verified the required identifying information
     that you have provided to us, you may transfer money to the balance of your business
     account from any bank account linked to your business account by requesting an
     electronic transfer from your bank account. If we have not verified the required
     identifying information that you have provided to us, you cannot add funds to your
     balance in a business account.

     You can withdraw balance from your business account by:

        •   transferring it via a standard transfer to a bank account linked to your business
            account for free,
        •   transferring it via an Instant Transfer to an eligible debit card or bank account
            linked to your business account, subject to the fees applicable to such transfers
            that can be found on the Fees for Transferring Balance (for business accounts)
            table and that will be disclosed to you in advance each time you initiate such a
            withdrawal,
        •   withdrawing it from an ATM (automated teller machine) if you have a PayPal-
            branded debit card (fees may apply), or
        •   Requesting a check from us (subject to a non-refundable fee of $1.50, which will
            be deducted from the amount of the withdrawal). If you request a paper check
            from us, you must cash it within 180 days of the date of issuance, or we will
            return the funds to your balance in your business account and retain the non-
            refundable fee of $1.50. We will not send a check to a post office box, and we
            will only send a check to an address once we have confirmed that it belongs to
            you.

     Any funds you hold in your business account represent an unsecured claims against
     PayPal and are not eligible for FDIC pass-through insurance.
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     PayPal is not a bank and does not itself take deposits. You will not receive any interest or
     other return on the funds held with PayPal. PayPal combines your PayPal funds with the
     PayPal funds of other PayPal users and invests those funds in liquid investments in
     accordance with state money transmitter laws. PayPal owns the interest or other earnings
     on these investments. However, the claim against PayPal represented by your PayPal
     funds is not secured by these investments and you do not have any ownership interest
     (either legal or beneficial) in these investments. These pooled amounts are held apart
     from PayPal’s corporate funds, and PayPal will neither use these funds for its operating
     expenses or any other corporate purposes nor will it voluntarily make these funds
     available to its creditors in the event of bankruptcy.



     Restrictions on transfers or withdrawals from PayPal accounts

     To protect us and our users from loss, we may delay a withdrawal, in certain situations,
     including if we need to confirm that you have authorized the withdrawal or if other
     payments to your PayPal account have been subject to a reversal (for example, as a result
     of a chargeback, bank reversal, or dispute by a buyer). If we place a limitation on your
     PayPal account, a payment is subject to a hold, or your account or an associated account
     has a negative balance in any currency while a withdrawal from your PayPal account is
     pending, you will have to reinitiate the withdrawal once the limitation or hold has been
     lifted, or negative balance is fully paid off.

     We may set limits on your withdrawals, and you can view any withdrawal limit by
     logging into your PayPal account. Completing two out of three of the following steps can
     help us verify your PayPal account, which may allow us to remove any withdrawal cap:

        •   Verifying your bank account.
        •   Linking and confirming your credit or debit card information.
        •   Providing your social security number.

     Managing Your Money in Multiple Currencies

     Holding currency other than U.S. dollars

     Your balance in your business account or in your Balance Account, if you have one, may
     be held in currencies other than U.S. dollars.

     If you hold a balance in your business account or in your Balance Account:

        •   We may allow you to convert the funds to balance in another currency. If you
            convert funds in your account, PayPal’s transaction exchange rate (including our
            currency conversion spread) will be used. We may, at our discretion, impose
            limits on the amount of money you can convert or the number of conversions you
            can perform.
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        •   You may only withdraw the funds in U.S. dollars. In order to withdraw funds in
            your account held in another currency you will have to convert the currency to
            U.S. dollars, or it will be converted for you at the time of your withdrawal.
            PayPal’s currency conversion rate, including our currency conversion spread, will
            be used.

     To receive money in a currency your account is not currently configured to accept, it may
     be necessary to create a balance in your business account or in your Balance Account, in
     that currency or convert the money into another currency. Certain currencies can only be
     received by converting the money into another currency that PayPal allows you to hold.
     If the money is converted, PayPal’s transaction exchange rate (including our currency
     conversion spread) will be used.

     You are responsible for all risks associated with maintaining multiple currencies in a
     Balance Account or business account. You may not manage or convert multiple
     currencies for speculative trading purposes, conversion arbitrage, conversion options, or
     any other activity that PayPal determines is primarily for the purpose of gaining or
     making money based on currency conversion rates. PayPal may hold, cancel, or reverse
     any transaction we determine to violate this policy.



     How we convert currency

     If PayPal converts currency, it will be completed at the transaction exchange rate we set
     for the relevant currency exchange. The transaction exchange rate is adjusted regularly
     and includes a currency conversion spread applied and retained by us on a base exchange
     rate to form the rate applicable to your conversion. The base exchange rate is based on
     rates within the wholesale currency markets on the conversion day or the prior Business
     Day; or, if required by law or regulation, set at the relevant government reference rate(s).

     If we cannot communicate with you at the time you authorize an in-person payment (for
     example, because you or the seller do not have connectivity at the time you authorized
     the transaction), and we perform a currency conversion for that payment, we will use the
     transaction exchange rate in effect at the time the payment transaction is processed by the
     seller.

     For some uses of your PayPal accounts, PayPal may determine currency conversion is
     necessary. The applicable currency conversion spread can be found on our Fees page
     under the heading Currency conversion.



     Currency conversion choices
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     When your payment is funded by a debit or credit card and PayPal determines a currency
     conversion is necessary, you consent to and authorize PayPal to convert the currency in
     place of your debit or credit card issuer. You may have the right to have your card issuer
     perform the currency conversion, if applicable for that card issuer and network. Currency
     preference selections may be presented to you in various forms, including setting the
     currency of your card, a choice of which currency is used for the transaction, whether
     PayPal or your card issuer performs the conversion, or which conversion rate is used for
     the transaction, and may be made available individually for each card and for each
     automatic payment agreement. If your card issuer converts the currency, your card issuer
     will determine the currency conversion rate and what fees they may charge.

     PayPal will always perform the conversion for transactions where your Balance Account
     balance, business account balance or linked bank account is the payment method.

     Account Statements

     You have the right to receive an account statement showing your PayPal account activity.
     You may view your PayPal account statement by logging into your PayPal account. If
     you have a Balance Account linked to your personal account, you will receive two
     statements: one showing all transactions in your personal account and an additional
     statement showing only transactions involving your Balance Account.


     PAYPAL USER AGREEMENT
     Sending Money and Buying
     Sending Money to a Friend or Family Member

     Sending money

     You can send money to a friend or family member using the send money feature in your
     PayPal account. You can send money to a friend or family member even if they don’t
     have an eligible PayPal account at the time you send them money, using their email
     address or mobile number in any currency that PayPal supports, and you can choose
     which payment method you want to use. If the person to whom you are sending money
     does not have an eligible PayPal account, they can claim it by opening an eligible PayPal
     account. If they don’t claim it, it will be refunded to you.

     We may, at our discretion, impose limits on the amount of money you can send,
     including money you send for purchases. You can view any sending limit by logging into
     your PayPal account.

     When you send money to a friend or family member who has an eligible PayPal account,
     one of two things may happen: they may accept or decline the money. If they decline to
     accept the money, the money (including any fees you were charged) will be refunded to:
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        •   The original payment method you used for the transaction, if you used a credit
            card, debit card, PayPal Credit, a Balance Account, or balance in a business
            account as the payment method, or
        •   The balance in your business account or the balance in your Balance Account
            linked to your personal account if you used a bank account as the payment
            method and we cannot refund it to your bank account.
        •   If you do not have a Balance Account linked to your personal account, the money
            will be waiting for you to claim by using one of the available transfer methods
            under Receiving Funds, Holding a Balance or Transferring Funds for personal
            accounts.

     Fees for Sending Money to Friends and Family

     The fees applicable to sending personal transactions can be found on our Consumer Fees
     page and will be disclosed to you in advance each time you initiate sending a personal
     transaction to a friend or family member. If you convert money in your Balance Account
     balance or in your business account balance from one currency to another before sending
     money, PayPal’s transaction exchange rate (including our currency conversion spread)
     will be used. If you use your credit card as the payment method when sending money,
     you may also be charged a cash-advance fee by your card issuer.

     If you send money to a friend or family member from a third party (non-PayPal) website
     or by using a third party’s product or service, then the third party will determine if the
     sender or recipient pays the fee. This will be disclosed to you by the third party before the
     payment is initiated.

     You can also use the send money feature in your PayPal account to pay for goods or
     services. You will not be charged any transaction fee for sending money to purchase
     goods or services as long as you send the money as a commercial transaction (often
     referred to as using the “send money for goods and services” feature in your PayPal
     account). In that case, the seller will pay a fee. You must not send money as a personal
     transaction (often referred to as using the “send money to a friend or family member”
     feature in your PayPal account) when you are paying for goods or services. Note that the
     “send money to a friend or family member” feature may not be available when sending
     money to a U.S. business account as such accounts are not eligible to receive personal
     transactions.

     Buying Something From, Donating to, or Returning Something to, a Seller
     Who Accepts PayPal

     How to buy something or make a donation

     You can buy something from a seller who accepts PayPal or make a donation, in any
     currency that the recipient accepts and that PayPal supports using any payment method
     linked to your PayPal account. This includes, for example:
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        •   Buying something at an online retailer’s website and selecting PayPal as your
            payment method at checkout.
        •   Sending money to a seller for goods or services.
        •   Using your PayPal account to buy something at a seller’s physical store using an
            electronic terminal, subject to certain limitations.
        •   Using your PayPal account to buy something at a seller’s physical store using
            your own mobile device and a QR code, subject to certain limitations.
        •   Making donations using PayPal.

     If the seller you are buying from sells goods or services and that seller does not already
     have a PayPal account, they can claim your payment by opening a PayPal account. If
     they don’t open a PayPal account within 30 days, your purchase will be refunded.

     In order to manage risk, PayPal may limit the payment methods available for a
     transaction when you buy something or make a donation. In addition, payment methods
     may be limited for certain sellers or recipients, including PayPal payments made through
     certain third-party websites or applications.

     When you authorize a payment to a seller who accepts PayPal, some sellers may take up
     to 30 days to complete the transaction. In these instances, your payment may appear as a
     pending order in your PayPal account. In that case, your authorization of the payment
     will remain valid until the seller completes the transaction (but no longer than 30 days). If
     you used a debit or credit card as the payment method, your debit or credit card issuer
     also may show a pending authorization for a period of time until they release the hold or
     receive a completed transaction. If your payment requires a currency conversion by us,
     PayPal’s transaction exchange rate (including a currency conversion spread) will be used,
     and may be the rate at the time the payment is processed.



     Fees

     When you buy something from a seller who accepts PayPal or make a donation, you
     don’t pay a fee to PayPal. If PayPal performs a currency conversion for your purchase or
     donation, PayPal’s transaction exchange rate (including our currency conversion spread)
     will be used. Your debit or credit card issuer may also charge you a separate fee for non-
     U.S. transactions.

     In addition you may be required to pay a fee to PayPal if you are making a purchase
     using PayPal Business Payments and the seller discloses to you that you, as the buyer,
     must pay the fee.



     Payment review
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     When PayPal identifies a potentially high-risk transaction, we review the transaction
     more closely before allowing it to proceed. When this happens, PayPal will place a hold
     on the transaction and notify the seller to delay shipping of the item. As a buyer, this may
     delay your receipt of the item you purchased. If we clear the transaction, we will notify
     the seller and direct them to ship the item. If we don’t clear the transaction, we will
     cancel it and return the funds to you, unless we are legally required to take other action.



     Automatic payments

     You can agree with a seller who accepts PayPal to use PayPal as the payment method for
     future purchases with that seller. This agreement is between you and the seller and allows
     you to pay the seller on a one-time, recurring or sporadic basis. Examples of automatic
     payments that can be arranged by you either with a seller or with PayPal include those
     that PayPal calls a “billing agreement,” "subscription," "recurring payment,” “reference
     transaction,” "preauthorized transfer" or "preapproved payment."

     If you have a personal account, you may cancel a recurring automatic payment up to 3
     Business Days before the date of the next scheduled payment from your account settings
     or by contacting us through the PayPal Help Center, or by calling PayPal at (888) 221-
     1161.

     Once your automatic payment is canceled, all future automatic payments under your
     agreement with that seller will be stopped. If you cancel an automatic payment, you may
     still owe the seller money for the purchase or have additional obligations to the seller for
     any goods or services that you receive but have not paid for.

     If you have given advance authorization, either to a seller or to PayPal, that permits a
     seller to take or receive payments from your PayPal account on a regularly recurring
     basis (for example, every month or otherwise on a routine billing cycle), and if such
     payments will vary in amount, you have the right to advance notice of the amount and
     date of the transfer from the seller at least 10 days before the transfer is made. If the seller
     provides the option, you may choose to receive this advance notice only when the amount
     of your automatic payment will fall outside a range established between you and the
     seller.

     If you have authorized an automatic payment and PayPal performs currency conversion
     for an automatic payment transaction, PayPal will use the transaction exchange rate
     (including PayPal’s currency conversion spread) in effect at the time the automatic
     payment transaction is processed.



     Refunds
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     When you buy something from a seller online using PayPal and the transaction is
     ultimately refunded, the money will typically be refunded to the original payment method
     you used for the transaction if you used a debit card, credit card, PayPal Credit, or a
     balance in your Balance Account or business account.

     If you used a bank account linked to a personal account as the payment method for the
     transaction, we will attempt to refund the money to your bank account. If we are unable
     to do so, we will refund the money to your linked Balance Account if you have one. If
     you do not have a Balance Account, the money will be waiting for you to claim by using
     one of the available transfer methods under Receiving Funds, Holding a Balance or
     Transferring Funds for personal accounts.

     If you used a bank account linked to a business account as the payment method for the
     transaction, we will attempt to refund the money to your bank account. If we are unable
     to do so, we will refund the money to your balance in your business account.

     For purchases you make in a seller’s store location that you paid for using your personal
     account and the transaction is ultimately refunded, the money will be refunded to your
     Balance Account if you have one. If you do not have a Balance Account, the money will
     be waiting for you to claim by using one of the available transfer methods under
     Receiving Funds, Holding a Balance or Transferring Funds for personal accounts.

     For purchases you make in a seller’s store location that you paid for using your business
     account and the transaction is ultimately refunded, the money will be refunded to your
     balance in your business account.

     If you used Pay with Rewards to fund your transaction, your refund will be processed
     back as a dollar amount: depending on your card agreement with your issuer, your issuer
     may or may not credit your purchase back to your reward balance.

     If PayPal performed currency conversion for your transaction and a refund is issued:

        •   Within 1 day of the date of the original payment, PayPal’s transaction exchange
            rate (including a currency conversion spread) used at the time of the original
            payment will apply.
        •   Beyond 1 day of the date of the original payment, PayPal’s transaction exchange
            rate (including a currency conversion spread) on the date of the refund will apply.

     Money will be refunded in the currency you paid; or if we are unable to refund in the
     currency you paid, in your primary holding currency; or we are unable to refund in your
     primary holding currency, then in U.S. dollars.

     Payment Method Used for My Transaction

     Selecting a preferred payment method
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     You can choose any of the payment methods in your PayPal account as your preferred
     payment method. You can select a preferred payment method in your account preferences
     on www.paypal.com or in the PayPal app. There may be times when your preferred
     payment method cannot be used, for example, if you select a credit card that is expired.

     You can set separate preferred payment methods for online transactions, in-store
     transactions, and each of your automatic payment agreements, as described below.

     If you have chosen a preferred payment method, it will be shown as the primary method
     of payment.

     If no preferred payment method, it’s still your choice.

     The availability of certain payment methods may be limited based on that particular seller
     or the third-party website you are using to complete the transaction.

     If you have not selected a preferred payment method, or your preferred payment method
     is unavailable, we will show you available payment methods, including the payment
     method you used most often or most recently, at the time of transaction. You can also
     click on the “Manage” link to see all of your available payment methods, or add a new
     one, and select a payment method during the transaction.



     Backup payment method

     Certain one-time online transactions may require that a backup funding method be used
     in the event that your selected or preferred payment method is unavailable. In those
     instances, the backup funding method may be displayed to you on your transaction
     review page, before you complete the transaction. Note that this only applies for one-
     time, online transactions, and not for in-store or automatic payments. If PayPal
     determines currency conversion is necessary for a transaction that also requires a backup
     payment method, you may not be able to separately choose whether PayPal or your card
     issuer performs the currency conversion on your backup payment method.



     Sending money to friends and family

     When you send personal transactions to friends and family within the U.S. using balance
     in your Balance Account linked to your personal account, the balance in your business
     account, or your bank account, we waive all fees, so we always show you these payment
     options first, even if you have a set preferred payment method for your online purchases.
     Remember, you always have the choice to select any payment method in your PayPal
     account by clicking the “Change” link on the Send Money page. If you select a payment
     method with a fee, we will always show you the fee before you send money.
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     Automatic payments

     Some sellers allow you to store PayPal as the way you pay when making purchases on
     their site, so you can check out faster. Often, this entails creating an agreement with the
     seller that permits them to request that we charge your PayPal account each time you
     make a purchase. To help minimize disruptions in your automatic payments, we may
     update your Payment Method information; see Link or Unlink a Payment Method.

     When you first set up an automatic payment agreement, you may have the option to set
     up a preferred payment method for such agreement. You can review, set, or change a
     preferred payment method for an automatic payment agreement in your account settings
     on paypal.com.

     Your preferred payment method for an automatic payment agreement will be used for
     transactions with that seller. If you have available balance in a linked Balance Account,
     that balance may be used before your preferred payment method.

     If you have not set a preferred payment method for an automatic payment agreement, or
     if your preferred payment method for an automatic payment agreement is unavailable (for
     example, because it is expired or has insufficient funds) the payment method used will be
     in the following order, if applicable: 1. Balance Account (if one is linked to your personal
     account) or balance in your business account (if we’ve been able to verify the required
     identifying information you provide to us); 2. Bank account; 3. PayPal co-branded debit
     card; 4. PayPal co-branded credit card; 5. Debit card; 6. Credit card; and 7. E-check. This
     is also the order of payment methods that will be used if a previously selected payment
     method to be used in a seller agreement is unavailable.



     Bank account transfers

     When you use your bank account as a payment method, you are allowing PayPal to
     initiate a transfer from your bank account to the recipient. For these transactions, PayPal
     will make electronic transfers from your bank account in the amount you specify. You
     authorize PayPal to try this transfer again if the initial transfer is rejected by your bank
     for any reason.

     If you use your PayPal account to pay for an item and you select your bank account as the
     funding method for the transaction, remember that your PayPal account is issued to you
     by PayPal and not your bank. The terms, benefits, and protections associated with your
     PayPal account may vary from those that apply to your bank account. If you use your
     PayPal account to make a purchase that exceeds the balance in your linked bank account,
     you could incur overdraft fees, even if you chose not to allow overdrafts with your bank.
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     Similarly, the liability limits applicable to your PayPal account may differ from those
     applicable to your bank account.



     E-check

     E-check is a payment method where you use your bank account as your payment method,
     and the payment is not received by the recipient until the transaction is processed from
     the bank. This process usually takes 3-5 Business Days, but this amount of time will
     increase if the payment is sent from a bank account located outside the United States.



     Pay with Rewards

     PayPal may allow you to redeem rewards associated with your eligible card(s) when
     making a purchase with your PayPal account through PayPal’s Pay with Rewards
     program. PayPal may share with and receive information from your issuer about your
     issuer accounts to complete the redemption of your rewards when using PayPal’s Pay
     with Rewards program. The exchange of this information is necessary to complete the
     purchase when you select the Pay with Rewards redemption option.

     All Pay with Rewards redemptions are subject to the terms of your card agreement with
     your card issuer. Pay with Rewards is only available for eligible purchases with certain
     merchants, and PayPal or your issuer may limit, suspend, or terminate your ability to
     redeem rewards at any time in accordance with this user agreement and your card
     agreement. Your issuer determines the value of rewards redeemed through PayPal and
     available redemption methods (e.g., to pay for your purchase or for a statement credit).

     There may be a delay between checkout and processing of your payment. Only rewards
     available upon processing of your payment will be used. Because your reward balance
     and/or transaction balance may change, whenever you request to redeem rewards for a
     purchase you also authorize PayPal to charge up to the full payment amount to your
     associated card if that happens. For more information on redeeming rewards and how it
     works, please see About Payment Methods.



     Debit card processing

     PayPal will process your debit or prepaid card funded transactions through either the
     ATM debit network or the Visa, MasterCard or Discover network. If we process your
     debit or prepaid card through an ATM debit network, we may provide you with the
     opportunity to switch to a Visa, MasterCard or Discover network by changing your
     preferences for that debit or prepaid card through your PayPal account profile.
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     Loyalty Cards

     If you use the PayPal application on your mobile phone, you may store loyalty card
     numbers or bar codes, where applicable, for certain sellers in your PayPal account. When
     you store your loyalty card numbers or bar codes in your PayPal account, you will earn
     any rewards, subject to the seller’s loyalty card terms and conditions, at the time you
     make your payment to the merchant by presenting the stored loyalty card number or bar
     code to the seller at the point of sale. It is your responsibility to make sure you have
     entered your loyalty card information correctly and that you update it as necessary. It is
     also your responsibility to ensure that you are receiving the rewards to which you are
     entitled. PayPal is not responsible for managing your loyalty card account by offering this
     service and any questions about your loyalty card or associated rewards program should
     be directed to the seller who offers the card.

     PayPal’s Purchase Protection Program

     When you buy something from a seller who accepts PayPal, you may be eligible for a
     refund under PayPal’s Purchase Protection program. When applicable, PayPal’s Purchase
     Protection program may result in coverage for the full purchase price of the item plus the
     original shipping costs you paid, if any. PayPal determines, in its sole discretion, whether
     your claim is eligible for the PayPal's Purchase Protection program.

     The program terms and conditions are set out in PayPal’s Purchase Protection program
     page and form part of this user agreement.


     PAYPAL USER AGREEMENT
     Selling and Accepting Payments
     Accepting Payments

     Receiving payments

     If you use your PayPal account to receive payments for the sale of goods or services or to
     receive donations, you must:

        •   Pay any applicable fees for receiving the funds.
        •   Not ask your buyer to send you money as a personal transaction (often referred to
            as using the “send money to a friend or family member” feature). If you do so,
            PayPal may remove your PayPal account’s ability to accept payments from
            friends or family members.

     By integrating into your online checkout/platform any functionality intended to enable a
     payer without a PayPal account to send a payment to your PayPal account, you agree to
     all further terms of use of that functionality which PayPal will make available to you on
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     any page on the PayPal or Braintree website (including any page for developers and our
     Legal Agreements page) or online platform. Such further terms include the PayPal
     Alternative Payment Methods Agreement.



     Receiving donation payments

     If you use your PayPal account to accept donations, including using the Generosity
     Network, the Donate Button, or PayPal Checkout for Donations, you must:

        •   Pay any applicable fees for receiving the funds.
        •   Not use Generosity Network, the Donate Button, PayPal Checkout for Donations,
            or any other donation services for the sale of goods and services. If you do so,
            PayPal may remove your PayPal account's ability to use those services or
            otherwise receive donations.



     No surcharges

     You agree that you will not impose a surcharge or any other fee for accepting PayPal as a
     payment method. You may charge a handling fee in connection with the sale of goods or
     services as long as the handling fee does not operate as a surcharge and is not higher than
     the handling fee you charge for non-PayPal transactions.



     Presentation of PayPal and Venmo

     You must treat PayPal and/or Venmo payment methods or marks at least on par with any
     other payment methods or marks offered or displayed at your points of sale where PayPal
     or Venmo branded services are integrated, including your websites or mobile
     applications. This includes at least equal or better: logo placement, position within any
     point of sale, and treatment in terms of payment flow, terms, conditions, restrictions, and
     fees, in each case as compared to other marks and payment methods at your points of
     sale. Further, you must not present any payment method or mark upstream (or at an
     earlier point in the checkout experience) from the presentment of any of PayPal or
     Venmo services or marks.

     In representations to your customers or in public communications, you must not
     mischaracterize any PayPal or Venmo services or exhibit a preference for other payment
     methods over PayPal or Venmo services. Within all of your points of sale, you agree not
     to try to dissuade or inhibit your customers from using PayPal or Venmo services or
     encourage the customer to use an alternate payment method. If you enable your
     customers to pay you with PayPal or Venmo, whenever you display or exhibit the
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     payment methods that you accept (either within any point of sale or in your marketing
     materials, advertising, and other customer communications) you agree to display the
     PayPal or Venmo services payment marks at least as prominently, and in at least as
     positive a manner, as you do for all other payment methods.



     Taxes and information reporting

     Our fees do not include any taxes, levies, duties or similar governmental assessments of
     any nature, including, for example, value-added, sales, use or withholding taxes,
     assessable by any jurisdiction (collectively, “taxes”). It is your responsibility to determine
     what, if any, taxes apply to the payments you make or receive, and it is solely your
     responsibility to assess, collect, report and remit the correct taxes to the appropriate
     authority. PayPal is not responsible for determining whether any taxes apply to your
     transaction, or for calculating, collecting, reporting or remitting taxes arising from any
     transaction.

     You acknowledge that we may make certain reports to tax authorities regarding
     transactions that we process. For example, PayPal is required to report to the Internal
     Revenue Service the total amount of payments for goods and services you receive each
     calendar year into all of your PayPal accounts associated with the same tax identification
     number once you receive more than (i) $20,000 in payments for good and services and
     (ii) process more than 200 transactions involving goods or services through those PayPal
     accounts in the same calendar year (the “Reporting Threshold”). After December 31,
     2021, the Reporting Threshold will be reduced to $600 in aggregate payments for goods
     or services, with no minimum transaction requirement. PayPal is also required to report
     payments for goods and services to applicable state and local governments.

     PayPal’s IRS, state, and local reporting obligations are not limited to payments you
     receive for goods and services transactions. If you receive other types of income (for
     example, proceeds from the sale of cryptocurrency), these are reportable payments by the
     aforementioned tax authorities, and PayPal will send you any necessary forms 1099s or
     1042-s. These forms will also be transmitted to the relevant tax authority.



     Taxpayer Identification Number and Withholding Tax

     PayPal may request that you provide your tax identification number and/or a U.S. tax
     form such as W-9 or W-8. If you do not provide PayPal the requested information and
     documentation, you understand and agree that you may be subject to account limitations
     and federal and state withholding tax at the applicable rates on all US source income
     payments received. PayPal will send all withholding taxes to the appropriate taxing
     authorities and cannot refund those amounts.
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     Your customer service information, refunds and returns policy, and privacy policy

     You must publish customer service information with clear instructions on how your
     customers can contact you. Such instructions must include at least: (1) one active
     customer service email address or active customer service URL to file tickets for
     assistance and/or (2) one active customer service telephone number. Such information
     must be readily accessible for review by your customers.

     You must publish a refunds and returns policy.

     You must publish a privacy policy, where required by law.



     Payment review

     PayPal reviews certain potentially high-risk transactions. If PayPal determines, in its sole
     discretion, that a transaction is high-risk, we place a hold on the payment and provide
     notice to you to delay shipping of the item. PayPal will conduct a review and either
     complete or cancel the payment. If the payment is completed, PayPal will provide notice
     to you to ship the item. Otherwise, PayPal will cancel the payment and the funds will be
     returned to the buyer, unless we are legally required to take other action. All payments
     that complete this payment review will be eligible for PayPal’s Seller Protection program
     if they meet PayPal’s Seller Protection program requirements. We will notify you about
     payment reviews by email and/or through your PayPal account.



     In-store payments and QR code transactions

     If you accept PayPal payments at your physical store, you must communicate the total
     amount of the transaction to the customer before it takes place. You may charge your
     customer’s account only for transactions that they have authorized. You must also
     provide customers with a physical receipt if they request one. You agree that any
     transaction that you make shall have an accurate and true description of the goods and
     services being purchased.

     If you use a QR code to accept payments in your physical store, you must use a QR code
     intended for goods and services transactions. You must also not use QR codes intended
     for in-person transactions as a method of accepting payment for goods and services
     transactions occurring online. For any buyer claims related to QR code transactions, you
     may be required to provide us with alternative evidence of delivery or such additional
     documentation or information relating to the transaction.
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     Marketplace sellers

     If you’re a seller on a marketplace or through a third-party application where PayPal is
     offered, you must comply with any rules that apply to the marketplace’s or the third-party
     application’s buyer protection program for sales you make through that forum. Any such
     protections may require you to take certain actions and may impact how claims are
     processed.



     PayPal Giving Fund

     If you are a charity and hold a PayPal account, you may be eligible to participate in
     PayPal Giving Fund programs. PayPal Giving Fund is a Donor Advised Fund (DAF)
     recognized by the Internal Revenue Service (IRS) under Section 501(c)(3) of the Code as
     a tax-exempt public charity (Federal Tax ID: XX-XXXXXXX). If you meet the eligibility
     requirements in the Nonprofit Certification Policy and are either a “Public Charity”
     under Section 509(a) of the Code or a "Private Operating Foundation" under IRS
     regulations, you may be automatically enrolled with PayPal Giving Fund upon
     acceptance of this user agreement. You will receive an email from us confirming your
     enrollment. Your relationship with PayPal Giving Fund will be governed by the
     Nonprofit User Agreement, including receiving email communications from PayPal
     Giving Fund about its current and future partners about its programs. You can opt out of
     email communications at any time in your PayPal Giving Fund profile. If you don’t
     want to be enrolled or receive donations from PayPal Giving Fund, you can opt-out at
     any time by contacting us. For more information, please see PayPal Giving Fund’s
     Policies.



     Card not present transactions

     Whenever a buyer uses a debit or credit card as the payment method for a transaction
     using their account to buy something from you as a seller, the transaction will be
     processed as a “card not present” transaction, even if the buyer is at your store location.



     Accepting preauthorized payments

     As a seller, you can accept payments from a buyer’s account through preauthorized
     transfers either on a one-time, regular or sporadic basis. This type of transaction is
     sometimes called a “billing agreement,” "subscription," "recurring payment,” “reference
     transaction,” "pre-approved payment" or "automatic payment".
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                          If you receive preauthorized payments from buyers:
                        You must:                                  You must not:
      Get each buyer’s prior authorization for
      the amount, frequency, and duration of
      any such payment.
      Provide a simple and easily accessible
      online cancelation procedure, if buyers
      sign up for preauthorized payments
      online.
      Provide buyers the ability to stop any such Restart future payments without the buyer’s
      payment up to 3 Business Days before the written authorization, if a buyer has stopped
      date scheduled for payment.                  or canceled a preauthorized payment.
      Notify the buyer at least 10 days in
      advance of the amount and date of each
      preauthorized payment if the
      preauthorized payment will vary from the
      preauthorized amount or (at the buyer’s
      option) any payment that is in an amount
      that falls outside of the pre-determined
      range.

     Transaction Fees for Online and In-Store Payments

     Your PayPal transaction fees depend on:

         •   the country of the buyer’s account or the currency of their card;
         •   whether you are registered as a charitable organization and have active 501(c)(3)
             status. Your 501(c)(3) status must be documented with PayPal to receive the rates
             applicable to charitable organizations, and those rates will apply only after you
             document your status with us.



     Standard transaction fees

     The fees you pay when selling goods or services or receiving donations, and the buyer
     pays using their PayPal account (or using another authorized wallet), can be found on the
     Standard Transaction Fees table, with the fees applicable to charitable organizations
     founds on the Standard Transaction Fees for Charitable Organizations table for the
     charitable fees. Please note that:

         •   We may revise the fees applicable to future transactions that you process using
             PayPal, subject to the applicable notice requirements set forth herein.
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        •   If you accept payments using a PayPal product (like PayPal Here or PayPal
            Payments Pro), the fees applicable to those products will apply to your
            transactions.



     Micropayments

     You may apply to receive Micropayments pricing for certain lower value transactions
     processed through your PayPal account.

        •   If your PayPal account has been approved for Dynamic Micropayments (also
            known as Dynamic Pricing), then PayPal will automatically apply either the
            Micropayments rate or the applicable higher value transaction rate to each
            transaction processed through your account based on whichever rate results in the
            lowest fees to you for that transaction.
        •   If your PayPal account has previously been approved for Static Micropayments,
            then all such transactions processed through your account will receive the
            Micropayments rate, regardless of the transaction amount. If you have multiple
            PayPal accounts, but only some of them have been approved for Static
            Micropayments, then you are responsible for routing your transactions through
            the appropriate account to receive the desired pricing. Once a transaction is
            processed, PayPal will have no responsibility to re-route the transaction through a
            different account or apply different pricing. PayPal may, at its sole discretion,
            unilaterally convert your account from a Static Micropayments setup to the
            Dynamic Micropayments setup. PayPal has no obligation to offer the Static
            Micropayments setup as an alternative to the Dynamic Micropayments setup.

     Not all payment types are eligible for Micropayments pricing.



     PayPal Payouts

     If you are using PayPal Payouts (formerly Mass Pay), the PayPal Payouts Terms and
     Conditions will apply.



     Your responsibility to notify PayPal of pricing or fee errors

     Once you have access to any account statement(s) or other account activity information
     made available to you by PayPal with respect to your business account(s), you will have
     sixty (60) days to notify PayPal in writing of any errors or discrepancies with respect to
     the pricing or other fees applied by PayPal. If you do not notify PayPal within such
     timeframe, you accept such information as accurate, and PayPal shall have no obligation
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     to make any corrections, unless otherwise required by applicable law. For the purposes of
     this provision, such pricing or fee errors or discrepancies are different than Unauthorized
     Transactions and other electronic transfer Errors which are each subject to different
     notification timeframes as set forth in this user agreement.

     Refunds, Reversals and Chargebacks

     General information

     If you receive a payment for selling goods or services that is later refunded or invalidated
     for any reason, you are responsible for the full amount of the payment sent to you plus
     any fees (including any applicable chargeback fee or Dispute fee). Whenever a
     transaction is refunded or otherwise reversed, PayPal will refund or reverse the
     transaction from your PayPal account. If a currency conversion is necessary (for example
     if the balance in your Balance Account or your business account for a particular currency
     is insufficient to cover the amount of a refund or reversal, or if the buyer paid in a
     different currency), PayPal will perform a currency conversion in order to refund or
     reverse the transaction. PayPal’s transaction exchange rate (including our currency
     conversion spread) at the time the refund or reversal is processed will be used.

     If you refund a transaction, we’ll retain the fees you paid as set out on our Fees page.



     Payments that are invalidated and reversed

     Payments to you may be invalidated and reversed by PayPal if:

        •   You lose a PayPal Purchase Protection claim submitted to us by a buyer,
            including as a result of your failure to respond in a timely manner.
        •   You lose a Venmo Protected Purchase Program claim.
        •   Your buyer pursues a chargeback related to a card-funded transaction and the
            transaction is not eligible for PayPal’s Seller Protection program. The card issuer,
            not PayPal, determines whether a buyer is successful when they pursue a
            chargeback related to a card-funded transaction.
        •   You do not fulfill the transaction as promised or you cannot provide proof of
            shipment or proof of delivery when required.
        •   Our investigation of a bank reversal made by a buyer or the buyer’s bank finds
            that the transaction was fraudulent.
        •   PayPal sent the payment to you in error.
        •   The payment was unauthorized
        •   You received the payment for activities that violated this user agreement or any
            other agreement between you and PayPal.

     When you receive a payment, you are liable to PayPal for the full amount of the payment
     sent to you plus any fees if the payment is later invalidated or reversed for any reason. If
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     the buyer paid in another currency, the full amount of that payment may be calculated in
     that currency, using the PayPal transaction exchange rate (including our currency
     conversion spread) that applies at the time the refund or reversal is processed. If the
     balance in your Balance Account or business account doesn’t cover the payment amount
     due plus the fees, we may use any of the payment methods linked to your PayPal account
     to cover the amount due. If the payment methods linked to your PayPal account don’t
     cover the amount due, this will result in a negative balance. A negative balance represents
     an amount that you owe to us, and, in this situation, you must immediately add funds to
     your balance to resolve it. If you don’t, PayPal may:

        •   engage in collection efforts to recover the amount due from you;
        •   take any or all action as outlined under Amounts owed to PayPal; or
        •   place a limitation or take other action on your PayPal account as outlined under
            Restricted Activities and Holds.



     Dispute fees

     PayPal will charge a Dispute fee to sellers for facilitating the online dispute resolution
     process for transactions that are processed either through a buyer’s PayPal account or
     through a PayPal Guest Checkout. The Dispute fee applies when the buyer pursues a
     claim directly with PayPal, a chargeback with their card issuer, or a reversal with their
     bank. The Dispute fee will be charged at either the Standard Dispute fee rate or the
     High Volume Dispute fee rate. The Dispute fee will be charged in the currency which
     you selected for the original transaction listing. If the transaction was in a currency not
     listed in the Dispute fee table, then the fee charged will be in your primary holding
     currency. The Dispute fee will be deducted from your PayPal account after the claim is
     decided.

     The Dispute fee amount will be determined when the dispute case is created. The fee is
     based on the ratio of all Item Not Received and Significantly Not as Described claims
     you receive compared to the total amount of your sales for the previous three calendar
     months. Your total claims include all Item Not Received and Significantly Not as
     Described claims that are filed either directly with and escalated to PayPal or with the
     buyer’s card issuer or bank. Your total claims do not include claims for Unauthorized
     Transactions. For example, for the month of September, your dispute ratio will be
     calculated by considering your total claims to sales ratio over June, July, and August. The
     claims ratio for September will determine the dispute fee for all claims filed in October.
     Your total claims include all claims filed directly with and escalated to PayPal, except
     claims for Unauthorized Transactions; and all chargebacks from the buyer’s card issuer
     or reversals from the buyer’s bank.

     If your dispute ratio is 1.5% or more and you had more than 100 sales transactions in the
     previous three full calendar months, you will be charged the High Volume Dispute fee
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     for each dispute. Otherwise, you will be charged the Standard Dispute fee for each
     dispute.

     You will not be charged a Standard Dispute fee for disputes that are:

        •   Inquiries in PayPal’s Resolution Center that are not escalated to a claim with
            PayPal.
        •   Resolved directly between you and the buyer and not escalated to a claim with
            PayPal.
        •   Filed by the buyer directly with PayPal as an Unauthorized Transaction.
        •   Deemed by PayPal in its sole discretion to have met all the requirements under
            PayPal’s Seller Protection program.
        •   Claims with a transaction value that is less than twice the amount of a Standard
            Dispute fee.
        •   Decided in your favor by PayPal or your issuer.

     You will not be charged a High Volume Dispute fee for disputes that are:

        •   Inquiries in PayPal’s Resolution Center and not escalated to a claim with PayPal.
        •   Resolved directly between you and the buyer and not escalated to a claim with
            PayPal.
        •   Filed by the buyer directly with PayPal as an Unauthorized Transaction.

     Sellers charged High Volume Dispute fees may be required to provide a remediation
     plan which includes an explanation of the cause of the increased dispute rate, the actions
     taken to reduce disputes, and the timelines for those actions.

     Disputes listed above may be excluded from being charged a Standard Dispute fee or a
     High Volume Dispute fee, but the claim itself may still be included in the overall
     calculation of your dispute ratio.

     If you engage in a Restricted Activity, PayPal may charge the High Volume Dispute
     fees for all current and future disputes, irrespective of your dispute ratio or sales volumes,
     given PayPal’s increased involvement as a result of such Restricted Activity.



     Chargeback fees

     For transactions that are not processed either through a buyer’s PayPal account or
     through a PayPal Guest Checkout, and where the buyer pursues a chargeback for the
     transaction with their card issuer, then PayPal will charge you a Chargeback fee for
     facilitating the chargeback process. This fee with apply regardless of whether the buyer is
     successful in pursuing the chargeback with the card issuer.
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     The applicable chargeback fee will be deducted from your PayPal account. The
     chargeback fee is applied as specified in the Chargeback Fee table and will be charged in
     the currency which you selected for the original transaction listing. If the transaction was
     in a currency not listed in the Chargeback fee table, the fee charged will be in your
     primary holding currency.



     Impact of various purchase protection processes on sellers

     You should read and understand PayPal’s Purchase Protection program, Venmo’s
     Protected Purchase Program, and if you sell goods and services to buyers with PayPal
     accounts in countries other than your own, you also should be familiar with the purchase
     protection available to buyers in each of those countries. Buyers’ rights under these
     programs may impact you as a seller. You can find information about PayPal’s protection
     programs on the Legal Agreements page by selecting your buyer’s location at the top of
     the page and referring to the corresponding user agreement. You can find information on
     Venmo’s Protected Purchase Program in Venmo’s user agreement.

     If you lose a claim under PayPal’s Purchase Protection program in any country, or under
     Venmo’s Protected Purchase Program:

        •   You must forfeit the full purchase price of the item plus the original shipping cost.
            This applies when you are the primary seller or a secondary seller of goods or
            services. For example, event ticketing agents or online travel agents will forfeit
            the full purchase amount paid by the buyer. In some cases, you may not receive
            the item back.
        •   The Purchase Protection claim will only be considered fully resolved if:
                 o the refund to a buyer is processed through PayPal or Venmo, as
                     applicable, or
                 o you provide evidence acceptable to PayPal, in its sole discretion, that the
                     buyer agreed to the alternative resolution provided.
        •   You will not receive a refund of the PayPal fees that you paid in connection with
            the sale.
        •   If the claim was that the item received was Significantly Not as Described, you
            may not receive the item back, or you may be required to accept the item back
            and pay for the return shipping costs.
        •   If the claim was that the item received was Significantly Not as Described and
            related to an item you sold that is counterfeit, you will be required to provide a
            full refund to the buyer and you may not receive the item back.

     PayPal’s Seller Protection Program

     What’s eligible
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     If you sell a good or service to a buyer, you may be eligible for PayPal’s Seller Protection
     program. When it applies, PayPal’s Seller Protection program may result in you retaining
     the full purchase amount. PayPal determines whether your claim is eligible for PayPal’s
     Seller Protection program.

     The program terms and conditions are set out in PayPal’s Seller Protection program page
     and form part of this user agreement.

     PayPal Advertising Program

     The PayPal Advertising Program enables you to promote PayPal services, including
     PayPal’s consumer credit products, through PayPal-hosted banners and buttons on your
     websites or in your customer emails. PayPal may change the content provided through
     this program at any time for any reason, and PayPal may choose to discontinue the
     PayPal Advertising Program at any time.

                                 If you participate in this program:
      You must:                  You must not:
      Comply with all
      integration requirements
      provided by PayPal or
                                  Modify any PayPal content
      each authorized third
                                  or its presentation in any
      party, including those with
                                  way.
      respect to accurate
      presentation of all PayPal
      related information.
      Only use the code for
                                  Copy PayPal content from
      PayPal content as
                                  other websites.
      provided by PayPal.
      Use the PayPal content in
      its entirety with all the   Create, display or host your
      links and language          own PayPal content, unless
      provided by PayPal and authorized by PayPal in
      without modification by writing.
      you.
      Immediately remove all
      PayPal content from your
      sites and customer          Post PayPal content on
      communications and/or       social media networks or
      cooperate with PayPal or platforms or anywhere else,
      your third-party provider unless authorized by PayPal
      to do so, if you stop using in writing.
      a qualifying PayPal
      payments solution.
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      Keep all PayPal content
      current and up to date,
      including by cooperating
      with PayPal to manually
      update the PayPal content Display any non-current
      as it appears on your sites PayPal content.
      or in your
      communications and
      repair or reinstall the code
      to facilitate future updates.
      Comply with applicable
      advertising laws,
      regulations and standards
      issued by governmental
      authorities or advertising
      self-regulatory bodies
      including but not limited
      to the digital advertising
      standards issued by the
      Network Advertising
      Initiative.

     If you promote the use of PayPal’s consumer credit products on your sites and customer
     communications through the PayPal Advertising Program, there are additional
     requirements that apply. If you receive customer inquiries relating to:

         •   PayPal Credit, then you must direct the customer to PayPal Credit Customer
             Service at (844) 373-4961.
         •   PayPal, then you must direct the customer to PayPal Customer Service.

     You are responsible for any damages suffered by PayPal or any third parties resulting
     from your failure to follow the rules of the PayPal Advertising Program, and if you
     violate these rules, PayPal may modify or remove the PayPal content you are presenting
     or require you to remove or modify it immediately. If you fail to follow these rules, we
     may limit or close your PayPal account.


     PAYPAL USER AGREEMENT
     Restricted Activities, Holds, and Liquidated Damages
     Restricted Activities
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     In connection with your use of our websites, your PayPal account, the PayPal services, or
     in the course of your interactions with PayPal, other PayPal customers, or third parties,
     you must not:

        •   Breach this user agreement, the PayPal Acceptable Use Policy, the Commercial
            Entity Agreements (if they apply to you), the PayPal Balance Terms and
            Conditions (if it applies to you), or any other agreement between you and PayPal;

        •   Violate any law, statute, ordinance, or regulation (for example, those governing
            financial services, consumer protections, unfair competition, anti-discrimination
            or false advertising);

        •   Infringe PayPal’s or any third party’s copyright, patent, trademark, trade secret or
            other intellectual property rights, or rights of publicity or privacy;
        •   Sell counterfeit goods;

        •   Act in a manner that is defamatory, trade libelous, threatening or harassing;
        •   Provide false, inaccurate or misleading information;

        •   Send or receive what we reasonably believe to be potentially fraudulent funds;

        •   Refuse to cooperate in an investigation or provide confirmation of your identity or
            any information you provide to us;

        •   Attempt to double dip during the course of a dispute by receiving or attempting to
            receive funds from both PayPal and the seller, bank or card issuer for the same
            transaction;

        •   Control an account that is linked to another account that has engaged in any of
            these restricted activities;

        •   Conduct your business or use the PayPal services in a manner that results in or
            may result in;
               o complaints;
               o requests by buyers (either filed with us or card issuers) to invalidate
                   payments made to you;
               o fees, fines, penalties or other liability or losses to PayPal, other PayPal
                   customers, third parties or you;

        •   Use your PayPal account or the PayPal services in a manner that PayPal, Visa,
            MasterCard, American Express, Discover or any other electronic funds transfer
            network reasonably believes to be an abuse of the card system or a violation of
            card association or network rules;

        •   Allow your PayPal account to have a negative balance;
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        •   Provide yourself a cash advance from your credit card (or help others to do so);

        •   Access the PayPal services from a country that is not included on PayPal’s
            permitted countries list;
        •   Take any action that imposes an unreasonable or disproportionately large load on
            our websites, software, systems (including any networks and servers used to
            provide any of the PayPal services) operated by us or on our behalf or the PayPal
            services;
        •   Facilitate any viruses, trojan horses, malware, worms or other computer
            programming routines that attempts to or may damage, disrupt, corrupt, misuse,
            detrimentally interfere with, surreptitiously intercept or expropriate, or gain
            unauthorized access to any system, data, information or PayPal services;
        •   Use an anonymizing proxy; use any robot, spider, other automatic device, or
            manual process to monitor or copy our websites without our prior written
            permission; or use any device, software or routine to bypass our robot exclusion
            headers;
        •   Interfere or disrupt or attempt to interfere with or disrupt our websites, software,
            systems (including any networks and servers used to provide any of the PayPal
            services) operated by us or on our behalf, any of the PayPal services or other
            users’ use of any of the PayPal services;

        •   Take any action that may cause us to lose any of the services from our Internet
            service providers, payment processors, or other suppliers or service providers;

        •   Use the PayPal services to test credit card behaviors;

        •   Circumvent any PayPal policy or determinations about your PayPal account such
            as temporary or indefinite suspensions or other account holds, limitations or
            restrictions, including, but not limited to, engaging in the following actions:
            attempting to open new or additional PayPal account(s) when an account has a
            negative balance or has been restricted, suspended or otherwise limited; opening
            new or additional PayPal accounts using information that is not your own (e.g.,
            name, address, email address, etc.); or using someone else’s PayPal account; or

        •   Harass and/or threaten our employees, agents, or other users.
        •   Abuse of our online dispute resolution process and/or PayPal’s Purchase
            Protection program and/or PayPal’s Seller Protection program.

     Actions We May Take if You Engage in Any Restricted Activities

     If we believe that you’ve engaged in any of these activities, we may take a number of
     actions to protect PayPal, its customers and others at any time in our sole discretion. The
     actions we may take include, but are not limited to, the following:
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        •   Terminating this user agreement, limiting your PayPal account (and any linked
            Balance Account), and/or closing or suspending your PayPal account (and any
            linked Balance Account), immediately and without penalty to us;
        •   Refusing to provide the PayPal services to you in the future;
        •   Limiting your access to our websites, software, systems (including any networks
            and servers used to provide any of the PayPal services) operated by us or on our
            behalf, your PayPal account or any of the PayPal services, including limiting your
            ability to pay or send money with any of the payment methods linked to your
            PayPal account, restricting your ability to send money or make withdrawals;
        •   Holding the balance in your Balance Account, the balance in your business
            account, or any money waiting to be claimed through your personal account if
            you do not have a Balance Account linked to your personal account, for up to 180
            days if reasonably needed to protect against the risk of liability or if you have
            violated our Acceptable Use Policy;
        •   Suspending your eligibility for PayPal’s Purchase Protection program and/or
            PayPal’s Seller Protection program;
                 o If your eligibility is suspended, amounts you retained under PayPal’s
                     Seller Protection program in the 30 calendar days prior to your suspension
                     may be recovered as amounts owed to PayPal. These amounts constitute
                     actual damages suffered by PayPal as a result of your actions (i.e.,
                     payments that you retained at PayPal’s expense that you were not
                     otherwise entitled to), and we may debit your PayPal account accordingly.
        •   Charging the High Volume Dispute fees for all current and future disputes
            irrespective of your dispute ratio or sales volumes, given PayPal’s increased
            involvement as a result of such Restricted Activity;
        •   Contacting buyers who have purchased goods or services from you using PayPal,
            your bank or credit card issuer, other impacted third parties, or law enforcement
            about your actions;
        •   Updating inaccurate information you provided us;
        •   Taking legal action against you;
        •   If you’ve violated our Acceptable Use Policy, then you’re also responsible for
            damages to PayPal caused by your violation of this policy; or
        •   If you are a seller and receive funds for transactions that violate the Acceptable
            Use Policy, then in addition to being subject to the above actions you will be
            liable to PayPal for the amount of PayPal’s damages caused by your violation of
            the Acceptable Use Policy. You acknowledge and agree that $2,500.00 U.S.
            dollars per violation of the Acceptable Use Policy is presently a reasonable
            minimum estimate of PayPal’s actual damages - including, but not limited to,
            internal administrative costs incurred by PayPal to monitor and track violations,
            damage to PayPal’s brand and reputation, and penalties imposed upon PayPal by
            its business partners resulting from a user’s violation - considering all currently
            existing circumstances, including the relationship of the sum to the range of harm
            to PayPal that reasonably could be anticipated because, due to the nature of the
            violations of the Acceptable Use Policy, actual damages would be impractical or
            extremely difficult to calculate. PayPal may deduct such damages directly from
            any existing balance in any PayPal account you control.
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     If we close your PayPal account or terminate your use of the PayPal services for any
     reason, we’ll provide you with notice of our actions and make any unrestricted funds held
     in the balance of your Balance Account linked to your personal account or in the balance
     of your business account, or any money waiting to be claimed through your personal
     account if you do not have a Balance Account linked to your personal account, available
     for withdrawal.

     You are responsible for all reversals, chargebacks, claims, fees, fines, penalties and other
     liability incurred by PayPal, any PayPal customer, or a third party caused by or arising
     out of your breach of this agreement, and/or your use of the PayPal services.

     Holds, Limitations, and Reserves

     What are holds, limitations and reserves

     Under certain circumstances, in order to protect PayPal and the security and integrity of
     the network of buyers and sellers that use the PayPal services, PayPal may take account-
     level or transaction-level actions. Unless otherwise noted, if we take any of the actions
     described here, we’ll provide you with notice of our actions, but we retain the sole
     discretion to take these actions. To request information in connection with an account
     limitation, hold or reserve, you should visit the Resolution Center or follow the
     instructions in our email notice with respect to the limitation, hold or reserve. Account
     holds or limitations may impact your ability to move funds to or from your PayPal
     Savings account.

     Our decision about holds, limitations and reserves may be based on confidential criteria
     that are essential to our management of risk and the protection of PayPal, our customers
     and/or service providers. We may use proprietary fraud and risk modeling when
     assessing the risk associated with your PayPal account. In addition, we may be restricted
     by regulation or a governmental authority from disclosing certain information to you
     about such decisions. You agree that we have no obligation to disclose the details of our
     risk management or security procedures to you.

     In order to facilitate PayPal’s actions described above and allow us to assess the level of
     risk associated with your PayPal account, you agree to cooperate with PayPal’s
     reasonable requests for financial statements and other documentation or information in a
     timely fashion.



     Holds

     A hold is an action that PayPal may take under certain circumstances either at the
     transaction level or the account level. When PayPal places a temporary hold on a
     payment, the money is not available to either the sender or the recipient. PayPal reviews
     many factors before placing a hold on a payment, including: account tenure, transaction
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     activity, business type, past customer disputes, and overall customer satisfaction. Some
     common situations where PayPal will hold payments include:

        •   New sellers or sellers who have limited selling activity.
        •   Payments for higher-risk categories like electronics or tickets.
        •   Sellers who have performance issues, or a high rate of buyer dissatisfaction or
            disputes.

     Holds based on PayPal’s risk decisions

     We may place a hold on payments sent to your PayPal account if, in our sole discretion,
     we believe that there may be a high level of risk associated with you, your PayPal
     account, or your transactions or that placing such a hold is necessary to comply with state
     or federal regulatory requirements. We make decisions about whether to place a payment
     hold based on a number of factors, including information available to us from both
     internal sources and third parties. When we place a hold on a payment, the funds will
     appear in your PayPal account with an indication that they are unavailable or pending.
     We’ll notify you, either through your PayPal account or directly by phone or email,
     whenever we place a hold.

     Risk-based holds generally remain in place for up to 21 days from the date the payment
     was received into your PayPal account. We may release the hold earlier under certain
     circumstances (for example, if you’ve uploaded shipment tracking information related to
     the transaction), but any earlier release is at our sole discretion. The hold may last longer
     than 21 days if the payment is challenged as a payment that should be invalidated and
     reversed based on a disputed transaction as discussed in the following paragraph below.
     In this case, we’ll hold the payment in your PayPal account until the matter is resolved
     (but no longer than 180 days).

     Holds related to Marketplace transactions

     If you’re a seller on a marketplace or through a third-party application where PayPal is
     offered, a hold may be placed on a payment sent to you at the instruction of the
     applicable marketplace or third party. This is done once you have granted us permission
     to have your funds held and will be in accordance with your agreement with the third
     party. These holds will appear in your PayPal account. If you have questions about why
     the applicable marketplace or third party instructed PayPal to put these holds in place,
     you will need to contact the marketplace or third party directly.

     Holds based on disputed transactions

     If a payment sent to you as a seller is challenged as a payment that should be invalidated
     and reversed, we may place a temporary hold on the funds in your PayPal account to
     cover the amount that could be reversed. Any of the situations described under Refunds,
     Reversals and Chargebacks are situations that could result in us placing a hold on a
     payment. If we determine the transaction should not be reversed, we’ll lift the temporary
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     hold. If we determine the transaction should be reversed, we’ll remove the funds from
     your PayPal account.



     Account Limitations

     Limitations are implemented to help protect PayPal, buyers and sellers when we notice
     restricted activities, an increased financial risk, or activity that appears to us as unusual or
     suspicious. Limitations also help us collect information necessary for keeping your
     PayPal account open.

     There are several reasons why your PayPal account could be limited, including:

         •   If we suspect someone could be using your PayPal account without your
             knowledge, we’ll limit it for your protection and look into the fraudulent activity.
         •   If your debit or credit card issuer alerts us that someone has used your card
             without your permission. Similarly, if your bank lets us know that there have been
             unauthorized transfers between your PayPal account and your bank account.
         •   In order to comply with applicable law.
         •   If we believe in our sole discretion that you have breached this agreement or
             violated the Acceptable Use Policy.
         •   Seller performance indicating your PayPal account is high risk. Examples include:
             indications of poor selling performance because you’ve received an unusually
             high number of claims and chargebacks, selling an entirely new or high-cost
             product type, or if your typical sales volume increases rapidly.

     Unless a permanent limitation is placed on your account, you will need to resolve any
     issues with your account before a limitation can be removed. Normally, this is done after
     you provide us with the information we request. However, if we reasonably believe a risk
     still exists after you have provided us that information, we may take action to protect
     PayPal, our users, a third party, or you from reversals, fees, fines, penalties, legal and/or
     regulatory risks and any other liability.



     Reserves placed on business accounts

     We may place a reserve on your business account at any time if we believe there may be
     a high level of risk associated with you, your business account, your business model, or
     your transactions. When we place a reserve on your business account, it means that all or
     some portion of the money in your business account is reserved as unavailable for
     withdrawal in order to protect against the risk of transactions made by you being reversed
     or invalidated or any other risk related to your business account or use of the PayPal
     services. We make decisions about whether to place a reserve based on a number of
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     factors, including information available to us from both internal sources and from third
     parties.

     PayPal considers a list of non-exclusive factors and whether and how these factors have
     changed over time, including:

        •   How long you have been in business.
        •   Whether your industry has a higher likelihood of chargebacks.
        •   Your payment processing history with PayPal and other providers.
        •   Your business and/or personal credit history.
        •   Your delivery time frames.
        •   Whether you have higher than average number of returns, chargebacks, claims or
            disputes.

     There are two categories of reserves that may be placed on your business account, and
     one or both may be applied at the same time:

        •   A Rolling reserve is a reserve where a percentage of each transaction you receive
            each day is held and then released later on a scheduled basis. For example, your
            reserve could be set at 10% and held for a 90-day rolling period – meaning 10%
            of the money you receive on day 1 is held and then released on day 91, 10% of
            the money you receive on day 2 is held until day 92, etc. Rolling reserves are the
            most common type of reserve.
        •   A Minimum reserve is a specific minimum amount of money that you’re
            required to keep available in the balance of your business account at all times.
            The minimum reserve is either taken as an upfront amount deposited all at once
            (also known as an Upfront reserve) or is established on a rolling basis from
            percentages of sales until the minimum reserve is achieved, much like a rolling
            reserve.

     If we place a reserve on funds in your account, the funds will be shown as "pending" and
     we’ll notify you of the terms of the reserve.
     If we change the terms of the reserve due to a change in our risk assessment, we’ll notify
     you of the new terms.

     Court Orders, Regulatory Requirements or Other Legal Process

     If we are notified of a court order or other legal process (including garnishment or any
     equivalent process) affecting you, or if we otherwise believe we are required to do so in
     order to comply with applicable law or regulatory requirements, we may be required to
     take certain actions, including holding payments to/from your PayPal account, placing a
     reserve or limitation on your PayPal account, or releasing your funds. We will decide, in
     our sole discretion, which action is required of us. Unless the court order, applicable law,
     regulatory requirement or other legal process requires otherwise, we will notify you of
     these actions. We do not have an obligation to contest or appeal any court order or legal
     process involving you or your PayPal account. When we implement a hold, reserve or
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     limitation as a result of a court order, applicable law, regulatory requirement or other
     legal process, the hold, reserve or limitation may remain in place longer than 180 days.


     PAYPAL USER AGREEMENT
     Liability for Unauthorized Transactions and Other
     Errors
     Protection from Unauthorized Transactions

     To protect yourself from unauthorized activity in your PayPal account, you should
     regularly log into your PayPal account and review your PayPal account statement. PayPal
     will notify you of each transaction by sending an email to your primary email address on
     file. You should review these transaction notifications to ensure that each transaction was
     authorized and accurately completed.

     PayPal will protect you from unauthorized activity in your PayPal account. When this
     protection applies, PayPal will cover you for the full amount of the unauthorized activity
     as long as you cooperate with us and follow the procedures described below.



     What is an Unauthorized Transaction

     An “Unauthorized Transaction” occurs when money is sent from your PayPal account
     that you did not authorize and that did not benefit you. For example, if someone steals or
     fraudulently obtains your password, uses the password to access your PayPal account,
     and sends a payment from your PayPal account, an Unauthorized Transaction has
     occurred.



     What is not considered an Unauthorized Transaction

     The following are NOT considered Unauthorized Transactions:

        •   If you grant authority to someone to use your PayPal account (by giving them
            your login information) and they exceed the authority you gave them. You are
            responsible for transactions made in this situation unless you have previously
            notified PayPal that you no longer authorize transfers by that individual.
        •   Invalidation and reversal of a payment as a result of the actions described under
            Refunds, Reversals and Chargebacks.
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     Reporting an Unauthorized Transaction

     If you believe your PayPal login information has been lost or stolen, please contact
     PayPal customer service immediately or call: (888) 221-1161 or write: PayPal, Attn:
     Error Resolution Department, P.O. Box 45950, Omaha, NE 68145-0950.

     Tell us AT ONCE if you believe that an electronic fund transfer has been made without
     your permission using your login information or by other means. You could lose all the
     money in your PayPal account. If you tell us within 60 days after we provide you your
     PayPal account statement showing transfers you did not make, you will be eligible for
     100% protection for Unauthorized Transactions.

     Also, if your PayPal account statement shows transfers that you did not make, including
     those made with your PayPal login information or by other means, tell us at once. If you
     do not tell us within 60 days after we provided the statement to you, you may not get
     back any money you lost after the 60 days if we can prove that we could have stopped
     someone from taking the money if you had told us in time. If a good reason (such as a
     long trip or a hospital stay) kept you from telling us, we may extend the time periods.

     Error Resolution

     What is an Error

     An “Error” means the following:

        •   When money is either incorrectly taken from your PayPal account or incorrectly
            placed into your PayPal account, or when a transaction is incorrectly recorded in
            your PayPal account.

        •   You send a payment and the incorrect amount is debited from your PayPal
            account.

        •   An incorrect amount is credited to your PayPal account.

        •   A transaction is missing from or not properly identified in your PayPal account
            statement.
        •   We make a computational or mathematical error related to your PayPal account.

        •   You request receipt or periodic statement documents that PayPal is required to
            provide to you.

        •   You request information concerning preauthorized (recurring) transfers to your
            PayPal account that PayPal is required to provide to you.
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        •   You request additional information or clarification concerning a transfer to or
            from your PayPal account, including a request you make to determine whether an
            error has occurred.

        •   You inquire about the status of a pending transfer to or from your PayPal account.
        •   You request documentation or other information, unless the request is for a
            duplicate copy for tax or other record-keeping purposes.



     What is not considered an Error

     The following are NOT considered Errors:

        •   If you give someone access to your PayPal account (by giving them your login
            information) and they use your PayPal account without your knowledge or
            permission. You are responsible for transactions made in this situation.
        •   Invalidation and reversal of a payment as a result of the actions described under
            Refunds, Reversals and Chargebacks.
        •   Routine inquiries about the balance in your Balance Account or business account,
            or any money waiting to be claimed through your personal account if you do not
            have a Balance Account linked to your personal account.
        •   Requests for duplicate documentation or other information for tax or other
            recordkeeping purposes.



     In case of Errors or questions about your electronic transfers

     Telephone us at (888) 221-1161, contact us through the PayPal Resolution Center; or
     write us at PayPal, Attn: Error Resolution Department, P.O. Box 45950, Omaha, NE
     68145-0950.

     Notify us as soon as you can, if you think your statement or receipt is wrong or if you
     need more information about a transfer listed on the statement or receipt. We must hear
     from you no later than 60 days after we sent the FIRST statement on which the problem
     or error appeared.

        •   Tell us your name and account number (if any).
        •   Describe the error or the transfer you are unsure about, and explain as clearly as
            you can why you believe it is an error or why you need more information.
        •   Tell us the dollar amount of the suspected error.

     If you tell us orally, we may require that you send us your complaint or question in
     writing within 10 Business Days.
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     We will determine whether an error occurred within 10 Business Days after we hear from
     you and will correct any error promptly. If we need more time, however, we may take up
     to 45 days to investigate your complaint or question. If we decide to do this, we will
     credit your PayPal account within 10 Business Days for the amount you think is in error,
     so that you will have the use of the money during the time it takes us to complete our
     investigation. If we ask you to put your complaint or question in writing and we do not
     receive it within 10 Business Days, we may not credit your PayPal account.

     For errors involving new PayPal accounts, point-of-sale transactions, or foreign-initiated
     transactions, we may take up to 90 days to investigate your complaint or question. For
     new PayPal accounts, we may take up to 20 Business Days to credit your PayPal account
     for the amount you think is in error.

     We will tell you the results within 3 Business Days after completing our investigation. If
     we decide that there was no error, we will send you a written explanation. You may ask
     for copies of the documents that we used in our investigation.

     Processing Errors

     We will rectify any processing error that we discover. If the error results in:

        •   You receiving less than the correct amount to which you were entitled, then we
            will credit your PayPal account for the difference between what you should have
            received and what you actually received.
        •   You receiving more than the correct amount to which you were entitled, then we
            will debit your PayPal account for the difference between what you actually
            received and what you should have received.
        •   Our not completing a transaction on time or in the correct amount, then we will be
            responsible to you for your losses or damages directly caused by this failure,
            unless:
                o through no fault of ours, you did not have enough available funds to
                    complete the transaction;
                o our system was not working properly and you knew about the breakdown
                    when you started the transaction; or
                o the error was due to extraordinary circumstances outside our control (such
                    as fire, flood or loss of Internet connection), despite our reasonable
                    precautions.

     Processing errors are not:

        •   Delays that result from PayPal applying holds, limitations or reserves.
        •   Delays based on a payment review.
        •   Delays described under How to buy something related to the time it may take for
            a purchase transaction to be completed in some situations.
        •   Your errors in making a transaction (for example, mistyping an amount of money
            that you are sending).
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      Remittance Transfer Errors

      What is a Remittance Transfer

      You may be protected for certain errors when you send money using a PayPal account
      outside of the U.S. A “Remittance Transfer” is a transaction that meets the following
      criteria:

         •   The payment is sent from a personal account that is used primarily for personal,
             family or household purposes,
         •   The payment is made for personal, family or household purposes,
         •   The payment is made using the send money feature through your PayPal account,
         •   The payment amount equals or exceeds $15 U.S dollars (excluding fees charged
             to you) or the foreign currency equivalent calculated using exchange rates in
             effect at the time of the transaction, and
         •   The recipient of the payment has a PayPal account in a country outside the U.S.

      Payments that you make at a merchant website or location by selecting PayPal as a
      payment option are not “Remittance Transfers.”



      What qualifies as a Remittance Transfer Error

      A “Remittance Transfer Error” occurs if:

         •   You paid an incorrect amount to send the Remittance Transfer. For example, you
             were charged more than the total shown on the remittance transfer receipt you
             received (unless the total shown on the receipt was an estimate, and the difference
             results from application of the actual exchange rate, fees, and taxes).
         •   PayPal made a computational or bookkeeping error, such as a miscalculation of
             the amount the recipient received.
         •   The amount stated in the remittance transfer receipt was not made available to the
             recipient, unless:
                 o we stated in the remittance transfer receipt that we used estimates and the
                     difference in the amount received and the amount stated in the remittance
                     transfer receipt results from application of the actual exchange rate, fees,
                     and taxes, or
                 o the problem was caused by extraordinary circumstances outside our
                     control.
         •   Funds were available to the recipient later than the date of availability that was
             disclosed to you on the remittance transfer receipt or were not delivered, unless:
                 o extraordinary circumstances outside our control caused the delay, and we
                     could not reasonably anticipate those circumstances,
                 o delays resulted from fraud screenings, or were caused by requirements of
                     the Office of Foreign Assets Controls or similar requirements, or
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                o   you (or someone assisting you) made the transfer with fraudulent intent.
         •   You request documentation or information concerning the Remittance Transfer,
             such as information required to determine if a Remittance Transfer Error
             occurred.



      What is not considered a Remittance Transfer Error

      The following are NOT considered Remittance Transfer Errors:

         •   An inquiry about the status of a Remittance Transfer, except where the funds from
             the transfer were not made available to a designated recipient by the disclosed
             date of availability,

         •   A request for information for tax or other recordkeeping purposes,

         •   A change requested by the designated recipient, or
         •   A change in the amount or type of currency received by the designated recipient
             from the amount or type of currency stated in the disclosure provided you, if we
             relied on information provided by you in making the disclosure.



      What to do if you think there has been a Remittance Transfer Error or problem

      If you think there has been a Remittance Transfer Error or problem with your Remittance
      Transfer:

         •   Call us at: (888) 221-1161.
         •   Write us at: PayPal, Attn: Error Resolution Department, P.O. Box 45950, Omaha,
             NE 68145-0950.
         •   Log in to your PayPal account at paypal.com and go to the Resolution Center and
             dispute a transaction.

      You must contact us within 180 days of the date we promised to you that funds would be
      made available to the recipient. When you do, please tell us:

         •   Your name, address and telephone number,
         •   The error or problem with the transfer, and why you believe it is an error or
             problem,
         •   The name of the person receiving the funds, and if you know it, his or her
             telephone number or address,
         •   The dollar amount of the transfer, and
         •   The confirmation code or number of the transaction.
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      We will determine whether an error occurred within 90 days after you contact us and we
      will correct any error promptly. We will tell you the results within 3 Business Days after
      completing our investigation. If we decide that there was no error, we will send you a
      written explanation. You may ask for copies of any documents we used in our
      investigation.


      PAYPAL USER AGREEMENT
      Other Legal Terms
      Communications Between You and Us

      If you provide us your mobile phone number, you agree that PayPal and its affiliates may
      contact you at that number using autodialed or prerecorded message calls or text
      messages to: (i) service your PayPal branded accounts, (ii) investigate or prevent fraud,
      or (iii) collect a debt. We will not use autodialed or prerecorded message calls or texts to
      contact you for marketing purposes unless we receive your prior express written consent.
      We may share your mobile phone number with service providers with whom we contract
      to assist us with the activities listed above, but we will not share your mobile phone
      number with third parties for their own purposes without your consent. You do not have
      to agree to receive autodialed or prerecorded message calls or texts to your mobile phone
      number in order to use and enjoy the products and services offered by PayPal. You can
      decline to receive autodialed or prerecorded message calls or texts to your mobile phone
      number by updating your preferences in your PayPal account settings at
      www.paypal.com, by contacting customer support, by calling us at 1-844-629-9108, or
      by replying STOP to a message. The frequency of messages may vary, and standard
      telephone minute and text charges may apply. Neither we nor your phone carriers are
      liable for delayed or undelivered messages.

      PayPal may communicate with you about your PayPal account and the PayPal services
      electronically as described in our Electronic Communications Delivery Policy. You will
      be considered to have received a communication from us, if it’s delivered electronically,
      24 hours after the time we post it to our website or email it to you. You will be
      considered to have received a communication from us, if it’s delivered by mail, 3
      Business Days after we send it.

      Unless you’re communicating with us about a matter where we’ve specified another
      notice address (for example, our Liability for Unauthorized Transactions and Other
      Errors process), written notices to PayPal must be sent by postal mail to: PayPal, Inc.,
      Attention: Legal Department, 2211 North First Street, San Jose, California 95131.

      You understand and agree that, to the extent permitted by law, PayPal may, without
      further notice or warning, monitor or record telephone conversations you or anyone
      acting on your behalf has with PayPal or its agents for quality control and training
      purposes or for our own protection. You acknowledge and understand that while your
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      communications with PayPal may be overheard, monitored, or recorded not all telephone
      lines or calls may be recorded by PayPal, and PayPal does not guarantee that recordings
      of any particular telephone calls will be retained or retrievable.

      PayPal’s Rights

      PayPal suspension and termination rights

      PayPal, in its sole discretion, reserves the right to suspend or terminate this user
      agreement, access to or use of its websites, software, systems (including any networks
      and servers used to provide any of the PayPal services) operated by us or on our behalf or
      some or all of the PayPal services for any reason and at any time upon notice to you and,
      upon termination of this user agreement, the payment to you of any unrestricted funds
      held in your PayPal account.



      Security interest

      As security for the performance of your obligations under this user agreement, you grant
      to PayPal a lien on, and security interest in and to, funds held in your PayPal account.



      Amounts owed to PayPal

      If the balance in your PayPal account becomes negative for any reason, that negative
      balance represents an amount that you owe to PayPal. PayPal may deduct these amounts
      from funds that are added to your PayPal account later, either by you or from payments
      you receive. If you have more than one PayPal account, we may set off a negative
      balance in one PayPal account against a balance in your other PayPal account(s),
      including a Balance Account. If you continue using your PayPal account when it has a
      negative balance, you authorize PayPal to combine the negative balance with any debit or
      transaction sent from your account when that combination is disclosed to you in advance
      of initiating the debit or transaction.

      If you hold funds in a PayPal account in multiple currencies, and the balance for one of
      the currencies becomes negative for any reason, PayPal may set off the negative balance
      by using funds you maintain in a different currency. If you have a negative balance in
      non-U.S. dollars for a period of 21 days or longer, PayPal will convert this negative
      balance to U.S. dollars. In either case, a currency conversion will be necessary, and
      PayPal’s transaction exchange rate (including our currency conversion spread) will be
      used.

      In addition to the above, if you have a past due amount owed to us or our affiliates,
      PayPal may debit your PayPal account to pay any amounts that are past due. This
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      includes amounts owed by using our various products such as Venmo, Xoom or
      Braintree.



      Insolvency proceedings

      If any proceeding by or against you is commenced under any provision of the United
      States Bankruptcy Code, as amended, or under any other bankruptcy or insolvency law,
      we’ll be entitled to recover all reasonable costs or expenses (including reasonable legal
      fees and expenses) incurred in connection with the enforcement of this user agreement.



      Assumption of rights

      If PayPal invalidates and reverses a payment that you made to a recipient (either at your
      initiative or otherwise), you agree that PayPal assumes your rights against the recipient
      and third parties related to the payment, and may pursue those rights directly or on your
      behalf, in PayPal’s discretion.



      No waiver

      Our failure to act with respect to a breach of any of your obligations under this user
      agreement by you or others does not waive our right to act with respect to subsequent or
      similar breaches.

      Indemnification and Limitation of Liability

      In this section, we use the term “PayPal” to refer to PayPal, Inc., our parent PayPal
      Holdings, Inc., and our affiliates, and each of their respective directors, officers,
      employees, agents, joint venturers, service providers and suppliers. Our affiliates include
      each entity that we control, we are controlled by or we are under common control with.



      Indemnification

      You must indemnify PayPal for actions related to your PayPal account and your use
      of the PayPal services. You agree to defend, indemnify and hold PayPal harmless from
      any claim or demand (including reasonable legal fees) made or incurred by any third
      party due to or arising out of your breach of this user agreement, your improper use of the
      PayPal services, your violation of any law or the rights of a third party and/or the actions
      or inactions of any third party to whom you grant permissions to use your PayPal account
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      or access our websites, software, systems (including any networks and servers used to
      provide any of the PayPal services) operated by us or on our behalf, or any of the PayPal
      services on your behalf.



      Limitation of liability

      PayPal’s liability is limited with respect to your PayPal account and your use of the
      PayPal services. In no event shall PayPal be liable for lost profits or any special,
      incidental or consequential damages (including without limitation damages for loss of
      data or loss of business) arising out of or in connection with our websites, software,
      systems (including any networks and servers used to provide any of the PayPal services)
      operated by us or on our behalf, any of the PayPal services, or this user agreement
      (however arising, including negligence), unless and to the extent prohibited by law.

      Our liability to you or any third parties in any circumstance is limited to the actual
      amount of direct damages. In addition, to the extent permitted by applicable law, PayPal
      is not liable, and you agree not to hold PayPal responsible, for any damages or losses
      (including, but not limited to, loss of money, goodwill, or reputation, profits, or other
      intangible losses or any special, indirect, or consequential damages) resulting directly or
      indirectly from: (1) your use of, or your inability to use, our websites, software, systems
      (including any networks and servers used to provide any of the PayPal services) operated
      by us or on our behalf, or any of the PayPal services; (2) delays or disruptions in our
      websites, software, systems (including any networks and servers used to provide any of
      the PayPal services) operated by us or on our behalf and any of the PayPal services; (3)
      viruses or other malicious software obtained by accessing our websites, software, systems
      (including any networks and servers used to provide any of the PayPal services) operated
      by us or on our behalf or any of the PayPal services or any website or service linked to
      our websites, software or any of the PayPal services; (4) glitches, bugs, errors, or
      inaccuracies of any kind in our websites, software, systems (including any networks and
      servers used to provide any of the PayPal services) operated by us or on our behalf or any
      of the PayPal services or in the information and graphics obtained from them; (5) the
      content, actions, or inactions of third parties; (6) a suspension or other action taken with
      respect to your PayPal account; or (7) your need to modify your practices, content, or
      behavior, or your loss of or inability to do business, as a result of changes to this user
      agreement or PayPal’s policies.

      Disclaimer of Warranty and Release

      No warranty

      The PayPal services are provided “as-is” and without any representation or
      warranty, whether express, implied or statutory. PayPal specifically disclaims any
      implied warranties of title, merchantability, fitness for a particular purpose and
      non-infringement.
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      PayPal does not have any control over the products or services provided by sellers who
      accept PayPal as a payment method, and PayPal cannot ensure that a buyer or a seller you
      are dealing with will actually complete the transaction or is authorized to do so. PayPal
      does not guarantee continuous, uninterrupted or secure access to any part of the PayPal
      services, and operation of our websites, software, or systems (including any networks and
      servers used to provide any of the PayPal services) operated by us or on our behalf may
      be interfered with by numerous factors outside of our control. PayPal will make
      reasonable efforts to ensure that requests for electronic debits and credits involving bank
      accounts, debit cards, credit cards, and check issuances are processed in a timely manner
      but PayPal makes no representations or warranties regarding the amount of time needed
      to complete processing because the PayPal services are dependent upon many factors
      outside of our control, such as delays in the banking system or the U.S. or international
      mail service. Some states do not allow the disclaimer of implied warranties, so the
      foregoing disclaimers may not apply to you.



      Release of PayPal

      If you have a dispute with any other PayPal account holder, you release PayPal from any
      and all claims, demands and damages (actual and consequential) of every kind and
      nature, known and unknown, arising out of or in any way connected with such disputes.
      In entering into this release you expressly waive any protections (whether statutory or
      otherwise, for example, California Civil Code §1542) that would otherwise limit the
      coverage of this release to include only those claims which you may know or suspect to
      exist in your favor at the time of agreeing to this release.

      Agreement to Arbitrate

      You and PayPal agree that any claim or dispute at law or equity that has arisen or may
      arise between us will be resolved in accordance with the Agreement to Arbitrate
      provisions set forth below. Please read this information carefully. Among other things it:

         •   Affects your rights and will impact how claims you and we have against each
             other are resolved.
         •   Includes a Prohibition of Class and Representative Actions and Non-
             Individualized Relief pursuant to which you agree to waive your right to
             participate in a class action lawsuit against us.
         •   Requires you to follow the Opt-Out Procedure to opt-out of the Agreement to
             Arbitrate by mailing us a written notice and the opt-out notice must be
             postmarked no later than 30 days after the date you accept this user agreement for
             the first time.

      If a dispute arises between you and PayPal, acting as either a buyer or a seller, our goal is
      to learn about and address your concerns. If we are unable to do so to your satisfaction,
      we aim to provide you with a neutral and cost effective means of resolving the dispute
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      quickly. Disputes between you and PayPal regarding the PayPal services may be reported
      to customer service online through the PayPal Help Center at any time, or by calling
      (888) 221-1161 from Mon-Fri 5:00 AM to 10:00 PM PT and Sat-Sun 6:00 AM to 8:00
      PM PT.

      Agreement to Arbitrate
                                              You and PayPal each agree that any and all
                                              disputes or claims that have arisen or may
                                              arise between you and PayPal, including
                                              without limitation federal and state statutory
                                              claims, common law claims, and those based
                                              in contract, tort, fraud, misrepresentation or
                                              any other legal theory, shall be resolved
                                              exclusively through final and binding
                                              arbitration, rather than in court, except that
      Our Agreement
                                              you may assert claims in small claims court,
                                              if your claims qualify and so long as the
                                              matter remains in such court and advances
                                              only on an individual (non-class, non-
                                              representative) basis. This Agreement to
                                              Arbitrate is intended to be broadly
                                              interpreted. The Federal Arbitration Act
                                              governs the interpretation and enforcement
                                              of this Agreement to Arbitrate.
                                              You and PayPal agree that each of us may
                                              bring claims against the other only on an
                                              individual basis and not as a plaintiff or class
                                              member in any purported class or
                                              representative action or proceeding. Unless
                                              both you and PayPal agree otherwise, the
                                              arbitrator(s) may not consolidate or join more
                                              than one person’s or party’s claims and may
      Prohibition of Class and Representative not otherwise preside over any form of a
      Actions and Non-Individualized Relief consolidated, representative or class
                                              proceeding. Also, the arbitrator(s) may award
                                              relief (including monetary, injunctive and
                                              declaratory relief) only in favor of the
                                              individual party seeking relief and only to the
                                              extent necessary to provide relief
                                              necessitated by that party’s individual
                                              claim(s). Any relief awarded cannot affect
                                              other PayPal customers.
                                              Arbitration is more informal than a lawsuit in
                                              court. Arbitration uses a neutral arbitrator or
      Arbitration Procedures
                                              arbitrators instead of a judge or jury, and
                                              court review of an arbitration award is very
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                                        limited. However, the arbitrator(s) can award
                                        the same damages and relief on an individual
                                        basis that a court can award to an individual.
                                        The arbitrator(s) also must follow the terms
                                        of this user agreement as a court would. All
                                        issues are for the arbitrator(s) to decide,
                                        except that issues relating to arbitrability, the
                                        scope or enforceability of this Agreement to
                                        Arbitrate, or the interpretation of the
                                        Prohibition of Class and Representative
                                        Actions and Non-Individualized Relief
                                        section above, shall be for a court of
                                        competent jurisdiction to decide.

                                        The arbitration will be conducted by the
                                        American Arbitration Association (referred
                                        to as the "AAA") under its rules and
                                        procedures, as modified by this Agreement to
                                        Arbitrate. For all claims in which the value
                                        of the relief sought is $10,000 or less, the
                                        AAA’s Consumer Arbitration Rules, as
                                        modified by this Agreement to Arbitrate,
                                        shall apply without exception. For all other
                                        claims, the AAA’s rules, including, as
                                        applicable, the AAA’s Consumer Arbitration
                                        Rules, as modified by this Agreement to
                                        Arbitrate, shall apply. The AAA’s rules are
                                        available at www.adr.org. In the event that
                                        the AAA is unavailable to administer the
                                        arbitration, another administrator will be
                                        selected by the parties or by the court.

                                        A party who intends to seek arbitration must
                                        first send the other party, by certified mail, a
                                        completed Notice of Dispute. You should
                                        send this notice to PayPal at: PayPal, Inc.,
                                        Attn: Legal Specialists, Re: Notice of
                                        Dispute, P.O. Box 45950, Omaha, NE
                                        68145-0950. PayPal will send any notice to
                                        you to the address we have on file associated
                                        with your PayPal account; it is your
                                        responsibility to keep your address up to
                                        date. To be valid, the Notice of Dispute must
                                        contain all information called for in the
                                        Notice of Dispute form, including the email
                                        address and phone number associated with
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                                        your PayPal account, a description of the
                                        nature and basis of the claims you are
                                        asserting, and the specific relief sought.

                                        If you and PayPal are unable to resolve the
                                        claims described in the notice within 45 days
                                        after the notice is received by PayPal, you or
                                        PayPal may initiate arbitration proceedings.
                                        A form for initiating arbitration proceedings
                                        is available on the AAA’s website at
                                        www.adr.org.

                                        The arbitration shall be held in the county in
                                        which you reside or at another mutually
                                        agreed location. If the value of the relief
                                        sought is $10,000 or less, you or PayPal may
                                        elect to have the arbitration conducted by
                                        telephone or based solely on written
                                        submissions, which election shall be binding
                                        on you and PayPal subject to the discretion
                                        of the arbitrator(s) to require an in-person
                                        hearing, if the circumstances warrant. In
                                        cases where an in-person hearing is held, you
                                        and/or PayPal may attend by telephone,
                                        unless the arbitrator(s) require otherwise.
                                        Any settlement offer made by you or PayPal
                                        shall not be disclosed to the arbitrator(s).

                                        The arbitrator(s) will decide the substance of
                                        all claims in accordance with applicable law,
                                        including recognized principles of equity,
                                        and will honor all claims of privilege
                                        recognized by law. The arbitrator(s) shall not
                                        be bound by rulings in prior arbitrations
                                        involving different PayPal customers, but
                                        is/are bound by rulings in prior arbitrations
                                        involving the same PayPal customer to the
                                        extent required by applicable law. The award
                                        of the arbitrator(s) shall be final and binding,
                                        and judgment on the award rendered by the
                                        arbitrator(s) may be entered in any court
                                        having jurisdiction thereof.
                                        Payment of all filing, administration, and
                                        arbitrator fees will be governed by the
      Costs of Arbitration
                                        AAA’s rules, unless otherwise stated in this
                                        Agreement to Arbitrate. If the value of the
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                                        relief sought is $10,000 or less, at your
                                        request, PayPal will pay all filing,
                                        administration, and arbitrator fees associated
                                        with the arbitration. Any request for payment
                                        of fees by PayPal should be submitted by
                                        mail to the AAA along with your Demand
                                        for Arbitration and PayPal will make
                                        arrangements to pay all necessary fees
                                        directly to the AAA. If the value of the relief
                                        sought is more than $10,000 and you are able
                                        to demonstrate that the costs of accessing
                                        arbitration will be prohibitive as compared to
                                        the costs of accessing a court for purposes of
                                        pursuing litigation on an individual basis,
                                        PayPal will pay as much of the filing,
                                        administration, and arbitrator fees as the
                                        arbitrator(s) deem necessary to prevent the
                                        cost of accessing the arbitration from being
                                        prohibitive. In the event the arbitrator(s)
                                        determine the claim(s) you assert in the
                                        arbitration to be frivolous, you agree to
                                        reimburse PayPal for all fees associated with
                                        the arbitration paid by PayPal on your behalf
                                        that you otherwise would be obligated to pay
                                        under the AAA’s rules.
                                        With the exception of any of the provisions
                                        in the Prohibition of Class and
                                        Representative Actions and Non-
                                        Individualized Relief section above, if a
                                        court decides that any part of this Agreement
                                        to Arbitrate is invalid or unenforceable, the
                                        other parts of this Agreement to Arbitrate
                                        shall still apply. If a court decides that any of
                                        the provisions in the Prohibition of Class and
                                        Representative Actions and Non-
      Severability
                                        Individualized Relief section above is invalid
                                        or unenforceable because it would prevent
                                        the exercise of a non-waivable right to
                                        pursue public injunctive relief, then any
                                        dispute regarding the entitlement to such
                                        relief (and only that relief) must be severed
                                        from arbitration and may be litigated in
                                        court. All other disputes subject to arbitration
                                        under the terms of the Agreement to
                                        Arbitrate shall be arbitrated under its terms.
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                                               If you are a new PayPal customer, you can
                                               choose to reject this Agreement to Arbitrate
                                               by mailing us a written opt-out notice. The
                                               opt-out notice must be postmarked no later
                                               than 30 days after the date you accept this
                                               user agreement for the first time. You must
                                               mail the opt-out notice to PayPal, Inc., Attn:
                                               Litigation Department, 2211 North First
                                               Street, San Jose, CA 95131.

                                             For your convenience, we are providing an
                                             opt-out notice form you must complete and
                                             mail to opt out of this Agreement to
      Opt-Out Procedure                      Arbitrate. You must complete this form by
                                             providing all the information it calls for,
                                             including your name, address, phone number,
                                             and the email address(es) used to log in to
                                             the PayPal account(s) to which the opt-out
                                             applies. You must sign the opt-out notice for
                                             it to be effective. This procedure is the only
                                             way you can opt out of the Agreement to
                                             Arbitrate. If you opt out of this Agreement to
                                             Arbitrate, all other parts of the user
                                             agreement will continue to apply. Opting out
                                             of this Agreement to Arbitrate has no effect
                                             on any previous, other, or future arbitration
                                             agreements that you may have with us.
                                             Notwithstanding any provision in the user
                                             agreement to the contrary, you and we agree
                                             that if we make any amendment to this
                                             Agreement to Arbitrate (other than an
                                             amendment to any notice address or website
                                             link provided herein) in the future, that
                                             amendment shall not apply to any claim that
                                             was filed in a legal proceeding against
                                             PayPal prior to the effective date of the
      Future Amendments to this Agreement to
                                             amendment. The amendment shall apply to
      Arbitrate
                                             all other disputes or claims governed by this
                                             Agreement to Arbitrate that have arisen or
                                             may arise between you and PayPal. We will
                                             notify you of amendments to this Agreement
                                             to Arbitrate by posting the amended terms on
                                             www.paypal.com at least 30 days before the
                                             effective date of the amendments and by
                                             providing notice through email. If you do not
                                             agree to these amended terms, you may close
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                                                   your PayPal account within the 30-day
                                                   period and you will not be bound by the
                                                   amended terms.

      Intellectual Property

      PayPal’s trademarks

      "PayPal.com," "PayPal," and all logos related to the PayPal services are either trademarks
      or registered trademarks of PayPal or PayPal’s licensors. You may not copy, imitate,
      modify or use them without PayPal’s prior written consent. In addition, all page headers,
      custom graphics, button icons, and scripts are service marks, trademarks, and/or trade
      dress of PayPal. You may not copy, imitate, modify or use them without our prior written
      consent. You may use HTML logos provided by PayPal for the purpose of directing web
      traffic to the PayPal services. You may not alter, modify or change these HTML logos in
      any way, use them in a manner that mischaracterizes PayPal or the PayPal services or
      display them in any manner that implies PayPal’s sponsorship or endorsement. All right,
      title and interest in and to the PayPal websites, any content thereon, the PayPal services,
      the technology related to the PayPal services, and any and all technology and any content
      created or derived from any of the foregoing is the exclusive property of PayPal and its
      licensors.



      License grants, generally

      If you are using PayPal software such as an API, developer’s toolkit or other software
      application, which may include software provided by or integrated with software,
      systems or services of our service providers, that you have downloaded or otherwise
      accessed through a web or mobile platform, then PayPal grants you a revocable, non-
      exclusive, non-sublicensable, non-transferable, royalty-free limited license to access
      and/or use PayPal’s software in accordance with the documentation accompanying such
      software. This license grant applies to the software and all updates, upgrades, new
      versions and replacement software. You may not rent, lease or otherwise transfer your
      rights in the software to a third party. You must comply with the implementation, access
      and use requirements contained in all documentation accompanying the PayPal services.
      If you do not comply with implementation, access and use requirements you will be
      liable for all resulting damages suffered by you, PayPal and third parties. PayPal may
      update or discontinue any software upon notice to you. While PayPal may have (1)
      integrated certain third-party materials and technology into any web or other application,
      including its software, and/or (2) accessed and used certain third-party materials and
      technology to facilitate providing you with the PayPal Services, you have not been
      granted and do not otherwise retain any rights in or to any such third-party materials. You
      agree not to modify, alter, tamper with, repair, copy, reproduce, adapt, distribute, display,
      publish, reverse engineer, translate, disassemble, decompile or otherwise attempt to
      create any source code that is derived from the software or any third-party materials or
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      technology, or otherwise create any derivative works from any of the software or third-
      party materials or technology. You acknowledge that all rights, title and interest to
      PayPal’s software are owned by PayPal and any third-party materials integrated therein
      are owned by PayPal’s third-party service providers. Any other third-party software
      application you use on the PayPal websites is subject to the license you agreed to with the
      third party that provides you with this software. You acknowledge that PayPal does not
      own, control nor have any responsibility or liability for any such third-party software
      application you elect to use on any of our websites, software and/or in connection with
      the PayPal services.



      License grant from you to PayPal; intellectual property warranties

      PayPal does not claim ownership of the content that you provide, upload, submit or send
      to PayPal. Nor does PayPal claim ownership of the content you host on third-party
      websites or applications that use PayPal services to provide payments services related to
      your content. Subject to the next paragraph, when you provide content to PayPal or post
      content using PayPal services, you grant PayPal (and parties that we work with) a non-
      exclusive, irrevocable, royalty-free, transferable, and worldwide license to use your
      content and associated intellectual property and publicity rights to help us improve,
      operate and promote our current services and develop new ones. PayPal will not
      compensate you for any of your content. You acknowledge that PayPal’s use of your
      content will not infringe any intellectual property or publicity rights. Further, you
      acknowledge and warrant that you own or otherwise control all of the rights of the
      content you provide, and you agree to waive your moral rights and promise not to assert
      such rights against PayPal.



      License grant from sellers to PayPal

      Notwithstanding the provisions of the prior paragraph, if you are a seller using the PayPal
      services to accept payments for goods and services, you hereby grant PayPal and its
      affiliates a worldwide, non-exclusive, transferable, sublicensable (through multiple tiers),
      and royalty-free, fully paid-up, right to use and display publicly, during the term of this
      user agreement, your trademark(s) (including but not limited to registered and
      unregistered trademarks, trade names, service marks, logos, domain names and other
      designations owned, licensed to or used by you) for the purpose of (1) identifying you as
      a merchant that accepts a PayPal service as a payment form, and (2) any other use to
      which you specifically consent.

      Miscellaneous

      Assignment
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      You may not transfer or assign any rights or obligations you have under this user
      agreement without PayPal’s prior written consent. PayPal may transfer or assign this user
      agreement or any right or obligation under this user agreement at any time.



      Business Days

      “Business Day(s)” means Monday through Friday, excluding holidays when PayPal’s
      offices are not considered open for business in the U.S. Holidays include New Year’s
      Day (January 1), Martin Luther King, Jr.’s Birthday (the third Monday in January),
      George Washington’s Birthday (the third Monday in February), Memorial Day (the last
      Monday in May), Independence Day (July 4), Labor Day (the first Monday in
      September), Columbus Day (the second Monday in October), Veterans Day (November
      11), Thanksgiving Day (the fourth Thursday in November) and Christmas Day
      (December 25). If a holiday falls on a Saturday, PayPal observes the holiday on the prior
      Friday. If the holiday falls on a Sunday, PayPal observes the holiday on the following
      Monday.



      Consumer fraud warning

      We’re always looking for ways to help keep you even more secure. So stay on the
      lookout for some of these common scams:

         •   Spoofing: a scammer sends forged or faked electronic documents or emails
             falsely claiming to be PayPal or coming from PayPal but asks you to send money
             outside your PayPal account.
         •   Relative in Need: a scammer impersonates a family member (commonly
             grandchildren) and claims there is an emergency requiring you to send money.
         •   Lottery or Prize: a scammer informs you that you’ve won a lottery or prize and
             must send money in order to claim it.
         •   Debt Collection: a scammer impersonates a debt collector and induces you to send
             money using threats or intimidation.
         •   Employment Related: a scammer instructs you to send money in connection with
             a fraudulent offer of employment.

      Always use common sense when sending money. If something sounds too good to be
      true, it probably is. Only send money for yourself and not for others. Remember that if
      you don’t send the payment through your PayPal account, you’re not covered by PayPal
      Purchase Protection. Please let us know immediately if you believe someone is trying to
      scam or defraud you by contacting us.
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      Dormant accounts

      If you do not log in to your PayPal account for two or more years, PayPal may close your
      PayPal account and send any funds in the PayPal account, including any balance in a
      linked Balance Account to your primary address (if we have verified the required
      identifying information that you have provided to us) or, if required, escheat (send) those
      funds to your state of residency. PayPal will determine your state of residency based on
      the state listed in the primary address for your PayPal account. If your address is
      unknown or registered in a foreign country, the funds in your PayPal account, including
      any balance in a linked Balance Account will be escheated to the State of Delaware.
      Where required, PayPal will send you a notice prior to escheating any funds in your
      PayPal account, including any balance in a linked Balance Account. If you fail to respond
      to this notice, the funds in your PayPal account, including any balance in a linked
      Balance Account will be escheated to the applicable state. If you would like to claim any
      escheated funds from the applicable state, please contact the applicable state’s unclaimed
      property administrator.



      Governing law

      You agree that, except to the extent inconsistent with or preempted by federal law and
      except as otherwise stated in this user agreement, the laws of the State of Delaware,
      without regard to principles of conflict of laws, will govern this user agreement and any
      claim or dispute that has arisen or may arise between you and PayPal.



      Identity authentication

      You authorize PayPal, directly or through third parties, to make any inquiries we consider
      necessary to verify your identity. This may include:

         •   asking you for further information, such as your date of birth, a taxpayer
             identification number, your physical address and other information that will allow
             us to reasonably identify you;
         •   requiring you to take steps to confirm ownership of your email address or
             financial instruments;
         •   ordering a credit report from a credit reporting agency, or verifying your
             information against third-party databases or through other source; or
         •   requiring you to provide your driver’s license or other identifying documents.

      Anti-money laundering and counter-terrorism financing laws may require that PayPal
      verify the required identifying information if you use certain PayPal services. PayPal
      reserves the right to close, suspend, or limit access to your PayPal account and/or the
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      PayPal services in the event that, after reasonable enquiries, we are unable to obtain
      information about you required to verify your identity.



      PayPal is only a payment service provider

      We act as a payment service provider only. We do not:

         •   Act as an escrow agent with respect to any funds kept in your account;
         •   Act as your agent or trustee;
         •   Enter into a partnership, joint venture, agency or employment relationship with
             you;
         •   Guarantee the identity of any buyer or seller;
         •   Determine if you are liable for any taxes; or
         •   Unless otherwise expressly set out in this agreement, collect or pay any taxes that
             may arise from your use of our services.



      Privacy

      Protecting your privacy is very important to us. Please review our Privacy Statement in
      order to better understand our commitment to maintaining your privacy, as well as our
      use and disclosure of your information.



      State disclosures

      In addition to reporting complaints against PayPal directly to PayPal as described above,
      if you are a California resident, you may report complaints to the California Department
      of Business Oversight by mail at Department of Business Oversight, Attn: Consumer
      Services, 1515 K Street, Suite 200, Sacramento, CA 95814 or online through its website
      at http://www.dbo.ca.gov/Consumers. The California Department of Business Oversight
      offers assistance with its complaint form by phone at 866-275-2677. If you are a
      California resident, you have a right to receive communications about your PayPal
      account and the PayPal services by email. To make such a request, send a letter to PayPal
      to: PayPal, Inc., Attention: Legal Department, 2211 North First Street, San Jose,
      California 95131), include your email address, and your request for that information by
      email.

      Florida residents may contact the Florida Department of Financial Services in writing at
      200 East Gaines Street, Tallahassee, Florida, 32399, or by telephone at 1-800-342-2762.
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      Translation of agreement

      Any translation of this user agreement is provided solely for your convenience and is not
      intended to modify the terms of this user agreement. In the event of a conflict between
      the English version of this user agreement and a version in a language other than English,
      the English version shall control.



      Unlawful internet gambling notice

      Restricted transactions as defined in Federal Reserve Regulation GG are prohibited from
      being processed through your PayPal account or your relationship with PayPal. Restricted
      transactions generally include, but are not limited to, transactions in which credit,
      electronic fund transfers, checks, or drafts are knowingly accepted by gambling
      businesses in connection with unlawful Internet gambling.



      Your use (as a seller) of personal data; Data protection laws

      If you (as a seller) receive personal data about another PayPal customer, you must keep
      such personal data confidential and only use it in connection with the PayPal services.
      You may not disclose or distribute any personal data about PayPal customers to a third
      party or use such personal data for marketing purposes unless you receive that customer’s
      express consent to do so. You may not send unsolicited emails to a PayPal customer or
      use the PayPal services to collect payments to send, or assist in sending, unsolicited
      emails to third parties.

      To the extent that you process any personal data about a PayPal customer pursuant to this
      agreement, you and PayPal will each be an independent data controller (and not joint
      controllers), meaning we will each separately determine the purposes and means of
      processing such personal data. We each agree to comply with the requirements of any
      applicable privacy and data protection laws, including any applicable regulations,
      directives, codes of practice, and regulatory requirements applicable to data controllers in
      connection with this agreement. We each also have and will follow our own
      independently-determined privacy statements, notices, policies, and procedures for any
      such personal data that we process in connection with this agreement.

      In complying with the applicable data protection laws, we will each:

         •   implement and maintain all appropriate security measures in relation to the
             processing of such personal data;
         •   maintain a record of all processing activities carried out under this agreement; and
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         •   not knowingly or intentionally do anything, or knowingly or intentionally permit
             anything to be done, which might lead to a breach by the other party of the
             applicable data protection laws.

      Any personal data you collect in connection with the PayPal services (and not otherwise
      generated, collected, or obtained by you through a customer’s separate relationship with
      you outside the use of the PayPal services) will be used by you only to the limited extent
      that is necessary and relevant to the PayPal services and for no other purpose unless you
      have obtained the prior express consent of the customer.
